Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 1 of 259


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              t+l A >m'DnNr PlA)l NgT Tsgula A^! .TN ?.€Reo/ua/y
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                                   NETrr qS ;t,s, :7t!; z1 L. €D- *sJ,
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             ttr         rl) fn"[ 9r Su€F€c.:Eq{r cA+ 5u1r47VnRy e-1=D€^/cE
              11 _,FpR gfaND: *1,<Y T,JDqqr,r'.tllrf. F,13,f, us€D A N,lvl,s,P
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             20 ,: {4ll_ Loq. wfttc-t1 ClqfLY wc*1aur A DouBr fS
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             23",     2D) 4!! ro-?:gwrytc uxr-:,1ED s-ruGs caNsTrypN4L
                       /
             z\ AmqqDn€NTs vrou*r-aD DY Tlas Fe-wAL eRowN coa<a*g;
             S|&b€rfaR-{, AryusE oF, Paw< 1!ND &DqcraL
                               i



             Ll:,, OF ADlte.e=ntG TO uttzryl                                                                           ^^TS<aNDuq
                                                                                         54                 co=N9rI'TuTeN,I      tNNzLt+
                                                                                                   =
             H        *_IDCES fiR€ floc.rND            To ryA caXr4aXY,              p     K€ARDLESS
             ZY,,Nmwzzp-s4tN DcN G ts_V )^/Ay oF f rccLE %, , SEcrToN 77,.
               ",ALL
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      Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 10 of 259


I      trE<,r I S€caNr>,               , FCmr+, Szt*+, Ezat+4l , NZN€TH ,
                                       FouRT-?+

7                        ELAlHvTTt, FoqRreettfr,, Vruevry - 71Jfr<D .
2

+                F1€€t>olvl oF 9rec++ fS Ptpe. ,P€€c4+ f3ssrz,,vezt AND
                Zi
               /
5      H^tt>\NED up@N IJnHANS A5 A NATtlt?At^ KycUr flzToR,E ANY
                                            ,,
 e     COV7ZN*T,NT CAME ,                        CONaRESS ST.IALL MAKE NO LAW
1      Rqsre<r=xA ArV Erp,,BLfr,HM€tlT OR Pial+!Bf7-7,16                                     TThE-

t      F<W.     EyiE'KcfS,e T\+EXEDF                . - o" .
1
lo             ?A rl+€ Rrcpr                       T-o BaR A/?pt9 S/tALt- Nor B€
                   /
ll      fl,ttrRfr,l(€D u?eN             .


l2-
t3                   23))    Zr-rc   c-AL   ceN   FrScAr-aN oF   5   Ho7'6uN Wzrvl6a7
I't     %rq+     *NT BY NN Ad.x-o Sryt-€ Pot rtE aFFEaER
                      wAR(
ls ToRpsylg Bu 4D Ar Dtz:r--TlAL frAFruC. 57-@P aN lVoVQr'lB& 02 )
tu 2pt7 , D€FaIDANE V€H&LA. Usi N A7€7.1W.1 OF ,ruZND*^tTS
lr     TRow{.
lv
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t1                   24-) EEPETDArrrrS
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                                                  ilyat+A uxr.ar-    FED.   R.   LR:c,.l..   7.   ,
Zo      Tluc€    ,u oF GRA^ID *<Y t D#r/t>ANr- WAs /va./€R
                to   1   lL /
"zt     NotTffED OF GR4ND ATR,{ N]VETTEAtrAN AONC4 E.?,- HTN,
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4          2s)
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                T*srtrsc-r=ve AssgsreNc€ oF couNs€L Bf
z1 Fw*et_ ?ugucL DQf€r,tI&
                                / ^*U    A, l^ot<rcs ) €SQ*7R€1
z5 ftrun"ze- PRAcr=ts gaapeffi Ka'lNqzt A. LLx.v3* / €sQur.RE,
2l CoNfr,Acr {t^;1=<€ Bxqr<rsr( SusAN PerRrH., , €flusag-
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2-t             7t") c,<";"ee AND lANus,.l"Al* Rarr=sa m*-lT ?ER                      Ere*T*7q

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      Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 11 of 259


 I
           ANE,^{D/,4E lT OF l,tNfrE12 5fl4re= c.aNSrZztzo'.Tot[ FoK
7          Ttt-€GAL wRoNGFuL Dtlca4agqAl-z,o^l Due fr 21*cR or
 3         D.tse<rfr-aA'aNT 7 -Z/-?7t<oF* ENI:D,€N.€ Ar eALl* Summxny
 +         RqSetffitzoX To RwvE A 6Aaq, J1leY TNUedUETe'r
5          BY F, B"-2, , A6.a.^tT gar-/ IRREBRaN Gu] ,
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 ,l                ft) *tuM*.676o Powan<s c-LAus€ PRarolr= :luazffiL
 ,/
    lPnOcq>rUeS OF nt7@sru11-t AN D Fa,qmanl Ca/4 rr.sVc€
n       WAf OF LEGZsL-trTTvE Paviltz< DEFn<maN      oF
    \BY
lo ]WRfrzg.l S*Tz.n-o4f LA*t WHnCH TT€ FED*6L- cr<aWN
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 lt ) couRr oF t-tftETEAE LAw rS Beq6172 To B{ n+€. SUPKia,1E
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lz i LAW oF fltE LANP Raa,*NOLES 7-o ft(E aaNTVARY I,
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t3 , NoTwJLT-ht sZZ+t W!<2,
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l5                   Lg),/
                           Pow<s Resa.vsD TO srTT€ Fo< CoNSrzzztTTzNAL
rc         T2e J:.ttF:e- LAr41, DEFAJDt*i.|T- 73 NdT- XN trryRA1- tus9€Sstu\l

t1         o< Donccrr-sD oN fA*Ar- 1]EK$77aRY , NATzaNALTTY
f8         rs ruAT otr TH€ yaw /el*z.(o ft€PuBLZ. B'r B=,o+t AND
 t1        A NoN .TTEZLE1I NATZ9NA L 5o\/a&46N oF FriEE AND
                                                                ^
20         EttDgm^tetry.tr s,1*ATE-t THa<E-PaRE TLI€ D€ F;4<:,-@    DeSFo1',Z*,,
                                                                  /
ZI         MAr4367',"rl3L{ €(88Gfru9 Fa>A,e; en6WN C9LIRT 6F ftla.
2L         DrSrR*r otr auurn&A HAs No EN rugNAM
23         rL(REsDrcrtpN ove;r.A G ut,st6,,*tto,(">eD1 i                        oR
7+                          NoN c-rrzzat{ NATZaNAL aF 41C
           kN E t),s,c-, *,:lt{
25 f:o.4R"TeNT-H A,/|E}.|I>MOIT OF beNTEp gzP.7Es- coN,rTrufEo{,
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7:7                 eq))- ELeVANTI+ Ame)vDMElff eF' L(N=Ie.-D      S,TzArres,

ZY         LoNSrtrarvN I SrArES No          troKEyC.*t   ,r@1E CAN BXs',ta
                                        ?u14
     Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 12 of 259


 I      $urT Atr t-^w @R €{utrf              A,AfiNST DgyA-WDfrNTg
L       aTr7z*t 5 t+EF I rk7'1-4 I     -




{               30)                          aF t4xw€7> SrTTT9
                      rlov\R1:e:a\fTP+ A,:la:ttD)vt€t-tT

5      coN9fral4TToN ou*RANT-eEs R=c-t+4 aF cffi€^ts$r'F,
(,     R.t-'zuaae.s .*ND zvl/4u^tz3:a€5 I DUA PRaC65 (LAu9€ AND
'1
       Equnr- ffiorerroN oF n+E LA:w fcte^se PRovrpa
g
                                       /
       frsrzmo*t     AGAT^|=T TLLEaAL F€)>&AL- OBTRU S-foN
q      6F A NoN CD|-ZZAN Sov€<*rcN NATToNA| OF fltA-
lo     ttNf@) #T€>       6F frtvtEPE^c-A .
rl

lz            St\ fruetvry - r].trRD AvvtalDn€vlr To utVT€D
               ,/
t3      s7A7L3 coNSrETu-7-ToN RePaeV Au6d9T- lq1g *
,+  fy(AN//y Rute oF T7+€ 2s 74cro t D€s7o7zL) AaNARLHY
tS Fa>*at* cRowrN cot tff oF TF+e tEt<CA 6f zot\nBfl
 ru i(S uNLAwrkt- AND ZLLZ*AL BY WAY of UNTE>
,1   Sz4T€S c-oNSrrruT'Totxt, AND 771€ DECLA<*r rl eF
lg     TNDL7E1IDE7.I6      .

t1
2o              e* ?osr Fac-ra sxvv PdTAZ^tzNa ro
            =)
 2l  StzruT-oR( T-ttaSD\1-€ 4.J':!D fuqmaN CPr^rq€RcE
                               , uNetlFpRcetsLE UND€<
tz.. TtLacru AND L-.NLAwtr?-tL

?7 wRIi7-r.E"l srxruroRY D€FrxzrroN OF lAW.
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25             :,>) ux>ax [o Lt,;,c-. * yts G)] , ANy rHn*T              To

4      r^/su,<,E A. P*.saN. -ES ffiae ueR€D . i)t?FE7lDnNr
z7     LuA+py,1 sru4TaD , A3 MAlrroN€D          oN T74P€D
                                 rc4.                             r rHe Fou\
"a ReaoBDfNcz , Reffii<a\aD ro A
                                                              a
                                   t7 ro"f
          ii
          ilCase 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 13 of 259
          .li1
          ii
 I             L€(,('€:iD floor€D> /.ni-t*1 . JUD6€ {Arqe> a' BKornzr\tz-NG
2                    us€D ,+rS ,*rtBrrf.nR.{ ABtaS€ oF PorruA'RS FoRB=DI2a{
3                    B'l T1\E- UNffi   3'rTr€:S SL'<ffiEMe c-ouR1:* To BZCoNSTTL'|€
rl                   DEFE1Da0{ZS SrArWtE}-l-T-, S€(-r.ND Lor'4^tr- \^tT1-7t
5                    Lo*w--cr=on| Tt-+*,€. \A/A3 NO 5taftn€|-lT           \Nl+E\l AU
 b                   LALL> Haoe ro SAM€. rtuMw WaeE RecoRD€D,
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 E                         3.t) Gav€R.Nr"{ENT A F UNtrD, 9firyTes          f)TSr7F<=:c-l-
q                    (ouRT'-7+<-K3 SA|3SEC-T MATTa< $lt<tsDr.crtoN.
lD                   ov6( 'iTe. ENt EKsc+lAPt o€ Dtr--.xDANT
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lz,,iii    35) €xusl1 TEsTz,/rqry1l AND H=ona..l {x=Or>tA
   ri o€ 3taE"c-rrve MAut:c{au<s
13 ii                                yIALPRAc-rcc-E oF
,q 1il1tiiftcxg c-u-rotrhL A^JD, Dtrfe"{DAnfrs eoLlN Sfu t4TSaortDyC.
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              3t)\ l/\oNKeE D6.1-F=Na EaReeCousL\( vrouqTA)
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 ,'( li BV fl+T= F,Lnf*Nf nND SI+AAHFUL- qED€RA1* cR,ow^{
 til Lou6,1i



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           ,,DEItENIA^|r \ /As sftKKLA) AT ANRT{aS
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zt'ir>r<anr/: Ttr{; \NI+r.LH Ts A t>ut? PRI<&S, AN>
   t:     .l


ZZ] Eqrta.u Pr..l>-TT7cr'TaN
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                                         o€ TT+E Lr\\A/t> YToLF1-T9N / 11t/l-fllr*
23 i                 c-PexT6) Rqtt>fCg y'A+tnsr           Dtr-zr.tonNT-"
24
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Z5                         Ur) De:trrxDAnr Nor. PRaDil.LED Ar- alrWlTrA*l
 7t-i\               He&ts;rlnla \N*s:l rS Du€ FKocs Al{D &uaL
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      Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 14 of 259


t        3q) ctvt L L1:'3€\TT€, AR€ reR*NAL I" paTt'tRAL
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l- RcaurS aua414v1TZ-E> AND FRorgLt@ BY *+E
3  cJ.N STTrlj-r-ToN ; €, *. FRADOVt OE SPgLt+ I PRaSS,
 + €Rmot4 fir\ott DTS1RtT4ZNAruN, Ja,         BaoV oF LAW
 5 DeZq1uv. Wfr* NAT-u RAL LytE*.Tf,€9, SL+oRN oE
 t el,cgssas w\t.H ENVADE- EqUAL Rrartfr; oF on+EES
 1 c-eNsT'LT-ur=oNAt-Ulr, tuLn ARE RE3TR,AENB eN
v       GoV&.,\fAa €xfT,
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                  \
)0              +r\/ frvct_ T1z:efiT5 Acr-j ARE FD*,AL
ll  srT|TtAfES gNnc:rEa> AFffi. czvTl- *4R t /Ar/)> f4o8E.
tz- KvcnWLY, 44@Dz-eD rc gPLEt-l€xtT AND 6z-vE
t3 Fu<n+g-t3, Fefic7 To BaSrC PrRS9NA(^ Kra*r=
I'l Gu+nRZ+rut@ 73"{ 1a]-E <oNSrTnamXl . Sw4-,t4 ACry
 f5 Pno fiEr3cr Drs <RTMr.NATT,N E/qSTD or'/ RAGt cattK
ll"     A@    t sEX e(      RqLryGtroN       .

t1
t/            +r),/ OafaqbANT:s Bzl-t- oF R=a*ts AR€ A
l1       FeRmnL ANO ET,\Pr-t/+ rc.L \EGr S LATTVZ ASS€r<7-ToN
zo       AN D nE<l/,R,ArzoN oF Pontu*K t?r-aHrs AN D
2'      4r=s<TT€S , T+Fr PoffiToN otr rlt€ (2N srfiurreax\
ZL      GL,^ARAN7'EaZJ-{6 Rre*rs AND TRtNcTFle5 AND
?3      pRtv=t_g"GE3 fl Tl+E TN r:y:y.rDr47+LS .
Z+
25                   +) trzDd,At-        Bq.R.Q,4 otr 9tvEs7-T6AEaN T5
z(       LF*NAAD \NTTu TNV€ST-Z.C.AN9IG ALL- VTALAT'TAN S
z1       o€ treDeent Lp-.WS Wgtt " * €-EreoN" oF T7+osEl
Z8       Vt'+rt{ IJAYE Btrbf hSsg:CN€D " L€67sL47=*rrt
                                   7?        *(
                                        ',
      Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 15 of 259


 I       ANACT,./.€T.IT       OR OTTRWTSE            ro saNtE     of,+€ry
L Fe>s<*L Aae-!c-{                  -
3
 4             ,-+   e)   uN LoN grtflAT*a^l*L      91-A-n4'rE rS A ,at-*
               /
F                               EyP F#ZAN          SENCE A 3flr1*1-tG. D'l        coNRSCl
       caNrRAwcrfN(-
k   wff?r TH€. coNSrurufTDN ES No7- tA\^t rsuT T3 V\/HaLLY
'l vorD AND A3 rNoR.AT=uE TN 25:aeL .oNrffiPunrcoN
 I As yf tr HAD pand BEEr! f2A.sS,dD / NonNtrklselDrNa
 "t TT HAS T7+E F1RA AND NA/.18 oF tAW. (-) \NHE\J A
l0 ?ruTL-1T€. E3 ADJ1,1D6€I> TO BE UNaONSTTT7.{TTONAI. , T-
It  ES As rF rT FAD Nanez< I3E-r\t. RtaUr= cANAloT BE
lz Buruf U? UNDE? TT-. eaNTl.A(JTs; v*r*c114 DSgxlO u'rPaxJ
r> TT fuR, rHer(. CdNg71p..urcrra{ ARF \lotu. TT- CoNsrgtrres
t\     ?Rorecrfo{ -TD NO AN€ vrt-l'o HA3 4czeD t.tND-_R
    ^ AND NO dN€ c^N H PUN=S+=D Fq HAvzN6-
ls Tf     I
tt
lt  u/AS MkD€, AND WHAr rs 77,u€ oF AN ALT VaTD
lg rl..t ToT-a T3 Tt<u€ ,A-t-So AS T=a ANY P*Xr- OF AN
 r1 *LT \*/t+Cc-H TS feuND To Bq uNcoNsrrzur-oNAL-
20 AN O \ t HTc+( CoNS€quertrZ-Y 79 @ T3E K€aPRD€D A5
 Lt HF\ENa NEVET< *t ANY TTmq l3er,l ?es*aD AND zN
7L         trtrE r, G) As ksED TN fttE aNffEb StATeS
L3 CIDE,   Tl*a. ?a(lt " LtNcoNSrcn;rTaNAt 't /tAS ,fru'e*cZ
         )
zrl    1? T7'l€- uNrT€D,          S7-A7E      LoNsrzrt   T-EIN / Ndr     A 9T7T€
                                  r*l
2s     ?rNsrcfiirraN.             [!b *n {?-D eoNgT- L { t1lJ
Z'      RrRaung'4 CccxnN)               43 F 55L.3. ANNa; t3L.€D, rrtsf
27
z{             .t9 crv= L LAw, *RE wE SoaV otr Llv-(                      yrr   *ccl-l
                                              t3
                                         "7
        Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 16 of 259


    t      DtqY WKTTL^|AK Nmz,aN , la,vzruol,1rN eAu*t ) OR &fl
  /-      l+AS 637pBurs*ED ?ECiLEA<LY €ae- TTgt-F; tvtoRE
 3       PF:DWR.L:-( CALL€]> fv|uN LtPLt€ LAw I To I>Lg'7'TNZaT-SH
,t       jDr FRo^^ rr+€. LAw oF Nryvl/t<tz ) AND trK,oll4lt YJ*Tffi- '
           lv+Trorln; LA\A/. L-A\A/S LoNLEKtta VtfrJ cEttTL^
(,         oK rczvrTe 8r6m-5 nND ROAEDTES , *5 6a1'18A5'iET)
1        tt tT*t c-{<THTtYAl- LAV/3,
{
1         Ll6\ LtwTt- oFtrr.r..ts,€ TEreA u<s{D To D€=,(.RTE€
            ,/
l0 VTot*^frpNS oF 3av+-r1 @          oR &DT^l*Nc-€S MAt/.=*tG 7'7*€
 lt WzrtAR       Acr A fraau*-- NI=SAN..€ , AL3o DE=c:f<try
lL 4,\., otrFsNS€ \N HrLft 1=] twlALUt4 WoftYrsfra4f4 AND NoT-
t3 CDNSrtfl<b R€ry€P g:'137!$LE                   o


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                     \
                   tl t,) mlr ea7;Ett6€ Jz^RLED:1L7EaN
/5                                                           ovET< /vl;l-Rtrrr.^€
lb    cAusE-3 lt-s GRAN76 ry F€'DaR'AL DrsGffi          'oqcrs '
 l'l lZg LA. s,(-. + t333). P8ocE>uRE 7N ,!llF't<!T-E/,4e- 1\crraNS
         L




 It 15 eel/€RNt,D' BV lAE reD, R, Crvzt-, P, AND SuPF-
t1
7O         gf) f.Aetf.Tf:t/r{-_ LA.\^/ rs fi+ftr- WftTeH TH€ LdNcR#g
             /
LI HAS ENA<TEI> o( fH€ fm.eu- .ouffi3 r suTTEt!& TN
2Z ADmr<al-ry @( -r-N T7+€ attr.c,:s€ oF T74aR l4qKrr=vlE
L3 dt(R:,.sDu(fra t
                    , llA\t€ l2€cLl.R€D AND tAtouLD AFFLy I
'?-1         T|+AT sYszifnt Of L,A\// tN tt=ct{ PARrcc--ttLARLY RELa69
2{           To MAK=NE     A^'D NAvraArcoN , fo i3usrN€55
                             L|\4MET?CE
zl TRANSAC7ED AT- sO\ o'<, KELAT:rNa To NAvTaArraN,
21 TD 5F(rP3 ,AND S*rWrrlG
                             , Tq ser+15, ) T-'l-H€
2Y TtsAr.(sFoerAzrcN oF PEASaNS AND ?RoWY        BY S€A /t
                                      ?,n'f
      Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 17 of 259


 L      A^l   D fA fwlARtNE Afp*yfs            n1F u+\N
                                               GE),(EX,4LLV -
2- Ret*rtNc- T'o H&KBoRS, s:rtrPs) AND S&m*,           DAtrpg>
 3 r^rrD A v*R-z€4 ot= Si/B&r          AR€A'1
                                              t ;uLH AS
9  T?tos€ a9NaRNTNL HAq*aR= , frorA<r1 OF SurPg,
5 Dc<.r-za3 P(tNtD #6k7'5 OF /-1A5ffi3 At'tD SenrtaN t
 b CaNTR ALTS oF AFtrRqZ<eHT'lvt Er\lT-) Ave.ALe- ) SALVA 6E
7 trL , ff *7ZNDS TO C-EVTL NIAI<TN€ TaRTS AI.ID
 I EN?u Rzffi /, ELLE4.L- Dr.S,Pos;E-agsZoN or< lunTIftbLDTNA
I oF fus*e=s:r-or'I FR,on THe OWNG= oF St+#,
lD      ,r|qn1y*PAL         SerTqRES           OF S,+TPS I ET'C,
lt                            / rN TrlE UNT@ S7W t
                     5vr!!srp.1.1TTvrtY
IL TT- trS trep&at^ LA\A/ , AND dtlftsDtl-rcoN T-o
t3 A>rytTNZSt ER tr ZS V€s@ ZN THE trElz$AL Leu&.r3,
t"l Tl+sr^6++ Nor "TD TA+€. ENTf:K;€ d,ct-usE    OF TT+e
                                              ^f
,s  couRrs eF fila s]z\-rrc; .
IL
l7                    wtl€K€troRE , *'           D€1=A\\DANT- HUMBLY
t{      PRpvs 77trs. tr€D€RAl- MARLT'DMa C.t<oWN C-ouR-T-
t1      of D,q<S A LotvlPLErE AN D Ful ct* t>Tsc++aRGE
Lo      oF ANy CRf mg:tel- w t<oNG DotNA oN oN€ o<
zt       ACL o tr THE. PorNIS oF Aury 6RrT{ I1€K€tsY
27-     TN T]4rS PtorTON t A'VD C-oNTtNu€5 To T?RAY
'L3     tro.<. pa5MtT.SsAL or TN €a4HAT1tr Or4 oN coc^NT=
74      I AND 4 BAg6D utoN Tr1€ c^ISTTL4TTaNAL
        LArr./ oF T-l-tE uNTT-€D Sreqr<S OF Ar-tEXt:cA ,
2b      bCF€NDANT HAs 1,,1oT T-o r.AT€. cot*tnTraft A\NY
2a      C-E\/.rL Dr:SF.uPrc:oN AF TNT4SGTE AND foKeCN
z8      Ut 111€R^LE oF MARzrzmg LAW 72uNTS\+ABLE
                                     P*   ts
      Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 18 of 259


 I       pNLV tsf cfv7t- ADdqrzTcATzoN AND ;7TTe,ATr:oN
L        of nE FAo=XAL Rute- rf\rzt^ PSOGDnR€ GurT)€trN6:.
3        So uPoN ORDR Otr >rsmzs#L oF -frlffiMArTaN
+       o^l couNrs T aN D lf B{ Tl+€ F€Dffi.A\ DrSffzCr
5        covtQT ve*Nu€ otr g;taaa€ {7t\1E> d BRowNrNG,
 6      Depgv1pn*a S€EKS -7/v\HEDTt4-7*a RatvovAt- FRor4
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Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 19 of 259
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 Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 20 of 259



                                  IN   THE UNITED STATBS DISTRICT COURT
                                       EOR THE DISTRICT OF NEW MEXICO
            UNTTED STATES OF AMERICA,

                                         Plaint Lff,
                      vs.                     NO: 1:19-CR*00077-JB
            MTCHABL NISSEN,

                                         Defendant.



 10              Transcript of Trial proceedings before The
11         Honorable James o. Browning, united states District
1^
LZ         Judge, Albuquerque, Bernalillo County, New Mexico,
13         commencJ-ng on August 6, 2AL9 .
14         For the Plaintiff:   Mr. paul Mysliwiec
                                Mr. Alexander Uballez
15
           For the Defendant: Mr. Kenneth Gleria
16                              Mr. Jake Mkhitarian
L7

18

1-9

20
                         Jennifer Bean, FAPR, RDR, CRR, RMR, CCR
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                               United States Court Reporter
22                                              NM CCR *94
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23                                      Albuquerque, New Mexico                971,02
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           Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 21 of 259



 1                                                 INDEX
 a
 L      EXAMINATION OT JORDAN                      BURD

                  By Mr. MYsliwiec                                                        30
                  ey Ur. l4ttritarian                                                     46
                  Bt Mr. Mysliwiec                                                        56

        EXAMINATION OF VICTORIA GURULE
                                                                                          "7
                  By Mr. Mysliwiec                                                        84
                                                                                               L

                  By Mr. Gleria                                                           94
 1                Ay Ur. Mysliwiec
 6      EXAM]NATION OT KENNETH                      P.    LECESNE

 9                 By Mr. Uballez                                                        .98
                   f y Ur . Mkhit arian                                                  11- B

                   Ay Ur. Ubalfez                                                        122
l_0

l-1      flXAMINATTON OF STEVEN CARROLL

L2                 By Mr. Uballez                                                        L23
                   Bt      Mr     . Mkhitarian                                           131-
13
         EXAMINATION OF BARBARA BEUZEKOM
L4
                   By Mr. Mysliwiec                                                      !34
                   ey      f.tr   . tltiritanian                                         14 3

L6       EXAMINATION OF JUAN                  CORDOVA

17                  By Mr . Uballe z                                                     l- 5 6
                                                                                         L62
                    By Mr. Gleria                                                        168
1B                  By Mr. Uballez
L9       EXAMINATION OT PETER UBBELOHDE
1n                    By Mr. Mysliwiec                                                   tlL
         REPORTER'S                CBRTIFICATE                                            181
2L

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Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 22 of 259



                                   THE COURT: Al-1   right .              Good morni*g,
               everyone. r appreciate everybody being here on time
               and ready to qro. Let me ca]l for trial united states
               of America versus Michael Nissen, criminal matter
               number 19-cR-0a017. rf counsel wirl enter their
               let me double-check and make sure that, s the correct
               number. It is.
                        AII right.  If people will enter their
               appearances. For the Government.
10                      MR. MYSLIWIEC: paul Mysliwiec for the
L1             United States.            Goodmorning, your Honor.
t2                                 THE COURT: Mr. Mysliwlec, good morning to
13             you.
1,4                                MR. UBALLEZ: Alex Uballez, also from the
1q             United States.                morning, your Honor.
                                         Good.
16                                 THE COURT: Mr. UbalLez, qood morning to
L7             you.
1B                                 And for the defendant.
19                                 MR. GLERIAI Good morning. Kenneth Gleria
20             and Jake Mkhitarian, and Mr, Nissen who is present
21             before the Court.
22                                    Att right. Mr. Gleria,
                                   THE COURT:
Z3             Mr. Mkhitarian, and Mr. Nissen. Good morni-ng to you.
24                       All right.   So Ms. Wright is handing out to
25             you the jury instructions that r worked over last
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                                 Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 23 of 259



                              night and tod.ay. It's a rough set. It t s being typed
                              up so you'll get a clean one/ but f thought Ifd go
                              ahead and give you the one that I put toget.her. one
                              thing that f pulIed out    and I probably need
                              y'aII's guidance on this, aY thoughts. It did not.
                       6       seem  to me that we ought to put the S04 (b)
           ^n{6
-rc        TN'                 instruction in here. The only thing I can think of
     ^ Fr*'
"-r&-                  B       is bnot.her crime or wrong would be the traffic
  .d
                               eitation$, and it seemed to me those are so minor
I*"lt ,J\
                       9


 #
     t/ \,.ffnro               that it r+ould not be a good idea, then, Lf the judge
                               sai-d, "You have heard evidence of Mr. Nissen's other
o"**/'   .M
         t-/
                   1)
               t t--           crimes. "  I don't. see how that helps you' So I'd be
# *nf\ "
      hl
                               inclined to leave that out and just. not have a
*',                74          404 (b) . I probably will be }ooking more to the
          /
                               defendant rnore on anything else' What's your

fur:
'./Lj
                               thoughts, Mr. Gleria? It seemed to rne it didn't help
                               you; it kind of hurt You.
rb*".}                 18                MR. GLERIA: f agree, especially after the
                       19       hearing.
                       20                               THE COURT: Aft.er the hearing '
                       27                               MR. GLERIA: Yes, I 'rn in agreement '
                       22                               THE COURT: AII right'    Is that all right
                                wit.h yot], Mr. MYsliwiec?
                       24                               MR. MYSLIWIEC: Yes, Your Honor'         I defer
                                to what the defendant wants on that '
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Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 24 of 259



                                    It,s kind of like a limiting
                                   THE COURT:
            instruct.ion, and yourre entitled to it.   But if you
            don't. want it    a l-ot of times defendants don't want
            it and we don't give it.
                                   MR. MYSLIWIEC: yeah, f wouldn't even use
            the word lcrimq." rt's really an flnfracticn or    in
            New York we have things that are in penal law but not
            crimes. I know New Mexico is a little different.
            But r agree. rt draws unnecessary attention to a
10          thing that's mostly lres gestaei mostly, "you heard.
11_         t,his thing happened and that's what. started the
L2          story." But that doesn't need to be a jury
13          instructi-on.
14                                 (A discussion was held off the record. )
15                                 THE COURT: f,m trying to think if there is
16         anything else. r can't think of anythlng. r think
1"7        Ms. Bevel handed you out something. r think shens
1B         given it to you and r don r t have it, something to do
IY         with the jury, a seating chart r ar what
20                                 MR. MYSLIhIIBC: yes r w€ have seating
21,        charLs.
22                                 f guess they randomly pulIed
                                   THE COURT: So
23        the names, and you now have the seating chart. How
24        many are on there?
z3                                 MR. MYSLIWfEC: The seating chart goes up

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            Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 25 of 259



        to 49. So we had some people that didn't show uP,
        which rrm sure is fine, but it 100ks like 49 showed
        up.
                               That still seems to me like a
                                THE COURT:
         lot of people to work with in here. what would y'all
         think if I left 3 down in the jury room and just had
         46 in here? Because I iust don't think we're going
         to need all those people for such a short trial.   It
         doesn'L have    what do You think?
10                  MR. MYSLIWIEC: Well, the defense grets Len
11       strikes, we get six, and we need L4 jurors'   So"'
12                                 get L4 peremptory
                                THE COURT: You           or L6
l-3      peremptaYY, we're going to seat 14, so that's 30'
14       you get two extra on the alternatives, so that gets
l_5      youupto32.Andthen33Ihadoneperempt^ory
16       challenqe last week whenever I did t.he trial'  so I
11
LI       think you need at least 33, and I uras going to seat
1B       46 in here. Leave three. If something happens,
19       we'I} bring them up- But I bet you we can get it
20       done, and just having those extra people is just
27       going to slow things down. What do you think?
22                               MR. MYSLIWIEC: So if we have to call on
14.       the extra three, w€ would have to basically start
24        jury selection over, but it seems like we have a
25        buffer of 13 or so that could be struck for cause but
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Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 26 of 259



            we would still                 have enough, which seems like a lot of
            strikes for cause.
                                  It does seem like a lot of
                                     THE COURT:
           strikes on a two-day triat, and this one doesn't have
           sexual abuse or anything like that.
                     What do you think? Leave three down there,
           Mr. Gleria?
                     MR. GLERIA: yes, your Honor. you know,
           ff11 defer to your judqment about that.
10                    THE COURT: Let's leave 47, 48, 49. I
1_1        think that's more than enough. r might even courd                                be
L2         talked into leaving a few more down there.
13                                   AIl right.
                                  I think that's about all I                            can
l4         think of to talk to you about. Mr. Mysliwiec?
15                    MR. MYSLfWIEC: f have just two t.hings                            f rom
T6         the preliminary jury instructions, your Honor.
11
LI                                   THE COURT: Ohr !€dh.
10
I9                                   MR. MYSLIWIEC: One is that on page 2,
L9        Mr. Uballez gioes by Alexr so there's no need to do
20        full names, but. I would say the Government is
27        represented by Assistant united stat.es Attorneys paul
22        Mysliwiec and Alex Uballez.
23                                   THE COURT: Okay.
24                                   MR. MYSLIWIEC: Then on the next page.
25                                   THE COURT:   All right.
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               Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 27 of 259



                                 MR. MYSLIWIEC: On the next page for the
            first  element of 875(c), it doesn't need to be
 3          restricted to ipolice, because 875 (c) doesn't restrict
     4       the prohibition against interstate threats to any
     5       specific profession. One of our Lwo, you know,
     6       quote, victims is a:police officer.  The other,
     1      lBarbara Beuzekoyrsl is   I quess I would calt her a
     8       civilian employee of the New Mexico state Police.
     9       There are some statutes where the official stat.us of
1-0          the victim of the threat is important, like section
1_   l-      115 of Title 18. But s75(c) is not such a secLion.
L2           I t.hink we're overcomplicating our lives by putting
13           the word "po1ice" in there. I'd just say:
1,4          "Mr. Nissen knowingly transmitted a communication
l-J          containing a threat to injure the person of another.                    "

1_6          which I think is what the pattern jury instruction
L'l           says.
18                                         talked about this
                                  THE COURT: We had

t9            earlier and you had said put in police '
20                      MR. MYSLIWIBC: That was before I saw the
27            patt.ern instruction.   So 975(c) doesn't have a
22            patt,ern instruction in the original 20IL jury
              instructions.    It was added, I think, in the 2oL8
 24           version, and Mr, Mkhitarian was kind enough to email
              that to rne. But, when I made t.hat suggestion I was
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 Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 28 of 259



            foolish to do sor because r                   wasn         t   t working off a 2otg
            version.
                                   '!tnjure the person of another",,t
                                   THE COURT:
                       Is that all right with your Mr. Mkhitarian,
            Mr. Gleria?
                      MR. MKHITARIAN: yes, your Honor, f
            apologize. while r reviewed      and r agree that that
            is the language from the ZOlg version. And f donft
            think there is any inst.ruction or anything that says,
 10        "Inse::t personr.s name here,." So f would agree with
 11
 rI        the united statesr assessment that ',injure the person
 1^
 LZ        of another" would be the
 l3                                THE COURT: Do   you have any other changes,
 14        Mr. Mysllwiec?
 15                                MR. MYSLIWIEC: No, si-r.                  Those are my only
16         two notes.
L7                               Mr. Mkhitarian, did you have
                                   THE COURT:
1B         anything on the preliminary instruction?
19                   MR. MKHITARIAN: No, your Honor.
20                                Al1 right.
                                   THE COURT: So I'm going to
2L         give those to Ms. Desai and ask her to make those
22         chanqes, and she'l-1 give you another one. Why don't
23         we file those as welr. we probably ought to file t.he
24         other set.
1tr
LJ                                 You said you had another i-ssue,

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           Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 29 of 259



        Mr. Mysliwiec?
                                MR. MYSLIWIEC: That was it,           sir'
        Mr. Uballezt first name being Alex, and then that
        f irst elernenL of 875 (c) . That's all I have '
                  THECOURT:I'vegotabrother-in*Iawnamed
        Max, so I must have had Max on mY mind'
                  MR. MYSLIWIEC: Max is one of his names'
                  Oh, the next thing is, we're groing to
         strike Task Force officer wesley cox from our witness
10       Iist, which will make him immune t.o the rule of
l-1      sequestration. He'11 be able to stay in the pews and
L2       go back and grab witnesses and help coordinate.
13                  AslmentionedbeforerPeLerUbbelohdeof
1,4      the FBI is our case agentr so he's immune to the rule
15       for t.hat reason and sits at the table with us.
16                  Task Force Officer Cox is just going to be
17       out. in the audience like a regular person. But we're
1_B      taking him off our witness list so that he will be
19        able to stay in the courLroom, hear other witnesses'
20        testimony, f etch ot.her witnesses, f etch exhibits,
2t        things like that.
))                   THECoURT:Youdon'thaveanyneedtocall
23        Officer Cox, do Your Mr. Gleria?
24                   MR. GLERIA: No, Your Honor.
 25                  THE COURT: A11 right.  So he can remain in

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             Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 30 of 259



                          the courtroom.
                                                   f may have asked this at the pretrial
                         hearing.                  Did anybody have any j-ssues with each
                         other's voir dire?                  Mr. Mysliwiec, with the
                         de    fendant         ?

                                                   MR. MYSLIWIEC: So his very last question
                         puts the lury in the position of the defendant, which
                         one i-s not supposed to do. r meanr ds r recall the
                         rule, the defense is not supposed to ask the jury to
             1_0         put themselves in the position of the defendant. The
            11           Government is not supposed t.o ask the jury to put
            12           themselves in the position of t.he victim.                      But that's
            13           really the only thing I saw that I wasn't                      100%
            74          comfortabre wit.h. r don't expect it wilr be a big
            15          scandal, but that's all I noticed.
            16                                Well, I hear that asked aII the
                                               THE COURT:
                        time. ft's kind of borderline. :But Irll 16t
*/uu*lrt"   10          defendant aek it lf they wantl It may pick up
a           I9




)ufu**"'<   19          something that we need to discuss, so you just never
-.,t^       20          know. They may look at him and don,t }ike his
#"q'        2L          haircut or not wearinq a jacket. you just never
            22         know. so r'11 kind of give the defendant the leeway
            23         to ask that question if they want it.
            24                    Is that all you have on their voir dire,
            25         Mr. Mysliwj_ec?
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                                           Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 31 of 259



                                                             MR. MYSLIWIEC: Yes/ thank You, Your Honor
                                                              Mr. Gleria, Mr. Mkhitarian,
                                                             THE COURT:                                    do

                                        you have any issues with the Government's --
                                                  MR. GLERTA : No, I don'L, Your Honor
                                                              Well, do Y'aII have any issues?
                                                             THE COURT:

                                        Did you have any other issues, Mr' Mysliwiec' we need
                                        to address before we bring the jury in?
                                                             MR. MYSLIWIEC: It doesntt need to be now'
                                         I did want to bring in some more specifics about the
                                10       testj-mony that. I would be able to adduce about the
                                11       revolver if I were able to ask about that '
                                L2       specifically, when I was in preparation with office'r
fl,,ffi&d"                      13      icasH, he is the one who interviewed Mr.
                                                                                   Nissen. and
              o !lA''
           ttii"i I
                                         hehasarelationshipwithMr.Nissen.Theylve
       .



I             I         -,*     L4
           ,st 4#Ffl\"
/4*                                      talked many timee* and he asked Mr' Nissen
    lr"
f
I"*
     &f#'                       16       essentially, ''Do you still carry that revolver?',
(LrF Lr                         LI       Mr. Nissen said something t,o the ef fect' of ' "Yes' I
                        ra,r'


    V\J
       Itus                     1B       carry it regularty or I always carry it ' "
Vn
    I ""'"

    .Rr*It\                     1-9                 AndMr.Nissenthatwastheinterviewin
     \,                                  which Mr. Nissen specified" that it was a smith and
        Ikd                     20
     r"f\f " &
                        [ $r\, 27        wesson and specified that he carried it to protect
             L*dd'
i.',       F1,                           himself from rogue state cops. And from Mr. cash's
                                         conversations with Mr. Nissen, MI. Cash believes that
                                         by the phrase "rogue state cops" Mr. Nissen means
                                         police officers who, in Mr. Nissen's view, violate
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       Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 32 of 259



                         Mr. Nissen' s rights . Snd ttl"r. Cash I s view is that
                         Mr. Nissen woutrd ag,ree with that definition.
ft{#        3                                The United States conLinues to take the
                         position that when it goes to Mr. Nissenrs subjective
                         intent to convey a true threat in that t.hird phone

ffiu                     call on November 2, ZOLA, when he said, "*f a police
                         officer violates my rights againo, r'm going to pull
                                                                                                   ,




                         out my revolver, " that itts very relevant that he
*                        possessed a revolver to which he was likely referring
       1_0               when he said that. And like f said before, I don't
       11                think the ownership of a revolver, especially in                  New
       L2                Mexico, is itself prejudicial.  It's not iIIegal.
       13                   re not claiming that. it's iltegal.
                         We I                                    We talked
       1,4               about the 404 (b) instruction being not particularry
       15                approprlate in this circumstance. we donrt claim
       L6                it's  wrongful to possess the revorver. we just think
       L7                lt's i-mportant that the jury know that at the moment
       1B                he t.hreatened to pull out his revolver, he did indeed
       19                possess one.
       )n                                    So if that,s a request to reconsider,
       21                however the court wants to take that, that's             the last
       22                thing I have.
       23                                      Okay. Any thoughts on that,
                                             THE COURT:
       24                Mr. Gleria, Mr. Mkhitarian?
       25                                    MR. GLERIA: f agree with the previous

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           Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 33 of 259



        rulings of the court regard.ing the parameters of the
        questioning, and I object to that proposed line of
        questioning as extrinsic evidence that' is not
        relevant.                 And that's mY Position.
                               WeII, I'11 give it some
                             THE COURT:

        thought, but I'm inclined      r worked on this over
        the weekend. I still need to finish up the opinion,
        just a few more paqres r need to edit, and r just ran
        out of time and started working on jury instructions,
l-0      just in case this case moves quickly, which it might.
11       so I wanted to get you a set of thoser so I kind of
t2       stopped working on the opinion and went back to t.he
1-3      other. But I'I1 take a look at it''
1,4                But right at the moment, let's keep the
15       actual existence of the revolver out. ft's going to
t-6      come in to some degree in the telephone calIs,                   but
L7       keep ouL the other evidence, and I'11 continue to
l-B      think about it.
19                All riqrht.            Anything eIse, Mr. Mysliwiec
20                            MR. MYSLIWIEC: NO, 5iT.
21                            THE COURT: *- before we bring the jury in'

22        Mr. Mkhitarian? Mr. GIeria?
23                  MR.MKHITARIAN:Thereisonlyoneissueto
24        one of the jurors. I recognize one of the names as
          somebody whose son or brother I might have
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Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 34 of 259



           represented, Ms. Linda Arbuck1e. So I just noted
           that on my juror questionnaire. So that's the only
           thing I have.
                                  THE COURT: Any    thoughts on that,
           Mr. Mysliwiec?
                                  MR. MYSLIWIEC: Part of the Court's regular
           questioninq is: 'tDo you recogni_ze any of these
           folks?" If it is Mr. Mkhitarian, maybe she
           recognizes him. And I think Mr. Mkhitarian is a fine
10         attorney. So Lf what she says is, "yes, he
l-1        represented me and he's a fine attorney, " thatts not
L2         scandalous or untrue. So I think we just see how it
13         lies as we go through the regular process.
\4                                THE COURT:   Is that all right with you,
1"5        Mr. Mkhitarian?
L6                                MR. MKHITARIAN: That ' s al l right .        ,fust
L7         fulldisclosure to the Court.
18                   THE COURT: I appreciate it.
IY                  Ms. Bevel, I think we agreed                           why don't
20        we just leave those bottom three.
2t                      CLERK: I told t.hem, and Judge, f just
                                  THE
22        got a message from jury that they finished
23        orientatlon and the jurors are on a quick bathroom
24        break, and they're ready t,o bring them up.
25                  THE COURT: Anything e1se, Mr. Mkhitarian,

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         Mr. Gleria?
                                MR. GLERIA: No, Your Honor'
                                THE COURT: A11   right.                 They're going to
         bring the iurors up. They're on their bat,hroom
         break. If y'alI want to go in there and use the jury
         room, there are a couple of toilets in there, and
         then we'11 get them up here and we'11 get ready.
                   So we'Il go in recess for a few minutes
         here while we're gett.ing the jury up here.
10                                tffne'Court stood in recess. )
11                                (Voir dire was conducted and the iury                 was

1)       selected.          )


l-3                                lady that's got to breast
                                THE COURT: The
L4       pump for her baby made the jury.    So would it be all-
15       right with y,all    I think the GovernmenL is taking
L6       one of the witness rooms out front.    could I have the
L7        oLher one? Do You need it, Mr. Gleria?
IB                 MR. GLERIA: The witness room?
l9                 THE COURT: Yeah, the witness room out
20        front, the two conference rooms.
2L                  MR. GLERIA: No.
22                  THE COURT: r'rn groing to mark one of those
23        dsr "Private. Do not entetr'" So if you all do not
24        enter that one, that's where she'11 do it.                              She's
)q        okay right at the moment, but
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Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 36 of 259



                                           MR. MYSLIWIEC: Al1 right.                         So the one
      2          marked "Private" werre not going to use.                                        Okay.      The
                 agent.s know.
      4                                     then frve got one juror
                                           THB COURT: And
      E.
                 that.'s looking for eyeglasses, so werre waiting for
      6          her to come up. she's down in the jury assembly room
      1          looking for her glasses. But as soon as r get her up
      o          there, we'Il get started.
      o                    Are there any issues we need to discuss
10               before we bring the jury in?
11                                         MR. MYSLIWIEC: So f was lookingr at the
1_2              final instructions.
13                                         THB COURT: yes.
1,4                                        MR. MYSLIWIEC: And I just have the                        same
1tr
-LJ             request that we change "police" back to the pattern.
16                        THE COURT: Ms. Desai, would you change
                on the elements, take out "police" and put whatever r
18              put into the preliminary instruction.
19                                         MR.   MYSL IWIEC   : And that ' s           al-   l f could
ZV              notice.
)1                                      I'm groing to put in
                                           THE COURT:           I didn't
aa
ZZ              do it last night. r'm going to put in an instruction
23              on knowingly, since that's one of the elements. so
24              I I 11 put in the first sentence of the pattern
                instruction.    The rest of it deals with the

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                           Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 37 of 259



                         deliberate ignorance. so I'11 take all that out. I
                         don't think this case has anything to do with
                         deliberate ignorance. so I will just have the first
                         sentence of that pattern instruction.  I wi]1 insert
                         it behind the elements charge and before the "ori or
                         about" charge.
                                               So wef ve got al-l the iurors,                 aII L4 of
                         them?
                                               THE CLERK:     Yes, Your Honor'
               10                               THE    COURT: AnYthing else we need to
               11        discuss?              Mr    ' MYsliwiec?
               L2                               MR. MYSLIWIEC: No, sir.
               1-3                                  about You, Mr' Gleria?
                                                THE COURT: How

               \4                  MR. GLERIA: No, Your Honor'
               1E
               AJ                  THE COURT: It's uP to Y'alI'    Do Yrall
    uxnJ* A a.
        "   Io           want to stand for the iuryr or just go back to
d.*,fl4/
                         regular protocol, given that we don'L have any
!^?x        "rt'IB       j urors

u-ldu'a        LY                               MR. GLBRIA: Leave it               to You, Judge'
                                                MR. MYSLIWIEC: It's               y'al1's call as long
**,,,rll
tr.r,
!44/*)
               21

               22
                         as Mr. Nissen doesn't mind'
                                                THE COURT: -rWel},        he can stand too, I
,rAL.t'*,
-   il*fu      u?        think.            Hets okaY.
A'^       @riq 24                               MR. GLERIA: The chains rnight j angle '
,@
 )-
                2\                                  THE COURT:   Vdell, I think theY got it
aft4
l
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            pretty tight.  Mr. Nissen, do you mind standing                     and
            let's listen to you?
                                  THE DEEENDANT:     I think we shoul-d. just stay
            the way it's             been.
                                      f it ' s all right wit,h y, all,
                                  THE COURT: f
           I '11 just say, $*$tandra" for the audience and for my
           clerks,4 and ytatl" dontt stand.
                      MR. MySLIif f BC: yes, sir.     Correct.
                                 rs that okay? Is that al1
                                  THE COURT:
10         right with your Mr. Nissen, Mr. Gleria?
11                                THE DEPENDANT: Yes.
L2                                MR. GLBRIA: yes, sir.
13                                 They're lining up, Judge,
                                  THE CLERK:                                   and
L4         I I ve already passed out t,he note pads .
15                                THE COURT:   Okay. Oh, does anybody want to
16        invoke the rule?
L1                                MR. GLBRIA: yes, f        ' l- 1
                                            invoke the rul-e .
1B                   fHE COURT: So I'11 instruct. t.he jury on
19        the rule when they come in. r may ask on the record,
20        frls it invoked'r --
2L                   MR. GLERfA: yes, sir.
22                               -- and you can say it is. Then
                                  THE COURT:
Z3        Irll give them the rule.
24                  So on instruction number 6, the fifth line,
25        1t had comma after "witnesses. " what it has in the
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         tenth instruction is that says "including the
         defendant.,' so it assumes that the defendant is
         testifying.   since it doesn't seem t.hat's Lhe way
         it's qroing. I took that clause out. But the comma
         didn't come out, so I'm going to take the comma out
         unless anybody has any objection to it'
                   MR. GLERIA: No, Your Honor'
                   MR. MYSLIWfEC: No, sir, thank You'
                   (The jury entered the courtroom' )
t-u                THE COURT: AII right'   Does either side

11        wish to have t.he rule invoked in this case?
12        Mr. Mysliwiec? Mr. Gleria.
13                  MR. GLERIA: Yes, Your Honor'
L4                  THE COURT: AIl right'     It is a rule of
15        Iaw    the rule has been invoked in this case, and
16        it's a rule of law that witnesses may be excluded
a1
LI        from the courLroom so that they cannot hear the
1B        test.imony of other witnesses ' This rule does not
19        appty to parties or expert' witnesses' The rul-e of
20        exclusion has been invoked in this case' and all
2L        witnesses to whom the rule applies wilt be required
22         to remain outside of the courtroom until they are
 .))
 LJ        ca1led to testify.  witnesses excluded from the
 24        courtroom should not discuss with other witnesses
 )q        their testimony before they or the oLher witnesses
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 Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 40 of 259



                  test.ify,             but they may discuss their testimony with
      .>
                 the lawyers.
                                        AtI right,
                                      Mr. UbalLez, do you have an
                 opening statement for the Government?
                           MR. UBALLEZ: yes, your Honor.
                                        THE COURT: Mr. Uballez.
                                        MR. UBALLEZ: May it please the Court.
                                        fHE COURT: Mr. Uballez.
                           MR. UBALLEZ: Counsel, ladies and
 10              gentlemen, good afternoon. Thanks for hanging with
 1t              us. we i^rill present hopefurly a short case over the
 72              course of today and tomorrow that's going to involve
13               the incidents    two incidents that occurred or a
L4               series of incidents that occurred in November of
15               2018, last year.
L6                                      They began November 2 of 2ALg where       New
!1              Mexico state Pori-ce officer                   Jason Burd was doing his
1B              job.  At that time, what his job involved was driving
19              on the freeways. checking for traffic infractions.
20              He was westbound on r*40 in the Moriarty area when he
a1              came across Mr. Nissen's vehicle.
22                                      Now, running the vehicle through his
23              system, he found that the vehicle itself had not been
Z4              registered. rt had actually expired in May of 2018.
,q,             So as part of his job, he pulls him over and

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                        approaches.
                                  As he does in every other traffic stop'                            he

                        approaches him, the driver.  He asks for proof of                            a

                        drj-ver's license, insurance, registration '
                        Mr. Nissen hands him an rD, New Mexico ID, and doeS
                        not give him a driver's license. pfficer Burd
                        hotices a shoLgun, in the vehicle and takes it for his
                        safety, takes the ID, gioes back to his vehicle' runs
                        it.   He calls dispatch, which means he calls in the
                10       name  of Mr. Nissen and id"entif iers . Dispatch says I
                1-1      "No, rlor he's got a driver's license. You have an
                L2       ID, but he's got a vatid driver's licenser" but
                13       conflrms other things t,hat he pulled over Mr. Nissen
                74       for.
                                               So he goes back.       Instead of arresting or
                L6       towingMr.Nissen'svehicle,heissueshimtwo
                1"7      citat.ions for lack of current registration and lack
                1-8      of proof of insurance and returns the shotgun to him,
                L9        and he goes on his way.
                20                  Verysoonafterthatinteraction,whichwas
                21        about 5:45 in the afLernoon, New Mexico State
                22        dispatch receives a call-. That callr ES you will
                          hear, go€s t.hrough as well as t'he cal1s that

i;:;"!ll                  fol}owgot.hroughaswitch,whichyou,llhearSome
                          information about. Bhe switch is TTAS 005. It s in
                                                                        I
\*o;*^-*'c*25
$*"^^a^^l&r4          SANTA FE OFFICE
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 Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 42 of 259



              Plano, Texas. This is what satisfies the final
              elements of the charge that you ' l1 be evaluati*g,
              which is a cellphone call was made and headed to                                   a

              switch outside of the state.
                         This call was made by Mr. Nissen. Vlctoria
              Gurule at New Mexico state police takes that call.
              She, in fact, is already familiar with Mr. Nissen
              because she was the dispatcher who was on the other
              end of the line when officer Burd calred in that he
 10           was at a traffic stop. She had already run
 11           Mr. Ni-ssen's inf ormation.
 L2                         Mr. Nissen gets on the line in hls
                                     When
 13          first call, he educates her on some aspects of the
 74          law. Ms' Guruler ds you'rr hear, says that       knows
 15          which officer Mr. Nissen is talking about, says,
 16          "r'11 refer your i-nformation over to the officerr,,
t1           and that answer does not satisfy Mr. Nissen. He
1B           hangs up. only t.o calr back shortly rater.  rn about
19           30 minutes he calls Ms. Gurule agrain and she answers
20                                   (Audio played.   )

21                                   MR. UBALLEZ: My apologies.                  This is the
aa
z- z-        call I was going to play.
23                     (Audio ptayed. )
24                                   MR. UBALLEZ: Following this caIl,
25          Ms. Gurule refers Mr. Nissen to her serqeant, steve
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                      Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 43 of 259



                   Carroll, who speaks wit.h Mr. Nissen and attempts to
                   defuse t.he situation and is unsuccessful'
            3                 Mr.Nissenthencal}sbackrninuteslater,
             A     in the first call that I played for You, yelling at
:-''f
ntr:
/1
        C
                   Victoria not to Shreaten him.
                              On November 26 of ZALB, nearly a month
                                simmering. Mr. Nissen again caIls New
xffu&
 ,P
                   later,           stiIl
                   Mexico state Police dispatch, this time talking to
,y'
                   Barbara Beuzekom. After educating Ms. Beuzekom on
            10     the ]aw and speaking with her about, speaking Lo her
            11      superiors, he issues two statements to her' "You
      'L2           need to mind your own fucking business, " he states,
ur
v,i/ l"=            ,
                       $l,,}'rqr. ,goi.ng to
                   'head. t'
                                             come and shoot you in your fucking
            ,n      j.+)        ^




                              Barbara Lransfers Mr' Nissen to Julian
{ry?:,             cordova, a st,ate police offlcer, rho records this

r4          r,
                   #:Onversation with'Mr. Nissen, during
                                                         r^ihich time

                    Mr.Nissencontinuestoexpresshisdispleasure.
,/.' l&     ts                 Those are t'he facts of the case' And as
W.N20               the Judgre told Your your job here is to apply the law
,M,,*,
"ifl*I      2L      to t.hose facts. We will not ask you to convict
                    Mr. Nissen for profane or offensive language, which
                     isobviouslypresent.lr]ewillaskyoutoconvict
                     Mr' Nissen for the threats in between those lines,
ffi:,':,             for stating that he will take his revolver out and
                                                                                          MAIN OFFICE
                 SANTA FE OFFICE                                               201   Thid NW,   Suite 1630
                 119 EastMarcy, Suite   ll0                                      Albuquerque, NM 87102


$ffi             Santa Fe, NM 87501
                 (505) 989-49{9
                 FAX (50$ 820-63d9                 SSOCIATES*.
                                                      raotIssrolt^I.cotmT
                                                       nsxlnfl\osERllcf,,
                                                                                          (505) 8r&9r94
                                                                                      FAX (505) 843-9{92
                                                                                           140M69-9492
                                                                               e*nail: info@litsuPport'com
 Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 44 of 259



              put thatr &s he said, '$motherfucker, drop dead.'.
                        This is a simple case from which you can
              redact every one of those offensive statements and
              still        find that he's guilty.                Thank you.
                                     THE COURT: Thank       your Mr. Uballez.
                         Mr. Gleria, do you have an opening
              st,atement f or Mr. Nissen?
                         MR. GLERIA: yes, your Honor.
                                   Mr. Gleria.
                                     THE COURT:
 10                     MR. GLERIA: Thank you, your Honor. May I
 11           please move the podium? rt's too close t.o the El-mo.
 L2                                  THE COURT: you may.
 1_3                                 MR. GLERIA: Ladies and gentlemen, you
 1,4         heard Judge Browning speak about our democrati-c
 15          system, and we have the right in our country of free
16           speech, and that right is enshrined in the First
11           Amendment of the united" states constitution.  And
1B           just as Mr. uballez stated, it can be profane; it can
19           be offensive. rt doesn't have to be correct. rt can
20           be hate speech. rt.'s protect.ed.. Today you as the
21           jurors have the power to determine the fact.s of this
aa
z- z-       case and to determi-ne if Mr. Nissen crossed the line.
23                   I,the Government is focuslng on the words it.
24          *laims are the threats, threats that     statement.s
25           that they claim show that these statements by
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                                                                                         MAIN OFFICE
                                                                                201 Thnd N1V, Suite 16B0
        Santa Fe, NM 87501
        (505) 989-49.{9                                                          Albuquerque, NM 87102
                                                                                          (505) 8.X3-9494
        FA-X (50$ 82&6349                         SSOCIATBS,*                         FAX (50$ 8{3-9{92
                                                   sosTs$ot LcotRT                        1400569-9492
                                                    RE}t}ntti{o$t&vlcf,,      e-mail: info@litsupport coru
             Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 45 of 259



          Mr. Nissen are serious and, therefore, intended by
          him as threats. However, the evidence is the
          entlrety of Mr. Nissen's recorded staLements'
          Mr. Nissen called police dispatch to educate police
          regarding the traffic stop and for having stopped
          him, in his words, far no good reason; and also to
           complain about his feelings that his constitutional
           rights were violated.
                     Mr. Nissen's statements are profane and
10         Mr. Nissen's statemenls include figurative language '
1_1        When he says "pigs," "You've got some of the
LZ         st.upidest fucking pigs on the road'tr that is
l-3        figurative language. Now, it's obviously offensive,
14         but it's figurative and, therefore, not literal, and

15         clearly exaggerated. And that defines exaggeration'
16         because he is overtly using exaggerated language to
1'7
LI          express his unhappiness. Mr. Nissen is rant'ing about
1B          his unhappiness for being stopped on t,he highway, for
1-9         his perception, whether he's right or wrongi, that' his
20          const.itutional right.s were violat.ed for having been
21          issued citations              for no insurance and no
22          registration.
                                  f,Tle evj-dence 1s significant. also for what
24           it does not show. 'It does not show any act in "
 )tr,      r furtherance of atleged threats.  It's important for
                                                                                      MAIN OFHCL
        SANTA FE OFFICE                                                   201  Thnd N\Y, Suite 1630
        I 19 East Marcy', Suite 110
                                                                            Albrtqrtelqrte, NM 87 102
        Santa Fe, NM 87501                                                           (505) 8r3-919J
        (505) 989-{9.19
        FA-\ (50$ 820-63d9                       SSOCIATES,*                    FA-X (50.5) 8{3-9{92
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                                                    nE,{}trftF(gsERvKl:
Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 46 of 259



            me to emphasize that the statements are figurat.ive,
            tpiqsf" and therefore exagqerated and not IiteraI.
            Not literal.
                       Thls occurred over the telephone.
            Mr. Nissen is somewhere on the telephone, driving or
            stationary. Who knows? But he's nowhere near a
            police dispatch.
                                        He didn't. make further statements such dsr
            "rr11 be right there to put a burlet dead on that
10          pig's head. " He didn't say that.. And it's clearly
1_1         ranti-ngr because it occurred at the end of his
L2          statements to dispatch. The statements, at least the
13          first one that you heard, is condltional on a future
14          stop and violation of his rights by law enforcement,
15         somet.hing that. did not occur.
L6                                      The police are sensitive to securj_ty, a$
L7         they should be, and f understand that a1l such
18         statements should be looked into and taken seriously.
19         But when you look at the context of those statements,
20         these are words, words without any accompanying act
           in furtherance of what they claim are threats.
          ta#':''NJ,sscn is rantifig.                 He has a right to be upset.
           He has a right to call dispatch to complain.                      He
          has     you know. it's not very nice to use such
          profanity and to raise his voice. But these are
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                                                                                        MAIN OFFICE
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                                                                              Albuquerque, NM 87102
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      rAx (50$ 820-63d9                              SSOCIATBS,*                  FAX (505) 8d3-9,192
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                                                       RlFonm\o$t&uai,      e-mail: info@litsuppofi .com
              Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 47 of 259



        words unaccompanied by any act and, therefore, not                        a

        crime.            He has the right to say it '
 3                Mr.UballezalsotouchedupontheNovember
 4      26 alleged threat directly to a New Mexico stat'e
 5      civilian employee, which you heard about. whatrs
 A      striking about that particular allegation is that
 1       you're going to have to hear from the witness' And
 B     I Mt'. Nissen
                     t"S: statement ls not in evidence + f t's not

 9      ,rin evidence like the ot.her statements. The other
1_0      st,atements,' you'11 be able to listen to them here in
11-      court. khe other statement is not in evidence.
L2       Mr. Nissen never threatened victoria Gurule when he
13       catled the initial two or three times. He was
1,4      complaining, and he said that if he was stopped and
15       his rights were violated again, he would take some
16       kind of action. ttfs unthinkable that a call by a
17       p€rson to police dispatch wouldnrt be recorded?. And
         'tLt t s not recorded because it never happened ' Every

          call to a police dispatch is recorded'. It didn t
                                                            I
t9       ir

20        happen. *r. Nissen did not threaten that civj-lian
21"      ;police employeg. His statements to victoria Gurule
22        were never a threat to her. He was complaining about
23        his rights, and to* the Government is saying in the
24       :$econd instance. when t.he call is not. even in
          evidence for you to hear, suddenly now hers shifting
                                                                                   MAIN OFFICE
      SANTA FE OTFICE                                                  201   Thild lt{\\r, $uite   1630
      119 East Malcy, Sr.rite 110
                                                                         Albrrqrrerqtte, NM 87102
      Santa Fe, NM 87501                                                              (505)   8{&9{9-l
      (505) 989-d949
      FA-\ {505) 820-6319                  SSOCIATES,'".                       FAX {505) 8,13-9{92
                                                                                   1400$69-9492
                                              ttorrsslox Lcq,,RT       e-urail: iufb@litsupport.com
                                              Rglro*Tllso SERVICIi
Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 48 of 259



             from complaining about police to directly threatening
             the civilian police emproyee. rt did.n't happen. The
           ionly evi-dence that you have is her testimony about
            lib. You don't have the dispatch carl yourself t.o
             hear, which is unthinkabte, because every single call
             is recorded. iEvery single cal1.
                          is it that the call is not recorded?
                                  How
           ,enC now this lady can sayl -- this testimony is groing
            to be that he directly threatened her. rt didn't
10          happen. These are words. Nobody wants Lo be       you
1-1        know, nobody wants to be sweared at; nohody want.s to
L2         be yerled at. But his speech is protected. They
           were not threats. There was not a single act in
           furtherance of these activities.  kfr*y were
           conditioned on a future stop and violation of rights
          bV law enforcement whj-ch did not occur;
                     And they were also separated by time and
          space. Mr. Nissen was on the road. The dispatch is
          in a different place. The police were not even,
20        &amed'. rt's not a threat. rt' s words . Thank you.
27                                THE COURT :   Thank you r              lr4r   . Gleria   .

22                                MR. GLERIA: you're welcome.
23                       couRT: Ar-r right.
                                  THB       Does the Government
24        have its first witness or evidence, Mr. Mysriwiec?
25                   MR. MYSIIWIBC: We do, your Honor. The

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      119 East Marcy, Suite 110                                                                           MAIN OFFICE
      Santa Fe, NM 87501
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                                                                                                           (505) 84&9494
      FAX (505) 820-6349                         SSOCIATES,*..                                         FAX (.t05) 843-9192
                                                   morT$$or^r,   c{taT                                      140M69-9492
                                                    REOft[1.!GSt&rtcE,                         e+nail: ilfo@litsupport corn
           Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 49 of 259




        united states would like to call Officer Burd of the
        New Mexico Stat.e Police.
                  THECOURT:Mr.Burd,ifyou'Ilcomeupand
        stand next to the witness box on my rightf your left',
        before you're seated, ffiY courtroom deputy' l4s' BeveI'
        wilt swear You in.
                              MR. MYSLIWIEC: And you can leave your
        computer on the table.
                                        JORDAN BURD'

1_0                aft.erhavingbeenfirst.dulyswornunderoath'
11                 was questioned, and testified as follows:
L2                       THE CLERK: Please be seated'

13                       THE COURT: Mr. Burd, Mr' MYsliwiec'

L4                                    DIRECT EXAMINAT]ON

15       BY MR. MYSL]WIEC:
L6            0.    Officer, could you please introduce
1'7      yourselftothejurybytellingthemyourfullname'
1-8      occupaLion, and current assignment?
L9             A.I,mofficerJordanBurdwiththeNewMexico
20        state Police. I've been with the New Mexico state
27        police for about five and a half yeals now, and I'm
22        currently assigned to the Albuquerque District 5
 23       arear ds well as the subdistrict Edgewood area '
 24            0. What is the Albuquerque District 5 area?
 25            A. It covers the areas of Los Lunas'
                                                                                   MAIN OFFICE
      SANTA FE OFFICE                                                   201  Third NW, Suite 1630
      t 19 East Marcy, Suite 110                                          Albuqrrerqtre, NM 87 102
      Santa Fe, NM 87501                                                          (505) 8{&949d
      (505) 989J9.19
      FAX t505) 820-6349                    SSOCIATES,n-.                     FAX t50$ 8.{3-9492
                                                                                  140M69-9492
                                              tfiorrisloxAl.   CtIJRT
                                                                        e-urail: iufio@litsupport com
                                               nf,,{t*?${6SEftVlCli
 Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 50 of 259



              Albuquerque, Cubar ds weIl as the East Mountains,
              Edgewood area.
                        fs that the assignment that you had back
                          0.                                                            on
              November 2, 201,8?
                  A. It is, sir.
                          0.         And does that cover Moriarty?
                          A.         It does, sir.
                          0.         And is Moriarty east of Albuquerque?
                          A.         ft is, sir.
 10                0.    Did you have any other jobs before your job
 11           as a patrol officer with the New Mexico state police?
 1^
 LZ                A. I did not, sir.
 13                       O.         So do you remember whether you were on duty
 L4          on November 2 of 2018?
 15               A. f was, si_r.
 16                       0.         What was your shift?
L1                        A.
                        I was on night shift, which I believe at
IU           the time was 4:00 p.m. to 1:00 a.m. in the morning.
79                 O. And were you on foot or in a patrol car?
20                 A. f was in a fully marked patrol unit.
27                 0. And were your yourself, in uniform?
aa
z- z-             A. Ful1 uniform displaying my New Mexico state
-/<          PoIice badgre of of f ice.
24                0. And do you remember whether you effected
25          any traffic stops during that evening shift on
        SANTA TE OF'FICE
        119 East Marcy', Suite 110
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                                                                          201  Third N\Y, Suite 1630
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                                                                                    (505) 84&949{
        F.{X (50$ 820-6349                        SSOCIATBSO.                   FAX t505) 8.13_9492
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            Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 51 of 259



         November            2,     2AL8?

                    A.        I did, sir.
                    0.        And just one, or more than                 one?

                    A,         Several.
                    0.         Were any of those stops involving Michael
         Ni s sen?
                    It was, sir.
                    A.

                 0. At the time that you originally made the
          traffic stop, did you know that the driver of the
          vehicle was l4ichael Nissen?
                 A. Not at all, sir.
 ]Z              a. What caused you to initiate that traffic
 13       stop of the person you later learned was Michael
          Ni ssen?
                     A.                   '[ ran a vehicle
                                On t.hat day, sir,
               StratioR; through my LEADS computer system, and it
          notified me that that vehicle had expired
          .f-eEisgratio,S as welt as no active insurancer.
                 0.    And it's normal f or you to run vehicl-e
          information that you see as you're patrolling?
                     A.         Standard Patrol oPeration, sir'
  tt            0.              And as far as you know, that's not against
/\^        any rule?
                A. Not at all, sir.
                0. And when you ran this informat'ion of the
                                                                                           MAIN OFFICL.
       SANTA FE OFFICE                                                          201Thn'd NlY, Suite 1630
       I 19 East Malcy, Suite 110
                                                                                  Albuquelque, NM 87102
       Santa Fe, MvI 87501                                                                 (50.t) 84&9d94
       (505) 989-{9{9
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                                                                                            140M69-9492
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                                                     RtrOR?TFSSERVICT:
     Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 52 of 259



        1          t.ruck that later turned out to be Mr. Nissenrs, you
        2          were traveling westbound on rnterstate 4a towards
        3          Albuquerque                ?

       4                       A.
                              Yes, sir. Just, I believe, outside the
       5           city limlts of Mori_arty westbound "
       6                       0.            So definitely    within the state of     New
       7           Mexico        ?

       I                      A.          Yes, sir.
       9               0.                 when you ]-earned that     your computer told
 10               you that               he had no current regist.ration or insurance,
 l-    1-         what did               you do next?
 L2                           A.          The next thing I did is, f engaged my
 13               emergency equipment, calred out the traffic                         stop
 14               through my dispatch, who then repeated the vehicle
 -LJ              registration, coming back wit.h expired registration
 16               and no active insurance.
 11
                       a.   So when you typed in the information to
18               check in your computer system, that wasn't the time
19               that you asked dispatch to double-check for you?
20                     A. Can you rephrase that? f,m sorry.
27                     0.   So what you,ve described is that you
22               origlnally ran the i-nformation thal you saw with your
23               eyes, and your compuLer told you that the vehicle had
24               expired registration and. no insurance. when you
,tr
4J               cal}ed the stop in to dlspatch and you say they
            SANTA FE OFFICE
            I 19 East Marcy', Suite I   l0                                                         MAIN OFFICE
            Santa Fe, NM 87501
                                                                                       201 ThtudNW, Suite 1680
            (505) 989-49.19                                                             Albuquerque, NM 87102
                                                                                                   (505) 8,1&9d94
            FAX (505) 820-63d9                               SSOCIATESN.                     F,{X (505) 8{3-9.{92
                                                              PROTTJS|o;T   Lct{.mT               t{00669-9492
                                                              RE{r*tlNost:&?rcf,,     e-urail: info@litsupport corn
                       Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 53 of 259



                    confirmed, is that^ Iike double-checking?
                          A. It is, because dispatch runs it on t'heir
                    end as well, sir.
                          0. And you do that' so you make sure you don|t
                    pull over People for no reason?
                               A.Itdouble-confirmsthattheySawt.hesame
                     thing I          saur.

                          0.Anddidthetruckthatyoulaterlearned
                     was driven by Mr. Nissen pull over in a timely
           t0        fashion?
           1- l_                It did. sir.
                                A.
       \   rz             0. When you approach a vehicle on the highway'
 \vtr'{i             when yourre doing this traffic stop, do you approach
{                    on the driver's side in the mid.dle of the traf fLc, oI
h)',                  on the passengier side on the shoulder?
)                          A. plways on the passengier side, si-r' for
                    .officer safety.
                           0. And is that what You did here?
                           A. Yes, sir -
                           0. And while you were walking up to the truck
                     that you later realized Michael Nissen was driving,
                      didyouseeanythingthatcaughtyourattention?
                            A. The first Lhing I did, sir, is' I
            24        introduced myself as officer Burd of the New Mexico
             1q.
             LJ       stat.e Police. I notified the driver t.he reason for
                                                                                           MAIN OFFICE
                   SANTA FE OT"FICE                                             201  Thi[d N\M, Suite 1630
                   119 East Marcy, Suite 110                                      Albuquerque, NM 87102
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             Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 54 of 259

           )-r'
                         the stop today, and f immed.iately observed, I
                         believe, au,green or a camouflage-in-color shotgun in
                         his passenger side seat.
                                   MR. MYSLIWIEC: your Honorr mdy I move

  ,;w                    about the well?
                                               THE COURT: you may.
                         BY MR. MYSLIWTEC:
 ryi
 Ai :,a'
                                   0.          f 'm going to show you a h#p.tgun that is in
                         evidence.
             10                                MR. MYSLIWIEC: fs it            B, Alex?
             1-1             0. And it's zip-tied into this box for safety.
                        But can you tell_ me whether this shotgun here
                         resembles what you saw in Michael Nissen r s truck?
                                   THE COURT: I'm not sure that we've moved
                        exhibits, but is there any objection to this one?
y\-                               MR. GLERIA: No, your Honor.
                                  THE COURT: Alt right.    So what is the
  ,\J
l.J'
/)L                     number on it?
vfr,+.)/                                       THE CLERK: Nine.
   N
            20                                 MR. MySLIWfEC: Nine.                And I thought we had
"N"
            21          a talk about the preadmission of exhibits not
            22          obj ect.ed to           .


            23                               Wel1, is that al1 right, the
                                               THE COURT:
            24         ones that are on the exhibit list, document 60, any
            )q         objection to any of those?
                   SANTA FE OFFICE
                   119 Eest Marcy, Suite 110                                                                MAIN OFFICE
                   Santa Fe, I[.1I 87501
                                                                                               201 Thir.d   N\V, Suir€   16B0
                   (505) 989-4949                                                                Albuquerqre, NM 87102
                                                                                                            (505) 8.1&9d94
                   r.{.x (505) 82&6349                      SSOCIATES,*                              F,{X (505} 8{3-9492
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                    Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 55 of 259



                                     MR. GLERIA: No, Your Honor'
                                      THE COURT:     All right' So Government's
                 Exhibits L,2,3,                 4,5, 6,7,8 and 9 will he
                 admitted into evidence.
                           MR.MYSLIWIEC:Anddemonstrativeexhibits
                 1-A, 2-A, 3-A, and 4-A, the transcriPts?
                           THE COURT: AnY objection to t'hose?
                           MR. GLERIA: No, Your Honor'
                                           All right'
                                      THE COURT:       Government's

                 $'ernonstratiye, exhih*its -- are they going to
                                                                 be

                 admitted into evidence or just used as demonstrative
                 exhibits as we have r+ith the jury instruction?
                                      MR. MYSLIWIEC: We put t'hem on the       JBRS

         L4       disc, but theY're demonstrative"
         l-5                THE COURT: Do You care if      theY can go

[B
     N   16       either way. we can make them exhibits for the iury,
         11
         LI       or we can just make the audio the exhibit and the
         1B       transcripts               can be demonstratives '
         LY                            MR. GLERIA: I Prefer
         20                                        Prefer the latter?
                                       THE COURT: You

         2t                            MR.MYSLIWIEC:That'swhatt'heinstruction
         22        says.
         23                                THECOURT:Yeah'Areyouokaywit'hthat?
         24                                MR. MYSLIWIEC: Yes, sir'
                                           THE COURT: So we'11 admit well' the
                                                                                           MAIN OFFICE
               SANTA FE OTFICE                                                  20l Third NW, Suite 1630
               119 East Marcy, Suite 110                                         Albuqtterque, :'lM 87I02
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               (505) 98949.19
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                Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 56 of 259



                                 transcripts will just be demonstratives, then.
                                            MR. MySLTWfEC: yes, sir.
                                                       THE COURT:   AlI right.               So f donrt need to
                                admit those.
                                                       MR. MYSLIWIEC: yes, sir.
                                BY MR. MYSLIWTEC:
                                      0.  So f might have lost my place. But Officer
                                Burd, can you confirm that. this shotgun ilm holding
                                right now, Government's Exhibit g, as far as you can
                10              teII is the same shotgun that you saw on the
                l_   1_         passenqer seat of Mr. Nissenrs truck when you
                L2              encountered him?
                13                        A.           It is, si-r.
                t4                        0.           And you can confirm this is not a water
                1_5            bal I oon ?
                L6                        A.
                                         I can confirm that, sir.
                L1                  0.   So after you introduced yourself to
                1B             Mr. Nissen and told him the reason for the stop, did
                LY             he respond at al1 to you?
                20                  A. He did, sir.
              .21                  0. And how did he respond to you?
            \,,H.
                                   A. He responded by basically saying that f had
    ' 14P
      x?'23                   no legal authority to be stopping his vehicle; that
    -rry (                    he identified himself ESr r believe t.he word he used,

H"
J

ry
     rrtl
                              as a $.*aveld$. He stated at this moment in time
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                          Santa Fe, NM 87501
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                                                                                                               he


                                                                                                       201 Thn'd
                                                                                                                  MATN OFT'ICE
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                          rA-x (50$  890-6349                       SSOCIATES,*                               FAX (.t05)   843-9.192
                                                                      If,OTTJ$OTAT, COIJRT                          180G66$9492
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                Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 57 of 259



             was traveling,  and again, I did not have the legal
             authority nor t.he means to apply traffic laws t.o him'
             thattheydidnotapplytohimbecausehewasa
             traveler, and everything basically I was doing              was

             illegal.
                  A. Before he said t,hose words to Your have you
             had any training on the existence of folks who
             believe those thingrs?
                   A. We've had prior training as well as prior
 1_0         experiences in my law enforcement career' Typically'
 1-   l-     I woul-d say anyone that might possibly identify
             t.hemselves as a traveler may apply themselves t.o a
             h.ppcrfic groi:p of people who don't    believe that
             but specific state or county laws don't aPPlY, and
             believe that      f be'lieve he kept quoting the
 16          [Constitutior+.
 11                 0. And do you have t,raining in how to make
              sure that encounters with folks like that don't get
;F'
  19          more hect.ic than is necessarY?
  20                A. Yes, sir. Basically to just stick to the
  21          standard patrol operations, not to delve into any
  22          arguments of the law, hut rather, just stay
  23          straightforward and enforce the legaI st'ate law.
  24                O. So after he revealed those beliefs to you,
  LJ           what did You do next?
                                                                                    MATN OFFICL
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    Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 58 of 259



                             I again requested again for his license as
                              A.
                   well as vehicle information. Again, it was several
                   minutes of riff-raff  about my legat authority to be
                   s topping    to have the legal authority to stop his
                   vehicle. Eventually he did. provide me with hist6Eew
                  bie*'ico ident:ifleati.on ce*d.fi, He didn't provide any
                    ther vehicle lnformation.
fy;v;
         7


                              At this point I found for my safety I was
P,W
,@,               ;going to remove that shotgun out of his vehicls. if

;4                ;didr r reached in and removed the shotgun from the
                  iyehiclei. I believe I told hirt, "This will be
                   ret.urned to you at the conclusion of this st.op, but
                   for my safety it.rs not qloing to be in your presence.',
                              A.          And did he respond to that in any way?
                              A.          He did. He began to raise his voice. His
                  face, r believe, 9ot a little redder. He was stating
                  S didn't have the legaI authority fo de-arm hi$, I
   1B             believe was the word he used, and it was     my
   19             feelings were, he was pretty agitat.ed with that
   20             situation.
   21                   0. What did you do after temporarily taking
   22             custody of that fi-rearm and informing him of why you
                  did ir?
   24                 A. At this point, that's when I went back to
   ,)q
                 my patrol unit. I secured the shotgun there
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                                                        FfiOITS$Ort^L COIIRT               140M69_9492
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           Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 59 of 259



        momentarily while I ran his driver's license    or
        his identification information. His driver's license
        came back valid in the state of New Mexico, so he
        did
              0.Whenyousaythedriver'slicenseCameback
        valid, is that from your typing into your own
        computer, or did you call that in to dispatch and
        dispat.ch told You?
             A. I typed that into my compuLer, sir'
10           0. And were you communicating with dispatch
11
II       during this Process?
L2            A. I was.
13            0.    Do you know who at dispatch you were
14       communicating with during this?
15            A. No, I don't, off the top of my head' sir'
1_6           0.    Do you know who Victoria Gurule is?
11
LI                  A.         I'm f amiliar with her '
I(J            0.Doyouknowifshewasondutyatthetime?
19             A. I believe she was.
20             0. After you ran your compuLer checks' were
2\        you able to confirm whether his vehicle had insurance
 22       or    not"?
 a1
 ZJ                  A.            SorrY, can You rePhrase?
 24            0.                  Did you confirm whether his vehicle   had

 25       insurance or not?
                                                                                     MAIN OFFICL
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       Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 60 of 259



                          t d j-d not have insurance, s ir .
                         A.          I

                   0. Not just proof of j-nsurance, but actually
              whether it had insurance.
                   A. Both, si_r. He didn't provide me with any
              vehicle information during our encounter, and
              confirmed, when I went back through my computer                          and
              dispatch, the vehicle was not insured.
                         0.          And what about the registration         status;       do
              you remernber?
                        A.           It had been expired for, I believe, over
              s   ix   rnonths       .

                    0. Now, at that t.ime, knowing those things and
              confirming them through the process you've described
              to usr did you have the authority to arrest him and
              tow his vehicle?
                    A. I would have had the authority to arrest
              him if he refused to sign my citations.    r did have
              the authority to tow his vehicle, thougrh.
                        0.           So you could have made him walk home from
              r-40?
                        A.           f could have.
                        0.           Did you?
,-x                     A.        I did not.
 ),K                   0.         What did you do instead?
 P                     A.        int this pol-nt r issued him two traffic
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            Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 61 of 259



         citations, one for exPired regi strati-on, as well as
         no proof of vehicle insurance; our financial
         responsibilitY.  f walked back to the vehicle. Is
         that part of the question?
                    0.        Sure.
                   At this point,, I walked back t'o the
                    A.
         vehicle. I advised Mr. Nissen that I was going to be
         issuing him two traffic citations for the reasons I
         stopped him. I did advise him that I did have the
10       authority to tow his vehicle, which I was not going
1_1      to do. r advised him if he did refuse again to sign
L2       my traffic citations, he would be under arrest'
13             O. When you say "refuse againr " was he
1,4      originally enthusiastic to sign the citations?
15                  A.         NO.

16              0.     How did he convey to you that he was not
L1        happy or excited to sign those citations? what did
IB        he say or do?
19              A. Basicalty saying everything I was doing was
20        illegal; that I had no legal authority to be stopping
21        him. He did keep elevating his voice. I believe at
22        one point he pulled out his phone and tried to show
23        me a tXo'u[u,be' videcl. I can't even testify to what it
24        was, because I refused to watch it.
25             0.   The first time that he told you he didn't
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               Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 62 of 259



                              want to sign the citations                 and you had no authority
                              to be doing any of this, did you at that time have,
                              as far as you underst.and, the legal authority to
                              arrest him and tow his vehicle?
                                   A    I could have           "


                                   0.   Did you do thatr or did you keep trying?
                                         I kept trying, sir.
                                         A.

                                    0.   And why did you keep t.rying not to escalate
                              your enforcement and arrest him and t.ow his vehicle?
               10                   A.   Basically, sir, for     well, for my officer
               11             safety was one. r wanted to try and de-escalate the
              ) 72            situat.ion as much as f could. f understand he was
            psia              very agitated. Based off my training and experience,
                           he was very agitated at the stop. !: f,eft that I w&s,
               15         itrying to give him a fair chance to comply with our
               L6         ,state laws and sign the citations.   And I don't tow
       ,Y      L7          every single vehicle that is not registered or

             x'19
                           insuredr so I felt like f was t.rying to give him the
                              fair opportunity to comply.
              20                       Did your diplomacy eventually succeed?
ry,
j\/'                               A.  It did, sir.
              22                   0.  So he signed the citat.ion ?
yo( .4,
       v'     23                         A        He signed the cit ations.
                                                               I believe he said
$.            24          he was goi ng to educate me Iater on the Iaw and
              ar
              Z.J         everything I was doing, but he did agree to sign the
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           Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 63 of 259



        citations, tgt that point I placed the shotgun, r
       ,believe, in the backseat of his vehicle whete it was
      u no'longer -dlose within
                                reach to him.
              0. So you didn't keep the shotgrun; you
        returned it to him?
                    A'         I did, sir'
                0.             And then as far as you were aware, was the
         traffic stop essentiallY over?
                A. At t.hat point, sir, I believe that the
10       traffic stop had concluded.
11            O. Now, I want to ask you a little bit about
72       the process. You write the citati-on, which then
1-3      Mr. Nissen signed as you described. Do you turn that
\4       in to someone when you get back to the office?
15            A. It's a computer automated system. So as
1,6      soon as the citation is signed, I scan in the
L7       signature so it shows to the Court t.hat it was sigrned
1-B      by the driver. And then an admlnistrative secreLary
L9       act.ua1Iy sends them out to the different court
20        agencies.
2L              0. And one of the things that gets sent out
22        from the court agency is a court date where Someone
23        would appear as a result of your having written that
24        ticket and the defendant having signed it?
1q              A. They sign knowing that this is the date and
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                   Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 64 of 259



                            time that. you should be appearing.
                                 0. Okay. So on the face of the ticket at the
                            time, Mr. Nissen, i! he read it, would have seen what
                            his court date was expected to be?
                                      A.          Yes, sir.
                                      0.          was that in the $orrance county Magistrate                 l



                            pourt     ?

        IrU                           A. believe at the time r had cited him into
                                                  tr,
                                                   :.




                            lBernalillo county Metro court. And later onr as the
                             events had progressed, r had spoken with the district
                            attorney who advised that the traffic citation shourd
                            be issued into Torrance, because that's where the
                            "stop was.
                                     O.           So you complied with that instruction?
                                     A.
                                      Yes, sir.
                                 0. As far as you are aware, did you comply
                            with all laws that exist and arl instructions that
                            you got in how you conducted this traffic stop with
                            Mr. Nissen?
I,    r d,                           A.           To my best knowledge, yes, sir.

5*l           21

              22
                                  0.              As far as you are aware, were you trying to
                            violate any of Mr. Nissen's rights?
,-*           23                  A. Not at all, sir.
 J^t          24                 0. At the end of your traffic stop with him,
              LJ            was he free to gor and did he indeed drive away?

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             Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 65 of 259



                     A.         He did, sir-
                                MR.MYSLIWIEC:I'Ilpasst'hewitness'Your
          Honor.
                                THE COURT: Thank VOur                      Mr' Mysliwiec'
                   Mr. Mkhitarian, do You have
          cross-examination of Mr. Burd?
                                 MR. MKHITARIAN: Thank Your Your Honor'
                                 THE COURT:         Mr. Mkhitarian'
                                 MR. MKHITARIAN: Thank You, Iadles and
10        gentlemenofthejury.IamMr.JackMkhitarian.I
1_ 1_     apologize, I didn't get a chance t'o speak earlier
t2        todayr so I ' 11 take the time now to do that '
                                                CROSS   _EXAMINATION
13

1,4        BY MR. MKHITARIAN:
15                    0.          Good afternoon'            Is it Officer Burd?
1_6                   A.  officer.It's
L7              0. Officer Burd, did T hear it correctly that
 1B        you have five and a half years' experience in law
 L9        enforcement prior to coming here today?
 20                   A.Yesrsir.Istartedt'helawenforcement
 2L         New      Mexico state Police Law Enforcement Academy in
 22         JanuarY of                 201-3.

 23                    0.         And did You serve atl that time
 1A                    A.             20L4.
  25                    a.               that whole time as an officer'                has t'hat
                                                                                                         MAIN OFFICE
        SANTAEE,OFFICE                                                                      201 Thil'dNW, Suite 1630
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Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 66 of 259



           all been for State Police?
                A. Yes, sir.
                      0.           So for a total of five and a half years?
                      A.
                     Yes, sir.
                0. Would you agree t,hat you've arrested,                       you
           know, more than l-00 people?
               A. Yes, sir.
                      0.           Hundreds?
                      A.           A fair assessment, I would say.
10                    0.           And would you say you've probably pulled
11         over thousands of people?
12              A. Yes, sir.
13              O. Now, in your experience in the five and a
t4         half years, have you arrested people for putting you
15         in threatening situations?
L6              A. Can you define that, sir?
1_1             0. Are you famil_iar with the term felony or
18         high-rj-sk stop?
19                   A.
                    Yes, sir.
20             0. Could you explain to t.he jury what that is?
27             A. A felony stopr ds far as our lingo is
22        concerned, would be a stop where immediately my
23        handgun or duty weapon would be drawn, knowing that
24        the person has already actively committed a felony or
25        possibly have the    we had the reasonable suspicion

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                                                  BEFOR?|i*O$t&Ytcli      e+uail: info@litsupport ccm
            Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 67 of 259



         to believe they had already committed a felony. An
         example of that. would be a st.olen vehicle that is
         ran. You would immediately stop that vehicle with
         your gun drawn, knowing that the vehicle is returnj-ng
         stolen.
               0.   How about if a vehicle you light up to pull
         over start.s driving errat.ically and thereby putting
         t.he motoring public and yourself in danger? Is that
         also grounds for a felony or high*risk stop?
10                  A.           It is.
1t                  0.           And did that happen in this situation?
L2                               MR. MYSLIWIEC: Objectionr relevance.
13                               THE COURT: Overruled.
14        BY MR. MKHITARIAN:
15                  0.           Did that happen in this situation?
16                   It didn't.
                    A.
L7              0.   So in a felony stop, would it be                    fair to
1Q        say t.hat you're threatened by the driver' s                   conduct
19        either sometime before he got into the car                     or while
20        he's in the car, thereby justifying you to                     pull your
21"       weapon upon pulling him over?
22                  Are you trying to define as me with prior
                     A.
23        knowledge of his threatening level? I don't get what
24        you're saying.
,q                   0.              What lrm saying, if you have reason to

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Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 68 of 259



           conduct a felony stop, part of a felony stop is that
           t.hat personrs conduct was threatening either before
           or while he was in the vehicle; is that correct?
                     A,
                      Correct.
                O. But in this case, vou were not t.hreatened
           when pulling over Mr. Nj-ssen, so there hras no reason
           to do a felony stop?
                A. I did not felony stop him.
                0.   Okay. So now movi-ngi on t.o other people you
10         had pu1led over. You had mentioned you had pulled
11         over hundreds. After a traffic citation or a DUf,
L2         has anyone ever gotten aggressive with you to where
l-3        you had to arrest them and take them in?
L4                   A.
                    Yes, sir.
1_5            0.   That didnrt happen in this case, did it?
L6             A. No, sir.
77             0. Now, going back to the reason you pulled
18        Mr. Nissen over, there are a lot of things you
1_9       actually didnrt see as well; is that correct?
20             A. What do you mean by that, si-r?
27                   0.           You didn't   see Mr. Nissen speeding. did
22        you    ?

23                   A.           Are you t.alklng about movinq violations?
24                   0.           Correct.
25                   A.           I didn't observe a movl-ngi violation.
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            Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 69 of 259



                   O.         He was driving wlthin his lane; correct?
                   A.         He was.
              0.              He was obeying all traffic                     signals;
         correct ?
              A.              He was on the interstate                     so there wasn'L
         any.
                    0.        When      he pulled over, did he pull over
         immediately?
                    f believe so.
                    A.
10             0.   That would be something you'd he looking
l-L       for as well; correct? If he didn't pull over
L2        immediately, that coul-d be a sign that something is
13       wrong?
1,4                 A.        PossibIy.
15             0.   But in this case he followed your                               commands,

16        pulIed over in a safe location?
11             A. As safe as it could be.
IB             0.   In an appropriate location?
19                  A.        Yes.
20                  O.        He didn't       stop in the middle of the
21        freeway?
22                  A.        No.
23                  0.            He didn't   slam his brakes?
24                  A.            No.
25                  O.            Now, upon making contact with Mr. Nissen,

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 Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 70 of 259



             you said that he immediately began to talk about
             travelers and his rights and things like that. Did r
             hear that correctly?
                         A.
                       Yes, sir.
                   0. And if I'm not mj-staken, the United States
             Attorney told you that    or asked you if you got
             training about peopte rike this; is that correct?
                         A.         We have.

                         0.         And is that because
                                               did you get training
 10          because it's so common to run into people with these
 11         'types of polit'ical beliefssg
 L2               A. ft's not common, sir.
 13              0.                 Common   enough to get training        on it;
 1,4        correct ?
15                       A.         Exactly.
16               0.   So it's something that your department is
L7          aware of and actively tries to educate you on; is
10
au          that correct?
19                       A.
                     That's correct.
20              0.   So you knew going into this that
21         immediatery upon tarking to hirn, your trainlng kicked
22         in and said, tp,fr. wai!. bur department told us there
23        hare people like this on t,he road.','
24                       A.         I don't know if I,d use those words, but
atr         yes.

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                                     Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 71 of 259




                                      0. Okay. So you were not surprised and you're
                                 actually trained to deal with some of the comments
                                 that Mr. Nissen was making.
                                      A, You can't be trained on driver's
                                 statements, sir.
                                           iBut you were trained about the traveler
                                             0.
                                $overeign citizen questioning that ,Mr. Mysliwiec told
                                .tyou abduti is that correct?
'-   {    r-                           A. We were trained on sovereign citizen
f"              9-
         klty        \          :beLiefd lB?rat certain ind.ividuals identify themselves
P' A*<'                                                                            for
                                i.u traveLerp. But we can't specif ically t.rain
;"y'\
   '-/"
       "f*,              L2      each individual.
&)-
                         1-3           0. And Irm not saying you're specifically
,!.rJ
                         1,4     trained to puIl over l4r. Nissen' But you and your
                         15      depart.ment are aware of these types of political
                         16      JJf,CIlCTS.

                         L7                  {es, sir.
                                              A.
                         1B              O. Okay. Now you got training to do this' and
                         l-9       so it's not unusual for you to pull people tike this
                         20        over. And as a matter of fact, MI. Nissen tried to
                         a1
                         LL        educate you by explaining t.o you what his thoughts
                         22        were on     I rm going to use his words   his beliefs
                         23        or his polit.ics; isn't. t'hat correct'?
                         24             A. WeIl, I'd have to recant what you said
                         25        before when you said it's not unusual to stop' It
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Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 72 of 259



     1         was unusual.
     2               0. ,9kay. {hat's f iner. But you received
     3         t,ralning on these types of stops?,
     4                   A,           Yes.
     q
                    0.  So throughout the course of your encount,er
     6        of Mr. Nissen, he was t.rying to show you articles,
     7        trying to show you YouTube videos, trying to explain
     I        to you why he thought you had no authority; is that
     9        correct?   Did I hear that right?
10                 A. Yes, sir.
11                 0.    So would you characterize him as trying to
L2            teach you his political beliefs? ifs Lhat a way to
1_3           characterize what he was trying to communicate tO
1,4           you?r

15                       A.
                          I think he was trylng to basically get out
16            of t,he traf fic stop, is the way f saw it.
t1                  0. By explaining to you how he felt. about your
18            authority in the terms of his political beliefs?
19                      A.            Yeahr ily authority to be            to   have
ZV           authority to make a traffic stop on him.
21                O. So, now, throughout the traffic stop,
22           Mr. Nissen never made a motion for a gunr did he?
23                A. He never motioned for it,.
24                     Did he make any threatening lunges at you
                        0.
)q           to make you feel like you were qroing to be battered
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           Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 73 of 259



        in any         way?

2                  A.                      seat, so no.
                                He was in his driver's
 3           0.   Did. he ever threat.en you that he was going
 4      to shoot you or hurt you if you giave him a ticket?
 5           A. No.
 6           0. After complet.ing your business with him,
 1      did Mr. Nissen d.rive of f in an agrgressive manner?
 B           A. I canrt recall his manner.
 9           0.   Did you identify anything that was unusual
10      after completing the traffic stoP?
1t            A. No.
t2            O. Did he chase you and threaten you or
13      tailgate you or flip you off or anything like that.?
74            A. f wait.ed until he left before I left the
15       area.
16                 0.   is it safe to say that at the conclusion
                                i'So

L1     lof t,he traf f ic stop, you did not f ear Mr. Nissen
18     ibattering you or harming you in any way?
                               *
19                 A.          Not
20              O. Did you have any concerns, concern enough
2L       to notify dispatch that "f just got through wit.h this
22       traffic stop; I want to alert other officers that
23       t.here is this threatening person on the road"? Did
24       you do that. afterwards?
Z3              A. What do you mean? Did I contact' my
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Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 74 of 259



          dispatch?
                     0.           Correct.
                     A.           They were   notified that f was out with             a

          combative subject. They were.
              O. Did you feel like the stop was threatening
          enough to let other officers                    know that Mr. Nissen
          could be a danger?
               A. Yes, because two sheriffrs                            deputies did
          arrive on my stop.
10              O. Okay. But after the stop was done, you                                  had
1-1       no reason to believe that Mr. Nissen was going to
L2        harm you or any other officer?
13             A. No, noL and come back. f didnrt believe                                   he
L4        was going to come back to my stop.
15             0. At the time after you let him go?
L6                  A.            Yeah.
11
               0.   So you were completely safe with Mr. Nissen
1B        Ieaving the traffic stop after you concluded the
19        bus ines       s?

20                  A.            Yes.
2L                                MR. MKHITARIAN: May I have a moment, Your
22        Honor?
23                                THE COURT: You may.
24        BY MR. MKH]TARTAN:
)c,                 0.            And one of the reasons why you felt            safe is
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            Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 75 of 259



          because you actually put the gun back in Mr. Nissenrs
          car; is that correct?
               A. No. I didn't feel safe giving it back to
          him, but it was his legal property I couldnft deprive
          him of unless it was for officer safety while we were
          conducting our traffic                  stop.
                0.   You didn't feel threatened enough by
          $4r. Nissen to keep his firearm?
                A. f didn't have the legal authority t.o not
10        return t.o it him if he wasn't under arresl.
1_t            O. So you had returned the firearm and you had
11
LL        Iet Mr. Nissen ga, and at that point your business
13        had concluded?
1.4                  A.              Yes, srr.
15                                   MR. MKHITARIAN: f '11 pass the wi-tness,
1,6       Your Honor.
L7                                   THE COURT: Thank  You, Mr. Mkhitarian.
l-B                                  Mr. Mysliwiec, do you have redirect of
19        Mr. Burd?
20                                   MR. MYSLIWIEC: BTiCf"
21.                                  THE COURT: Mr. Mysliwiec.
22                                          REDIRECT EXAMINATION

          BY MR. MYSLIWIEC:
24                   0.              Mr. Burd, we've been talking              about
25        Mr. Nissen.                   Just for the jury's             benefit,   could you

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Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 76 of 259



     1            tell us if you see Mr. Nissen in the courtroom today?
     2                      A.             f do, sir.
     3                      0.             And could you describe where he's sitting
     :
     A
                  and maybe an articl-e of clolhing he's wearing so the
     5            jury can know who you mean?
     6                  A. Hers wearing a b1ue, lonq*sleeved shirt                                    and
     7            sltting at the very end of the defense's table.
     8                                     MR. MYSLIWfEC: Your Honor, can the record
     9            reflect         that the witness has identified                  the
10                de   fendant         ?

11                                         THE COURT: The   record will so reflect.
L2                BY MR. MYSLIWTEC:
13                      a.  So Mr. Mkhitarian asked you if you were
1,4               trained on $overeig'n citlzens because they are so
l5                common, and you said no. Do you know why the New
16                Mexico State Police trains patrol officers                             on the
L7                exisLence of fovereigrn cltizens?
18                     A. Definitely, because itrs for officer safety
19            purposes. because this specific group does not
20            identify local or state 1aw enforcement as havlng the
2L            authority to enforce laws on this specific group. iA
22            tot of times we've been trained that they $ee county.
23            sheri-ffs as the onl-y ones that can enforce laws',
24           lbecause 'their chief j-s an elected of f iciai".
)q                          0.             As far as you are aware, is the belief that
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               Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 77 of 259



             t.he New Mexico State Police is invalid or                 somehow

     2      lacks authority to conduct traffic stops      is that a
            political belief?
                   A. I don't know how I'd define that, honestly.
                   O. Were you trained that it's a political
             belief?
                   A.   It could be.
                  0. Mr. Mkhitarian asked you if at the time of
             the traffic stop you felt threatened. And
l_0          essentially, you said not enough to arresl him over
11           it;      is that correcl?
L2                     A. Yes, sir.
13                     O. Did you lat.er learn that Mr. Nissen
L4           threatened to kilt        you?

-LJ               A. r did.
1,6               0. And how did You later learn that?
LI                A. Erom the dispatcher that received a phone
1_B          call from him approximately a half-hour after the
l-9          traffic stop was conducted.
20                O. And did you ever receive any guidance on
21           what to do if you ever encountered Mr. Nissen again,
22           after having learned about that threat?
23                A. What do you mean by that., sir? Irm sorry.
24                 O. Did you ever get an all-officer  bulletin                         or
25           a briefing before another shift or some kind of
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Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 78 of 259



             guidance from the      leadership about Michael
                                             NMSP

             Nissen after he called in the threat to kill you?
                  A. That came about laler, yeah.
                        0.           What guidance did you get?
                        A.
                       I believe there was a photo of him placed
            in our office.    r believe arso for our administrative
            staff who worked during the day shift and ret people
            in and out of the building, f believe they were       I
            believe our administrat.ive staff was told to avoid
10          the individual and l-et law enforcement deal with him
11          based off of threats, prior threats that had been
L2          made.
13               0. And since you're law enforcement, did you
74         get any instructions on what to do if you were on
1r
-LJ        patrol and saw this truck again with its }ack of
t6          i-   nsurance        ?

1'7
                A. That he should definitely be in a
1B         heightened securi-ty phase, that this individual                        had
19         made threats towards 1aw enforcement.
20                                   MR. GLERIA: Objection, your Honor. May              we
21         approach?
22                                   fHE COURT: you may.
23                                    (The following proceedings were held at the
24         bench.        )


25                                   MR. GLERIA: So I donrt want to have to

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            Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 79 of 259



        move for a mistrial.  But now he's eliciting
        testimony about prior threats, something that there
        is no evidence about.
                  MR. MYSLIWIEC: That's not happening'
                                   don'L we do this? WhY
                               THE COURT: WhY
         don'L you kind of clean it up that there are no prior
         threat.s.
                               MR. MYSLIWIBC: Wel1, that would be false'
         First of all,             I don't know whose witness he is'
10                             MR. GLERIA: Lower your voice, please'
11                             THE COURT: Second of all, Mr' Mkhitarian

L2       opened this Iine of questioning.
l-3                             MR. GLERIA: Lower your voice, please'
L4                              MR. MYSLIWIEC: I need t'o be heard on the
i-J      record, Mr. Gleria. Mr. Mkhitarian asked on cross
L6       whether at the time of this traffic stop officer Burd
L7       felt threatened. so I'm asking about what officer
IB       Burd learned after this traffic stop was over. Irm
1-9       not talking about any threats before November 2nd.
20        I rm asking Officer Burd only about the instructions
a1
t.L       that he got after Mr. Nissen called in to Victoria
22        Gurule the specific threat to kill officer Burd,
23        which is the subject of Count 1.
Z+                  THB COURT: Wel1, f'm open to suggestions
 )q       to make sure the jury doesn't have any thoughts about
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Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 80 of 259



            any prior threats.  Is there a way that. we can
            eliminate that issue for the jury?
                              . MYSLf WIEC : f haven ' t brought t.he is sue
                                   MR

            up.        It hasn't been the subject of any questions or
            the subject of any answer.
                                   MR. GLERIA: He testified              about prior
            threats and then he dld it again. hud thaL's rrot, the,
          ;.subject matter of the trial.
                                   MR. MYSLfWIEC: Mr.            Glerla's recitation           of
10         the facts is inaccurate.
11                                 MR. GLERIA: Let me speak.
L2                                 THE COURT:   Hold on a second. Let me just
t-3        look at the transcript and see what we, ve got here.
14         The question is: "Did you later learn that
15         Mr. Nissen threatened to kill you?"
1,6                  And he said, ',f did. "
L7                                 "And how did you later learn that?"
t_B                  It would seem to me that the jury woul-d
l-9        just think it's the threat we've heard in opening
20         statements.
21                                 MR. GLERfA: See, I donft think sor Judge.
22                                 THE COURT: What    would you think?            It
23        didn't click with r1€r because f don't know of any
24        prior threats.
25                                 MR. GLERIA: The police officer             testified
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            Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 81 of 259



         about. prior threats.
                             MR. MYSLIWIEC: It didnrt haPPen.
                             MR. GLBRIA: The naked language is that
         they have a prior experience with Mr. Nissen. He's
         previously threatened them.
                   MR. MYSLIWIEC: That's cont.rary to the
         testimony.
                              MR. GLERIA: Hets looking it' up right now'
                              THE COURT:I don't see it.
10                            MR. GLERIA: It's just toward the end when
l1       I objected to
t2                                 Let me go down here' A11 it
                              THE COURT:

13       says       where does it. say it? I'm not sure the jury,
L4       given what they've heard         it didn't to rt€r because
1tr
-LJ      f don I t. know of any prior threats before this ' But
16       I'm open to anything to sort. of eliminate that '
!7       But
t8                            MR. MYSLIWfEC: Any attention Mr. Gleria
l9        wants to draw to prior threats, he can. But f
20        didn't
21,                               MR. GLERIA: Can you find it
                                                    Lhere, Judge?
22        Because the of f icer twice st,ated "prior threats. "
23                  THE COURT: WeII, it says right' there        it
24        says, "r believe our administrative staff was told to
)q        avoid the individual and let taw enforcement deal
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Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 82 of 259



            with him based off of threats, prior threats that had
           {beeh: made.              r'

                                     MR. GLERfA: I would just ask that those
            staternents be stricken, that testimony be stricken.
            that. the jury be instructed to disregard that and the
           previous statements, in that it's                               irrelevant     to     t.he
            CASE.

                                     MR. MYSLIWIEC: That.'s improper.                    First of
           all, the defense opened the door to
10                   THE COURT: Hold on. Tell me what you
l-1        would want me to sdy, Mr. Gleria, because I fear
L2         that
13                                   MR. GLBRIA: f fear repeating it                    is going
14         to make it worse.
15                                WelI, t.he reason I think it is,
                                     THB COURT:
16         because f rm not sure, just like I know this case as
L7         well or better than the jury, and it didn't ring any
18         bells with me. r just thought he was referencing the
IY         phone calls that had been made. That's when the
2A         bulletins and everything went out, is after he called
21-        in. Te1l me what you want me to do.
22                                   MR. GLERIA: Have Mr. Mysliwiec clean it
23        up.
24                                      he clean it up without
                                     THE COURT: How does
25        making it worse? I'm not sure Lhere is a problem

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                             Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 83 of 259



                           right now, but if you want it cleaned uP, we'Il work
                           on it.
                                     MR. MKHITARIAN: May I speak, Your Honor?
                                               THE COURT: YCAh.
                                               MR. MKHITARIAN: The leading question, no
                            prior threats were made prior to pulling him over,
W''w                                  MR. MYSLIWIEC: That's faIse, though' .'Itft'
\0^"
J\
,,,   ,/-                                         fa]se testirnony. I have not
,rf
    r,/     ,r
                           [ngt going to eltcit
                                               I'm happy not to ask about. it.
                            asked about it.                                    But.
      fu*                                                                                                 y'
                 10        &il.-s',,rc,pt.,:,$o l,ng; lto-', e
                                                     .           I i ei   t   f a 1 s e t es t imo    n
,)f
                 11                             Well, I don't know of any prior
                                                THE COURT:

                 t2        threats the jury doesn't know of.
                 13                  MR. GLBRIA: f've got a concern because
                 T4        it's      right there.
                 15                             THE COURT:        ''what you want t'o do'
                                                                          pell    me

                 16                             MR. MKHITARIAN: Not make more mention of
                 L1        i+-
                           }}ul

                 1B                             MR. GLERIA: Instruct                          the jury to disregard
                 19        .gt*ose    $

                 20                             MR. MKHITARIAN: We don't need to draw more
                 21"        attention to it.  Just leave it -
                 22                   MR. GLERIA: Yeah. WeII, if it haPPens
                 23         again, you can count on me to object.
                 24                   MR. MYSLIWIEC: So here's my objection'
                                                    MR. GLERIA: He lost

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           Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 84 of 259



                                                MR. MYSLIWIEC: Are we doing the
                      one*attorney-one-witness rule?
                                             I want to get this right.
                                                THB COURT:             f 'l-I
                      take what help I can get on this one. Probably we
                      need to do it.  But letrs get it right there. Is
                      there anything you can think of that you need? It
                      seems to me there is a 90 percent, 100 percent chance
                      that the jury doesn't have a clue what werre talking
                      about. Because f heard the words and nothing clicked
           10         for me and f know the case. But T'm open to
           11         suggestions. I ' 1l- prohably do
           L2                                   MR. GLERIA: Recess, move on.
           13                                   MR. I4KHITARIAN: Move on wj.th the warninE

t$r('tq             inot to taL'k ebout,prior threats'l"
                                 THE COURT: #.litry dontt you come. up, Of f ices.
{"-all,
 ,\{ )cn
           76                    (The wit.ness approached the bench. )
 ' ,/\     L1                    THE COURT: Sn your testimony do not
           1B        'mention any prior threats. Do not use the word
                      t'prior. " So don I t,

,D                                              MR. MYSLIWTEC: gnything that happened
     )?.
           21,       before your traffic                  stop on Novembey 2, pretend that,
           22        doesn't exist.
           23                               Mr. Mysliwiec is not going to
                                                THE COURT:
           24        ask you about any questions about ,prior threats,,
                     Mr. Mkhitari-an is not going to ask you any questions
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            Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 85 of 259



          hrbtit .':'prlor threat        s.

                                 THE WITNESS   :   "IYCS.

                                 MR. MYSLIWIEC: So you weren'L asked about
          anything that happened prior to November 2, and you
          didn't say anything about anything that happened
          prior to November 2. But in addition to continuing
          not to say anythingr about anything that. happened
          prior to November 2, also don't use the word 'lprior."
                    THE WITNESS: jso donrt use the r,*ord
l-0       tprdor'.'t             Yes, Your Honor.
11                                  don't you lead him through
                                 THE COURT: Why
L2        this so he can maybe answer some yes/no questions.
t3                  MR. MYSLIWfEC; I'm almost done.
14                  MR. GLERIA: And then when it's the
15        appropriate time f'd like to take a break. so I can
16        I don't know when that is    just to use the
L1        restroom.
1B                               MR. MYSLIWIEC: I have three witnesses.
19        We've been groing for an hour sj-nce we came back from
20        lunch. I have three witnesses I absolutely need to
2L        get through today. I don't know how much time this
22        took about a thing that never happened, but I do need
23        to move at least three.
24                   THE COURT: OkaY. Do You wanL to take                          a

25        break after this witness?
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 Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 86 of 259



           1                                MR. GLERIA: That would be great.
           2                                THE COURT: Okay.
                                            (The following proceedings were held in
                     open court.             )


                                            THE COURT:     All right,              Mr. Mysliwiec.
                     BY MR. MYSLIWTEC:
           7               0.  The last thing I would like you to do,
           I         Officer Burd, is, I'm qoing to play a phone call for
           9         you and r want to ask you if you are able to identify
 10                  the speaker i-n the phone ca1l. This is in evidence
 1_ 1-               as Exhibit 2, I'm not going to show you the
 LZ                  transcript,                 because f don't want you to see who I
 13                  think the speaker might have been. Terl me if                                  you
 14                 know.
 -LJ                                        (Audio ptayed. )
 L6                            0.           Do you know who that was?
 L1                            A.           That's Mr. Michael Nissen's voice, sir.
1B                             0.           Can you tel} the jury how you recognize
19                  that voice?
20                         A. f recognize that voice because f was on a
11
LL                  traffic stop with him for approximately i_0 minutes.
aa
z- z-                         During that traffic stopr a.s far as you
                               0.
23                  know, were you derelict of your duty?
24                      A. I was not, sir.
')   tr,
                        0. As far as you know, are you a neo-Nazi?
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           Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 87 of 259



                   A.              I am not, sir.
 2                 0.              As far as you are aware, are you a t'raitor?
                   A.              f am not a traitor, sir'
                                   MR. MYSLIWIEC: ThaL's all f have, Your
        Honor.
                                   THB COURT: Thank  You, Mr' MYsliwiec'
                                   AnYthing further, Mr. Mkhitarian?
                                   MR. MKHITARIAN: No, Your Honor'
                                   THE COURT: A11       right,            Mr' Burdr You    may

1_0      step       down.
1-1                 Is t.here any reason Mr' Burd cannoL                              be

L2       excused from the proceedings? Mr' Mysliwiec?
13                 MR. MYSLMIEC: No, Your Honor '
L4                  MR. MKHITARIAN: No, Your Honor'
15                 THECOURT:A1lright.You'reexcusedfrom
1-6      the proceedings. Thank you for your testimony'
L7                 THB WITNESS: Thank You, Your Honor'

1_B                 THECOURT:Allright''Let'sbeinrecess
LY        for about 15 minutes, and we'11 come in and continUe
20        t.he Government's case.
21                   (The jury left                    the courtroom'             )


22                  THECOURT:Atlright'Anythingtneneedto
23        discuss before we take our break, Mr. Mysliwiec?
24                  MR. MYSLIWIEC: No, thank You, Your Honor'
 2q                                     THE COURT:   Mr. Gleria?
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                Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 88 of 259



                                                   MR. GLERIA: No, Your Honor.
                                                   fHE COURT: A11 right.                     Werll be in recess
                            for about 15 minutes.
                                      ' (The Court stood in recess. )
                                       THE COURT: On t.he jury instruction                               on your
                            expert, j-s it going to be this FBI agrent?
                                                   rMR;,',B.ffisL*,ryLEc: The     only guy who could
                            conceivably be an expert for us is a T-Mobile guy.
                            He's just kind of explalning how phone calls work. f
                l-0         d,ontt know how expert it iE. But he personalty knows
               11           because of his interaction with the phone company and
               t2           how phone networks have evolved over the last decade
      4        13           or so.
 ft4*
 u" /* tr
              t*7u
                        ,
                            says
                                      THE COURT: WeII, the jury j-nstruction
                                     you didn't give a name of the person {xho.
 Y.,.r$   \

     rt' i'
                            iaxpre$sed opiniong, concerning modern telephone,
{'9?
   .o / *Wl
   *lrq;;
 $*:
                            '!ransmission technology. Is that the T-MobiIe
                            person      ?
  <),/ ,h,',,
bo   rtb                                           MR. MYSLIWIEC: Yes, sir.

e              20                                     what do you wanL,
                                                   THE COURT: So
               27           Mr. Gl-eria, Mr. Mkhitarian? Do you wanL the expert
               22           witness instruction given and put the name of the
               23           T-MobiIe person in, or do you want to just pull it
               24           and not talk about it?
               25                                  MR. GLBRIA: Just pu1l it.

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            Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 89 of 259



                                I don't use the word ,Iexpert,
                               THE COURT:
          so Irm not going to be put.ting that in, but...
                    MR. GLERIA: I'd just. raLher pull it and
         not talk about it.
                               THE COURT:     Are You okaY with that,
         Mr. Mysliwiec?
                               MR. MYSLIWIEC: Se's essentially                       a fact
         futnas**- r don't think we need the instruction.
                   THE COURT: A11 right'   Just PuIl it.
10                 Anything else before we bring the jury in?
11       Anyt.hing else I can do for                  You?
L2                             MR. MYSLIWIEC: No, sir.                     Werre a}l here,
1-3       werre atl seated. We're a}l readY.
L4                                 THE COURT: MT. GICTiA?
                               MR. GLERIA: Yes.
L6                                 (The jury enLered the courtroom.              )


                                    right. Mr' Mysliwiec' does
                                   THE COURT: A11
1-B       the Government have its next witness or evidence?
t9                  MR. MYSLIWIEC: The Unit.ed States would
20        call Victoria Gurule to the wit.ness stand.
21                  THE COURT: A11 right.    Ms. Gurule, if
22        you'll come up and stand next to the witness box on
23        my right, your l-eft, before you're seat.ed, frY
24        courtroom deputy, Ms. Wright, will swear you in.


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Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 90 of 259



                                                 VICTORIA GURULE,
                          after having been first duly sworn under oath,
                          was questioned, and testified as follows:
                                       THE CLERK: Go ahead and                be seated.
                                       THB COURT:   A1l right,               Ms. Gurule,
               Mr. Mysliwiec.
                                                DIRECT EXAMINATION
               BY MR. MYSLIWTEC:
                    0. Ms. Gurulef now that you're sworn in, could
10             you please introduce yourself to the jury by telling
l-   1-        them your fulI name, occupation, and current
1.>
LL             assignment?
13                        A.           My name is Victoria
                                             Gurule. I work for the
14             New Mexico State Police as a 911 dispatcher.
15                  0. How long have you been a 911 dispatcher?
16                  A. A little over 13 years.
L7                        0.           Has all that time been with the New Mexico
1B             State Po1ice?
L9                  A. No, sir. Only two years with the State
20             Police. Previously was with the Bernalillo County
2L             Sheriff I s Department.
22                       0.            And were you working on November 2, 2ALg,
23            last year?
24                       A.            Yes.
25                       0.            And what shift    were you workingi do you
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            Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 91 of 259



 1       remember           ?

 2                  A.          Swing shift.
 3                  0.          And what hours are swing shift?
 4                  A.          2z0A to 10:00.
 5                  0.          So you were working around 5:45 p'm- local
 6       time?
 7                  A.          Yes.
 I              0.   Did you supervise or participate in any
 9       traf f ic stops t.hat happened around that time?
1_0             A. Yes.
1_1             0.   Do you rememher if Officer Burd was
L2       conducting one of the traffic stops that you
13       participated in?
L4             A. Yes, sir.
15             O. And did you know from supervising Officer
1-6       Burd on that traffic stop that he had a traffic
L7        encounter with a person named Michael Nlssen?
t-8                  A.            Yes.
19            0.    Did you ever receive any phone calls from
20        Michael Nissen later t.hat day after the t.raf f ic stop
21,       was over?
22                   Yes. Not long after Officer Burd cleared
                     A.
23        his traffic stop, I got a phone call from him.
/L
                0. And how do you know that it's Michael
25        Nissen that called you when you say you got a phone
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Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 92 of 259



           call from              him?
  2                  A.           Because I was on the radio that took
           Officer Burdrs traffic               stopr so f knew who he was out
           with.
                     0.           And did you recognize Mr. Nissen's voice
           when you heard it?
                     A.           Yes.
                     0.           And we're going to play it in just   a

           moment, but just for now, would you describe to the
1_0        jury how that first phone call sounded t,o you?
1_1              A. He was extremely agitated, very upset that
L2         he was pulled over, just very aggressive. A lot of
13         yelling.
L4              O. Do you have a process as a dispatcher t.hat
15         you're supposed to follow when you get what you would
16         descrj-be as a compl-aint phone call-?
17                   A.           Yes.
1_8                  0.           What's that process?
19                   A.
                     If it's an initial complainl, we have a
20         standardized form that we fill out. that gioes straight.
21         up to the captain.
22              0. And did you receive a second phone call
23         from Mr. Nissen that same              day?
24              A. Yes, sir.
25                   0.           Would you describe t.hat second phone call

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            as a mere complaint Phone call?
                 A. It escalated. It wasn't just a normal
            complaint for me.
                 0.   In your view, based on your training and
            experience, what did that second phone call escalate
            to?
                      It escalated into him threaLening to hurt
                        A.
            any law enforcement officer that he came in contact
            wit.h.
   10              0. And what. is the difference     as you are
   11-       trained to take these calls and to do whatever you do
  1tz        next, what's the d.ifference between a complaint phone
             call and a threat Phone call?
                   A. fonut second phone call totd rne that    I
             mean, basically any law enforcement officer that

$r:          comes in contact with him is at risk.   C]ear disdain
             for law enforcemenL' He was clearly upset,
             threatening to hurt them. So that wasn't a typical
"ht
Fr:20
             phone call for
                        0.
                                            me.

                                       Do you treat threat phone calls the                same

   21        w&y, where you fill                  out a form and put it i-n the
   22        captain I s inbox?
   23                   A.             No, sir.
   24                    0.            What do you do when it's              a threat   phone
   ,q        calI?
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         Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 94 of 259



                                A.            You notify the on*duty sergeant.
                          O. And who was the on-duty sergeant that
                    night., if you remember?
                                A.            Sergeant Steven Carroll.
                              Are you experienced in working with
                                0.
                    Sergeant Carroll?
                                A.            Yes.
                                0.            Do you know          and only answer if you
                    know      what he does after you send him such                      a

         10         notification?
         11                     A.
                              No, that's
         L2              0.   If you don't know, just say you don't know.
         1_3        I'm never groing to ask you to quess.
         1,4             A. f don't know.
         1_5             0. Are you familiar with Sergeant Carroll's
         16         demeanor when he deals with members of the public?
         L7                     A.            Yes.
                      O. 'If I told you that f thought. that Sergeant
                 Carroll threatened me; would you be skeptical or
- -r"'         ) would you believe that he probably did?

v{
/AJ
                                A.        &*
                                               ',"t+ould
                                                           rbe skeptical      .

                                0.            'Why
                                would you be skeptical if a person told
)r,i
                ' that you Sergeant Carroll threatened thern?,
p*f                    A. I don't know him to operate that way. I've
                  worked on a shift with hlm for a while now, and j_t,s

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            Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 95 of 259



         just. not his demeanor from what I've experienced.
               0.   I'm going to play the first of the three
         phone calls for Your and if you look on your screen
         there is going to be a transcript also displayed.
         The transcript is a demonstrative, which means it's
         not an exhibit in evidence like the phone call is.
         The phone call is the evidence' But while the jury
         is here. I want you to be paying attention to both
         the t.ranscript and what you're hearing and if
IU       anything is wrong in the transcript, I'ilI going to ask
11       you later about your opinion on that.
L2                  A.             Okay.
1-3           0.                   We're going to play t,he phone call that'rs
L4       Exhibit             1-.

15                                 (Audio played.   )


L6             0.   So can You confirm for us that You
11        recognize the speaker on t.hat phone call to be
1B        Michael Nissen?
1-9             A. Yes.
20              0.    There is a part where the transcript says
2L        (Inaudible), where he says, "Learn what your
))        ( inaudible ) i s al l about . " Did you hear t.hat
23        Mr. Nissen said, ,'fl,earn what your oath is all about"?
z4                      A.         Yes.
25                      0.         Do dispatchers swear an oath when they take

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Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 96 of 259



           their job?
  2                     A.        No.

                 0.  The next thing I noticed in the Lranscript
           is that the transcript indicates that Mr. Nissen
           referred to you as a treasonous traderr ds in one who
           trades goods. Is that what you heard?
                        A.        Yes.
                  0.   Could he also have been saying "treasonous
           t.raitor, " as in one who betrays their count.ry?
10                A. Yes.
1_1             O. Is there anyt.hing else in the transcript
L2         that you heard differently than is currently list.ed?
13              A. No.
L4              O. Now, that was the phone call you described
15         as a complaint but not a threat; right?
L6              A. Yes.
L7                      0.        And so after that, you filled          out the form
1-B       that goes up to the captain; right?
TY             A. Yes.
2A             0.   Do you know 1f the captain read that form
21        before you got the second phone call we talked about?
22             A. I'm not sure.
23             0" I'm about to play the second phone call we
24        t.alked about, and we're going to put up the
25        transcrlpt for it as well. I'm going to ask you to
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            Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 97 of 259



         pay attention not only to the speaker, noL only to
         what's said, but if you see anything in the
         transcript that you think is not correct based on
         what you hear or remember, I'm going to ask you about
         that later. Okay?
              A. Yes.
             0.    So we'lI play Exhibit 2, is what. we're
         about to play now.
                                  (Audio played.   )


10            O. As far as you could tell, does that
l_1      transcript. look accurate?
L2            A. Um-hum.
t3            O. Now, on the first phone call you saj-d,
L4       "I'11 pass that complaint on to the officer."
15                  A.        Um-hum.

L6                  0.            Did you mean that?
1'7                 A.            Yes.
1-B            0. At the tlme t.hat you took that. first phone
l-9       caII, did you know that it was Officer Burd who had
20        pulled Mr. Nissen over?
a1
LL                  A.            Yes.
22            0. And that's because you were on duty
23        supervising Officer Burd during that stop.
24            A. Um*hum.
25            O. So you were being truthfut with Mr. Nissen
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Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 98 of 259



          on the first                 phone call.
                    A.           Yes.
               0.   fs that second phone call the one that                       you

          told us you considered a threat?
               A. Yes.
               0. And was there any specific language in
          there that you thought was political in nature?
               A. Not necessarily. I was more focused on the
          fact that he t.hreatened any law enforcement officer
10       he comes into contact with.
11              0. As far as you know/ none of the things you
t2       considered to be threatening had anything to do with
l3       politics or elections?
L4                  A.           No.
15                  0.           What did you do after you fielded this
L6        second phone call?
11                  A.
                   After I took that phone call, f notified
1a       the on-duty sergeant and let him know that it was an
t9       individual from Officer Burd's traf,fic stop, and told
20       him the nature of the phone calI, who it was. Gave
27       him the contact number just in case he wanted to do
22       anything with it at that point.
23            O. And then I rm going to play for you     did
24       you indeed get a third phone call that same night
25       from Mr. Nissen?
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             Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 99 of 259



                    A.
                    I believe so.
               O. Irm going to play for you what's been put
          into evidence atready as Government's Exhibit 3, and
          we're going to show a t.ranscript at the same time,
          just. like werve been doing.
                                   (Audio played.   )


                     0.        Did you hang up on Mr. Nissen therer or did
          he hang up on you?
               A. I don'L recall.                         I think he might have     hungl

10        up on me.
11              0. Okay. Do You have training on the
L2        difference between a complaint phone caII and a
13        threat phone callr or is it just your experience over
L4         time?
l_f,                 A.            ft's              I haven't
                                          my experi-ence over time.
L6         had any training directly correlated to that. itself,
L"7        but Irve experienced a lot of it in my career.
1B              0.    Do you have training on whether it's a good
t9         idea to iqrnore things that. you consider threateninq,
20         given your experience?
21,                   MR. GLERfA: Objection, leading.
22                   A             Yac


23                                 THE COURT: Don't lead.
24                                 MR. MYSLIWIEC: I | 11 rePhrase.
2q

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Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 100 of 259



            BY MR. MYSLIWTEC:
                       0.             What are you supposed to do if        you consider
            a phone call to be threatening rather than merely
            complaining?
                       A.             So if I deem something threatening in           my

           experience and in my training,   it doesn't hurt to
           not.ify the on*duty serqeant just to be aware of t,he
           situation.   ft's not going to do any harm just to
           not.ify him, just in case.
10                   Did you l-et Officer Burd directly
                      0.                                                      know that
11         you had gotten these phone calls?
L2                     I              Vac


13                    0.  did you teIl Officer Burd directly?
                                      Why
1,4                   A.
                      So I told him directly because of the area
15         that he pulled him over in, it's a little   farther out
1_6        from central-1zed Albuquerquer so his backup is a
L7         little    farther out than anyone else's. And I told
1B         him directly just in case he comes into contact wit^h
l9         him again, because, again, you never know. ftts
20         better to be safe than sorry.
2t                0.     f have an exhibit that f fm going to pull up
22         on the screen that is already in evi-dence as
23         Government's Exhibit 5. ft's some phone records.
24         I'm groing to ask you if you can identify whether you
25         recoginize any of the phone numbers on this record.

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                     Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 101 of 259



                   And tell           me if         you need to zoom in.
                              A.         So r recoginize t.he dispatch number to          New

                   Mexico State PoIice.
                              0.         Which one is that?
                              A.         $41.-9256.
                              0.         So dialed number I41-- 9256?



#
,-4^      10
                              A.         Yes.
                         0. so the first one, two, three, four, five,
                   ,six, seven, eight, niner ten, 11 , \2, 13 , L4 ' 15
                   fh" fj.rst many phone calls were to your number?
                              A.
 {'n      11                             Yes.
          L2              O. And if I told you that these times list.ed
h,,{'..   t3        on the left side were six hours in the fut.ure because
          L4        of a time zone change, meaning that the first caII
          l-5       Iist.ed was act.ually November 2 at 6:16 p.m. and 2"1
          16        seconds, is that about the time you reckon you got
          L7        that first. phone calI from Mr. Nissen?
          1B                  I believe so.
                               A.
          19             0. And does it comply with your recollection
          )n        that the next phone call from Mr. Nissen was about
          2\        four minutes later?
          22                   A.            Yes.
                         0. And does it comply with your recollection
          24        that the next phone call from Mr. Nissen is about'
          ,q        four minutes after that?
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Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 102 of 259



                      A.
                      Yes, sir.
                0.    f 'm not going to ask you anythingr you're
           not certain of, but as far as you can teIl, does this
           record show t.he three phone calls that you got from
           Mr. Nissen that we just listened to that are
           Government's Exhibits \, 2, and                              3?

                      A.          Yes, sir.
                 0.               And t.hen when I call that number, does it
           directly  connect me to emergiency dispatch, or do I
10         have to select emerqency for it to go to you?
11              A. It's an automated system. you have to
L2         sel-ect the number.
l-3                  0.           If I select not emergency, does that go to
14         you?
l_5                  A.           Yes.
L6                   0.           It still    qoes to you?
17                   A.           Yes.
1B                   O.           Do you know who Barbara Beuzekom is?
1-9                  A.           Yes.
20                   0.           What do f have to select to have my call go
27        to her?
22             A.                 I'm not sure.     f 'm noL sure of the
23        extension.
24                   0.           But not the same thing I select to qo to
25        you?

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              Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 103 of 259



                       A.               No, s:-r.
                        0.              Do you know if all phone calls to you are
            ,recorded?              '




                        A,              ffes:
                        0.          ',,Do      you know if all phone calls to Barbara


ffij         Beuzekom      are recorded?
                        A. f rm not sure.
                                        MR. MYSLIWIBC: That's all                    I have. I'lI
             pass the witness, Your Honor.



ffi                                     THE COURT: Thank Your                  Mr. Mysliwiec.
                                        Mr. GIeria, do you have cross-examination
             of Ms. GuruIe?
r#-,;                                   MR. GLERIA: Thank You, Your Honor.
                                        THE COURT:      Mr. Gleria'
    1E
    l_J                                             CROSS *EXAMINAT ION

    L6        BY MR. GLERTA:
    L7                  a.              Good afternoon, Ms. Gurule.
    18                  A.              Good afternoon, sir.
    t9                  Ms. Gurule, Mr. Nissen called you
                         0.                                  do you
    20        remember what t.ime the first call came in?
    27             A. f'm not sure of the exact time, sir.
    22             0.   You said you were on a swing shift'?
    )?                   A               Voq


    24                   0.              Is that nighttime?
    )\                   A.              Yes.

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Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 104 of 259



                 0. And you were not threatened by any of                         t.he
            three calls yourself, were you?
                 A. No.
                 0. Okay. And regarding the first call,                         you
            had a chance to hear that call again today?
                 A. Yes.
                 O. Does that refresh your memory about the
            content of the call?
                 A. yes.
10                    0.And Mr. Nissen called to tell your f guess,
l-1       ia'D-out f,,ederal .law tand a way to put it would be to say

L2         that he called to educate you or have you Educate
13         other police about the law?i.
14                    A.             Yes.   u




15              0.   Okay. And that.'s what he told you; right?
16         That that was the purpose of his ca1l?
L-7             A. Um*hum.
1B              0.    Okay. And he also complained quite a bit;
19         is that right?
20              A. yes.
27              0. ,And he was complaining about his.
22        constitutional rights being violated.. rsn't that
23        gihat he said?
24              A.    es.;
25                   0.              And he had some choice stat.ement.s to   make?

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          Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 105 of 259



                   A.          Yes.
             O. Some profanities.     It must not feel grood to
        hear that.
             A. No. sir.
             0. But yourve been doing this for 13 years'
        I'm sure it's not the first time that you've had
         profanity on a disPatch cal1.
                    A.         CorrecL.
              0. And" you state to Mr. Nissen, after he talks
10       about having his day in courtr vou state, "Good luck
11       with that"; isn't that right?
12                  A.         Um-hum.

13            0. And you sound calm; right? I mean, you're
1.4      seated in a dispatch office somewhere; right?
1q            A. Yes. sl-r.
1,6           0.   You're nowhere near Mr' Nissen; right?
L7                   A.         No.

l-8            0.AndMr.NissenandhisconLactwithofficer
19        Burd was over; right?
20             A. Right.
21             0.Andhedidn'thaveanyfurthercont,actwit,h
22        Officer Burd.
23              A. No, not. that I rm aware of '
24              0. And you knew that Mr. Nissen was Lraveling
25        westbound?
                                                                              MAIN OFFICE
      SANTA FE OFFICE                                                  Third N\I/, Suite 1630
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Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 106 of 259



                      A.          Correct.
                 0.   So he was already outside of the service
            area of Officer Burd by the t.ime he had called. Or
            you don't know where he was, do you?
                      A.          I donrt know.
                      0.          Last we knew, he was t.raveling westbound.
                      A.          Correct.
                  0.           But Officer Burd's a Torrance County
            sheriff,'         is that right?
10                    A.          Correct.
11               0.               And we're not in Torrance County at that
L2         point.
13                    A.          Correct.
74                    O.          You testified
                                     Lhat he also stated that in
1tr
.IJ        the second calr, r believe it was, or maybe the third
L6         callr or maybe the second call      I fm getLing
L7         confused     that he states that ,t*All f f ve been doing
1B         is practicing my First Amendment with you guys. " .you
19        'rheard that; rightp

20                   A.           Correct".
21             0. Okay, And is it your protocol to contact
22        the sheriff every time you have someone making
23        aggressive statements?
24                   A.           No, itfs not protocol.
25                   0.           Itrs noL protocol?
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          Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 107 of 259



                   A.              Hum-um.

              0. AII right.    So is it your protocol to
        contact the sheriff, like      well, whaL you said was
        that,   what you said was, rrlt doesn't hurt to notify
        the sergeant. "
             A. Correct.
              0. Okay. So that's what. you did, if you deem
         it to be threatening, which you already testified
         that you did
10                  A.             Yes.
11            0.                          that it doesn't hurt to notify the
L2       sheriff                        or the sergeant?
13             A.                   Correct.
L4                  0.              Is that why you notified the sergeant?
15                  A.              Yes.
t6            0. And then you testified that you called
LI       Officer Burd, too; right?
1-8            A. Yes.
IY             0. Okay. But isn't it correct that Mr' Nissen
20       spoke in figurative language? And if you don't
21        understand what. I'm sayingr sdY so'
22                                  MR. MYSLfWIEC: Objection, ca1ls for an
23        opinion from a fact witness.
Z4                  MR. GLBRIA: Oh.
)q                   THE COURT: WeIl, I'11 let her give her

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Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 108 of 259



            interprelation              of what occurred.
            BY MR. GLER]A:
                 0. lSo a pig is not a humanlbe'tng; ri-ght?,
                 A. Because of the context of what he was
            saying, that's hovr I interpreted it..
                 a. :I*etl, context 1s very important in this
           particular casb. But when he refers to pigs on the
            ioad, I mean, lsnrt that the definition of ffiiguratffi:
            speech?
                         A.       Yes, sir.
                 0. ht ay. dna clearly exagqerat.ed because                              8,,
           fiuman being can't be a piq; right?.
                 A. Right.
1,4              O. And, therefore, not literal;  right? He's
15         not riterar in his statements that he made to you?
L6                    MR. MYSLIWIEC: Objection. It's a compound
L1         question because it refers to multiple st.atement.s in
1B         one quest j-on.
19                                THE COURT: WeI1, why             don't you take    them
2A         one at a time.
21        BY MR. GLERTA:
22              0. Okay" So if hers referring to unnamed
t3        individu&ls as pigsg Lhen that is figurative, is it
         ,not        I
24               ?

25                       A.       Yeah. Yes, sir.
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              Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 109 of 259



                       0.           And iL's therefore exaqgerated, is it not?
                       A.           Again, because of the context of the
            conversation.
                  0,  flnd I understand. I understand what you're
             saying. I mean, it can't be pleasant and I
            understand that. .Sut it's clearly not lit'eral'
                      MR. MYSLIWIEC: Objection. Is that a
             question           ?


f                                   MR. GLERIA: 'ilt ls a questj-on.
                                     THE COURT:     It's    proper.             Overruled'"
             BY MR. GLERIA:
                  0. S,t's clearly not titeral-'  And this
             occurred on the telePhone; right?
                  A. Correct.
    L5            0.   So Officer Burd is nowhere around'
    16                  A.           Correct.
    \'7            O.                I meanr we don't know where Officer Burd
    1B        is; isn't              that right?
    L9             A.                Correct.
    20                  0.           And we don't really know where Mr' Nissen
    2L        is.
    22                  A.           Correct.
    23            O. So there i-s a big separation of space' I
    24        mean, isntt that correct?
                         A.              Correct.
                                                                                                         MAIN OFFICL
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       Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 110 of 259



                            0. Okay. And when Mr. Nissen        would you
                       describe his complaints or his stat.ements as a rant?
                            A. Somewhat.
                                 0.          fue was    ranting$ r*alin't              he?:
                                 A.          Somewhaf.
                                 a.          AlI right.      What he said was, in the second
                      call    ror ffm sorry. Take that back. And what he
                      said was, "The next time I gel stopped, f'm going to
             9        do this and that to your stupid pigs." Isn't that
       -!_   0        r ight.    ?




'uJ#                       A. Correct.,
                           O. $Ofay. But there was never ja next. time.

,ffi;,
/"tr    13            Isnrt that true?
                                A.           Correct.
                           0.   So it was conditioned on being st.opped.                                  He

 "jd   76             was never stopped a second time.
       \1                  A. Correct.
       1B                  0.    Correct? And you contacted the sergeant in
       19             this particurar case because you wanted to notify him
       20             of these statements; isn't. that right?
       21                       A.           Correct.
       22                       0.           And were you instructed to contact Officer
       23            Burd?
       24                       A.           No.

                                0.           And you stated that you called Officer                  Burd

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          Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 111 of 259



        because, quote, You never know.
            A. Correct.
             0.   That's the reason; right?                              You never know,
         Iiker ds a precaution?
              A. Correct.
              0. Okay. But not because you believed
         anything was going to haPPen'
                   A.        As a Precaution, Yes.
                   0.        As a Precaution. You did this as                   a

10       precaution?
11                 A.         Yes.
L2                 O.        Fot because of imminent threat; right?
1-3                A.         Somewhat.
14                  O.        Somewhat?

15                  A.        Yes.
16            0. Okay. So here we are on t'he telephone,
L-7      separated by distance; right? we don't know what the
1B       distance exactly is. Mr. Nissen tells you that.,
l-9      "Next time, Lf it happens aqain, this is what Irm
20       going to do to Pigs"; right?
27                  A.         Right.
22                  0.        iYou already said it' s f igurative and not

         $iteral; right?
                                    Objection. It was
                                  MR. MYSLIWIEC:
          describing offlcer Burd as a pig that she says !(as
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Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 112 of 259



             figurative.
                                    THE COURT:   Well, I think she can     answer
             the question. Overruled.
             BY MR. GLERTA:
                  O. 'Isn't it true that one of the main things
           'Mr. Nissen had to say was that his rights were being
            violated, and that's the reason he called?
                 A. Correct,
                 0. Okay;. ,And his statements were polltical,
10         .because hers talking about the constitution and his
11          rights ?
L2                A.                Correct.
.LJ              0. And those are the statements he made to
L4          you; right?
15                     A.           Correct.
16               0, Okay. And he never said, trf'm going to
L1          hurt you, Ms. Gurule,. f rm going to harm you,,?
1B               A. No.
19                     0.           0kay. All right.
20                   MR. GLERTA: rf r could just have a moment,
2L         Your Honor.
22                                  TIIE COURT: you may.
23                   MR. GLERIA: Just a couple more questions,
24         Your Honor.
25

      SANTAEEOF'FICE
      119 East Mar-cy', Suite 110                                                     MAIN OFFICE
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                                                                           201   Thnd NlV, Suite 1680
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                                                                                       (505) 8,1&9d94
      FA*X (505) 820-6349
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           Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 113 of 259




1       BY MR. GLERIA:
2                   0.         So when he said, '1I'm going to have my day
 3      $ncourL,,'andyousaid,''Goodluckwiththat,''you
 4      ldidn't seem alarmed.
 5             A. No.
 6             0. And is that how you're trained to
 7       responded? "Good luck with that"?
 I             A. My safety wasn'L in question at that point'
 9                   Okay. But rio r I rm talking about the
                     0.
10        stat.emenL he said, rrlrm going to have my day in
11        court, " and you said, "Good }uck with t'hat' "
12              A. Yeah, that was mY way of ending the
13        conversation.
1.4                             MR. GLERIA: A1l right'                   Thank You'
1E
l-J                             THE COURT:    All right'                Thank You'
L6        Mr. Gleria.
11
LI                               MR. GLBRIA: You're welcome '
1B                               THE COURT:   Mr. Mysliwiec, do You                  have

l-9        redirect of Ms. Gurule?
,n                               MR. MYSL]WIEC: BTiCf.
2t                               THE COURT:   Mr. MYsliwiec"
22                                      REDIRECT EXAMINATION

           BY MR. MYSLIWTEC:
 24            0. Ms. Gurule, just t'o be clear' do you                                  know

 1tr
 LJ        if Officer Burd. works for the Torrance County
                                                                                                  MAIN OFFICE
       SANTATEOFFICE                                                                   201 Thn'd  NW, Suite 163d
       1 19 East Marcy, Stdte I 10
                                                                                         Albuqrrerque, NM 87102
       Santa Fe, NM 87501                                                                         (505) 84&9-lgJ
       (505) 989-1949
       FA-X (505) 820-6319                      SSOCIATES,,*                                 F,LX (505) 843-9{92
                                                                                                   1a0M6$9492
                                                   tfforrsgloMr.ct{lRT                 e-mail: irfo@litsupporLcom
                                                   ROtOftftNO$ERVlCt:
       Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 114 of 259



                   sheriff's                office or the New Mexico state porice?
                              A.            He works for the New Mexico State poli_ce.
                            Okay. But he works in Torrance County for
                               0.
                   the New Mexico State police.
                              A.            Yes.
                              0.            So he has inLeraction with the Torrance
                   County sheriff ,s deputies?
                              A.            Yes.
                                            MR. MYSLIWIEC: Al_ex, can I ask you to pul1
       10         up 2-A.
       11               O. Do you know Officer Burd?
                        A. Somewhat.
                        CI. Bid you like Mr. Nissen referrinE to him                            as
                  b, pisf
                             A.            ,1Ns.

                      0. when you say that you considered the second
                 phone call to be threatening rather than merely a
                 complaint, was it the "pig" commenL that was
                 threatening                 ?

                       A. ft was the fact that he's saying he's going
-      )1
                 S.o put a bullet in the pig' s head. That ' s an
,\p\
       22        imminent threat, Lo me.
                       0. But it wasn't      it wouldn't have been okay
                 to you 1f t.he caller had said, r'Irm going to put a
                 bullet in Officer Burdts head,'?
            SANTAT'EOFFICE
            I 19 East Mar"ry, Suite I 10
                                                                                              MAIN    OT"T'ICE
                                                                                  201   Thild N\V, Suite 1680
            Sauta Fe, NM 87501
                                                                                    ,{,lbuquerque, NM 87 102
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                   Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 115 of 259



                            That wouldn't have been okaY.
                            A.

                      0.    Because the pig comment isn't the part that
                 mattered to You, was it?
                       A. That's not, the part that mattered'
                       O. And when we go later in the phone call' and
                 WesdY,lllrmgoingtoputthatmotherfuckerdrop
                 dead, " you did not consider that. a threat because of
                  the word "motherfucker, " did                    You?

                            A.           No.

                            0.           What did you consid"er a threat about that

hd       L2
                  paragraph, if anYthing?
                        A. The 'Mtop dead" comment. Againr Lelling                           me


         13       he rs going to hurt a law enforcement officer.
         T4                               &iO fre say he was going to pull :out a wat'er
         15       balloonandputthatmotherfuckerdropdead?
17
     r   16                              .Yes i

         L7                  0.           Do you know what     a revolver is?
         l-B                 A.           Vac


         L9                  0.           What's a revolver?
         20                  A firearm.
                             A.

W        21"

         22

         23
                        O. As far as you t re aware, a revolver is equal
                   to waLer balloons in dangerousnes s or more dangerous
                   than water balloons?
         24                   A           More dangerous.
                              0               Can you confirm for us that even though you
                                                                                             MAIN OFFICE
               SANTA FE OFFICE                                                     201 Thtud NW, Suite 1630
               119 East Marcy, Suite I   l0
                                                                                     Albuquerque, NM 87102
               Santa Fe, NM 87501                                                              (50.5)   84&949{
               (505) 989-{919
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 Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 116 of 259



               might not. like a person you know being calred a
               motherfucker, can you confirm for us that you did not
               believe this to be a threatening phone carl because
      :
      A
               of that r^iord?
      5                  A.
                         Thatrs correct.
      6             0. Would you have treated this phone call
              exactly the same if none of the ',pigs" and none of
      B       the curse words were in it?
      9             A. That's correct.
 10                 0. She pig language was figurative.    We've met
 11           officer Burd- He is a hurnan. But did you take the
 72           two threats in this phone call to be real threats?
 13                     A.             yes.
 14                                    MR. MySLIWfEC: That's alt I have.
 15                                    f HE COURT :   Thank you r Mr .            Mys   I iw j-ec   .
16                                     Anything further, Mr. Gleria?
L7                                     MR. GLBRIA: No, your Honor.
18                                     THE COURT: A11      right.              Ms. Gurule, you             may
19            step     down.
20                     rs there any reason that Ms. Gurure cannot
21"          be excused from the proceedings, Mr. Mysliwiec?
aa
ZL                                     MR. MYSLfWIBC: No, sir.
                                       THE COURT: Mr. Gleria?
zLl                                    MR. GLERIA: No, your Honor.
                                       THE COURT: A11     right.               Ms. Guruler you are
          SANTA T'E OFFICE
      I 19 East Mar.cy, Suite   l l0                                                                        MAINOFNCE
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         Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 117 of 259



       excused from the proceedings. Thank you for your
       testimonY.
                 Allright.DoestheGovernmenthaveits
       next witness or evidence, Mr' UbafLez?
                 MR. UBALLEZ: Yes, the United States calls
        Kenneth Lecesne.
                              All right'
                            THE COURT:     If you'II come up
        and stand next to the wit'ness box on my rightf your
        Ieft, before you're seated, my courtroom deputy'
10      Ms. Wright, will              swear You in'
11                                    KENNETH   P.   LECESNEI

L2                 afterhavingbeenfirstdulySwornunderoath,
1-3                was questioned, and testified as follows:
14                           THE CLERK: You maY be seated'
15                           THE COURT: Would You state Your name?

t6                           THE WITNESS: MY name is Kenneth P'

L7       Lecesne.
1B                            THE COURT:    All right'                  Mr' Lecesne'
l-9      Mr. Uballez.
20                            MR. UBALLEZ: Thank You' Your Honor'
2L                                      DIRECT EXAMINATlON

22       BY MR. UBALLEZ:
 23                 0.        Good mornrng.
 24                 A.        Good   mornirg, sir'
                    0.        Mr. Lecesne, where do You work?
                                                                                                  tvLA'IN OFFICE
      SANTA FE.OFFICE                                                                  20l Third NW, Suite 1630
      119 East Marcy, Suite 110                                                         .A.lbrtqrretqtte, NM 87 I 02
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      FAX t505) 820-6349                      SSOCIATE$,n..                                      la0M69-9492
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                                                 Rr}ronflIricSf,R\ICE
Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 118 of 259



                        A.
                       I work for T*Mobile, a cellular                          telephone
             company, in Richardson, Texas.
                        0.            What do you do for T*Mobile?
                        A.            My official   title       is records
             cus t.odian/testi f ie r .
                    0. what are the responsibirities                          of a records
             cus todi an ?

                 A. When I I m assigned to a specif ic t.riaI, I
            usually travel.   r attend court and r authenticate,
10          explain, and certify the T-Mobite phone records
1l-         involved in a specific tria1.
L2               0.   How long have you held this role?
13               A. Since August of 2ltl.
1,4             0.   fs iL all for T-Mobite?
15              A. Back in 2aLL, T actually started doing this
16         for Metro PCS. rn 2at2t 2aL3t T-Mobire acqui_red
L1         Metro PCS, so r moved over to T-Mobile as a records
18          custodian also.
19                     0.             Your rerevant job experience before August
20         of     2AL1?
2L                A. we}l, r actually ret.ired twice before then.
22         r retired from the Dallas police DepartmenL after 28
23         years of service. I worked patrol, narcotics, and
24         ran the task force for the DEA. r left there and r
25         ret.ired from DpD in 2005, and I went to an IT
      SANTA FE OT' 'ICE
      119 East Marcy', Suite I   l0                                                          MAIN OT'FICE
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                                                        R5rcfttll,$GsDeuc[        e-mail: info@litsupport corn
         Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 119 of 259




       company, Perot Systems Corporation, and f was t'he
       physical security director there for five years, and
       then I went to Metro PCS in 20L7 '
            a.   In that experience prior to zAlL' did you
       have experience working with cellular phones and
        their manners of routing?
             A. Yes. When I was assigned to the Drug
        Enforcement Administration, I ran a task force'               and

        thatteamthat.Iledrwedidwiretapsoncellular
1n      telephonesinvolvingdrug_traffickingfromMexico
11      into the United States and following the money back
L2      to Mexico.
13             O. So you're f amiliar, then' wit'h the manner
14       in which cellphones, I guess you could saY'
15       historicall-y have routed their calls from one device
L6       to another?
L7            A. Thatts correct.
1B            0. And you had described a changeover from
1-9      Metro PCS to T-MobiIe in around 2a13. Were there                   any

20       adaptationsintechnologyinthewaycellphoneswere
21"      routed between units, 20L\ to current?
22             A. Yes. Wetl, Metro PCS was on a different
23       network, the CDMA net.work, which was a totally
24       different network than the current network it's on
25        now,whichisaGsMnetwork.That'salittlebit
                                                                               MAIN OFFICE
      SANTAFEOFFICE                                                201 Thn'd   N\Y, Suite 1630
      119 East Malcy, Suite 110                                      Albuqrterqtre, NM 87 102
      Santa Fe, NM 87501                                                        (505) 8{3-9-t9t
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Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 120 of 259



             t.echnical, and Irm not an engineer or anything, but
             it was two different types of networks.
                  0.    Can you describe the network thatrs
            currently in place at T-Mobile?
                 A. T*Mobile uses the GSM network. That is the
            most prevalent network used in the cellular telephone
            business now. It's just a different type of way.
            There is a switching stati-on involved. The switching
            stations for T-Mobire are all over the united states,
 10         but the switching station has no bearing on where a
 11         particurar phone was. The switching station is the
 12         computer that creates the call detail records with
 13        the celI site information to show where a particurar
74         phone was during a specific call being made or
15          recej-ved by the T-Mobile cuslomer.
L6               0.   If you could describe for the jury, then,
L1         t,he process that happens currently when a T-MobiIe
1B         subscriber uses his or her cellphone to carl anot.her
t-9        cellphone.
)n                     A.
                      trs qoing t.o be very basic, because f rm
                                     f
27         not an engineer. When you use your cellphone to
22         either make a call or receive a ca1l, you hit the
23         "send"" button. h signa!-, a radio wave, will go from
24         your phone and usuarly ryoes to the nearest towgp from
1q
LJ         where the phone is rocated during the duration of tFre

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          Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 121 of 259



        cal1.
                    fn this day and d9€, in TOLB, 20L1 , most
        ,ca}ls are what, are called Wi-ri call.s, and it's done
        auLomatically using an LTE cell site. You hear
         things like 3G, 4G. Now you're hearing about 5G '
         smartphones now. when you use your cellphone, it will
         automatically eit.her d.irect your calt to an LTE site
         or a conventional tower. Most cellphone companies,
         especially T-Mobile now and the other two larger
L0       companies, use LTE sites. They're more prevalent now
11       than the conventional towers.
L2            0.   So explain the role of the switch in
13       relationshiP to the towers.
L4              A.Theswitchingstationisthecomputerthat
15       facilitates the hotd process of the calt. The call
16       detail records fox T-Mobile subscribers, T-Mobile
L7       customers that use our network, and oLher companies
1B       t.hat use our network, that information is stored on
1-9       the switching station that handled the incident., the
20        phone calls that are made or received by the T-Mobile
2L        customersi or a partner, like Ultra or Boost, who
22        also use our Particular network.
                    WhenalegraldemandComesintoT_Mobilein
24        the form of a search warrant, a court orderr oI a
ZJ        subpoena from a government entity, from the police,
                                                                             MAIN OFT'ICE
      SANTA T'E OT"T'ICE
                                l0                                 201 Third NW, Suite 1630
      119 East Marcy, Suite I
      Santa Fe, NM 87501                                            ^{Ibuqrrerqtre, NM 87 102
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                                          Rf}roefil$$tR\ICli
Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 122 of 259



            DArs office,  FBI, Homeland Security, DEA, that legal
            demand is processed by a person that works in the law
            enforcement relations section of the subpoena
            compl-iance unit for T-Mobile. we have three of f ices.
            One is in New ,"Tersey, one 1s in pennsylvania, and one
            is in Richardson, and t.hat's the office that f work
            i-
            ! I1 .



                             get legaI demands from insurance
                                   We al-so
           companies. we get Iega1 demands from nongovernmental
10         entities, and we process those lega1 demands a1so.
11         And that information is sent back to the requester,
L2         specifically responding to the legal demand, what is
13         requested, and the date ranqe that is requested if
14         the information is sti1l available.
15              0. Without the switch playing its role, does
16         the call go from one phone to another?
L1              A. The switch is a very important part of the
1B         actuar whore function. The switch is the computer
19         that creates the call detail records, but it's also
)n         where the information is actually stored. ft's a
21-        computer. We have them all over the country.
22         T-Mobile i-s nationwide, and we have switches arl over
23         the country, in almost all 50 stat.es. Not a1l                  50
24         states have a switch in their particular area.
)q                   0.            Are you aware of any switch that exists in
      SANTA FE OFFICE                                                                MAIN OFFIC},
      I 19 East Malcy, Suite 110                                        201   Thild N\\/,   Srrite 1630
      Santa Fe, NM 87501                                                  Albuquerque, NM 87102
      (505) 989-{9{9                                                               (505) 84&9+94
      FAX (50$ 820-6349                         SSOCIATE$,*                    rAx   {50$ 8{&9.{92
                                                  ,norIsgroxll ctuRT                 la00$6$9492
                                                   RE}tlnfll8StRvlCf,   e-mail: info@lisupport"com
         Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 123 of 259



       New Mexico?
                  A.        No, sir, I tm not.
                  0.        Are you aware of any switches that exist in
        Texas     ?

                  A.        There's multiple switches in Texasr      Y€sr

        sir.
             0.    In preparation for todayr You reviewed an
        item which I showed you that appeared to be certain
        records from T-Mobile. Do you remember looking at
10      t hose     ?

11                Yes, sir.
                  A.
t2           0.   IIm going to show you    does this appear
13      to be the first page of that. document that I showed
L4      you?
15                 A.        Yes, sir.
16                           MR. UBALLEZ: And Your Honor, for the
L1      record, this is whaL's been already moved in                 and

1B      admit.ted as Exhibit 5 for the record.
19           0. And can you tetl me what. this first                  page

20       is?
21                 This is a certification document that
                   A.                                                      was

22       actually created by t.he specialist who actually
         processed the lega1 demand that came into the
24       company.
                   0.            And have you prepared sirnilar documents

     SANTAT'EOFFICE                                                               MAIN OFFICL
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     (505) 989-.{9d9
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Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 124 of 259



                yoursel f?
                          A.
                           Yes, sir.
                     0. And are you aware with the }anguage that's
                on these documents under the statement "r further
                state that" ?
                     A. yes.
                         You're f amiliar with that languaqre?
                          A.
                          A.
                         Yes, that.'s the standard form that we send
               back when a certification  is actually requested.
 10                 0. And is t.hat true and correcL wlth relation
 11            to the records that you have previously reviewed that
L2             we're representing as Exhibit 5?
13                  A. That's correct.
14                       frm going to show you page 2. And just so
                          O.
15             we know, who is peggy Shelley?
t6                  A. peggy Shelley is a specialist, a subpoena
17             compliance specialist for T*Mobite. she works in the
1B             Richardson office-   r know her personalry. rrve
19             worked with her before.    And she processed the legar
20             demand and she  created the act.uar sheet, the previous
27             sheet. that you just saw.
22                   0.  With regard to these records, you,ve also
23             verified that these are the true and correct records?
24                  A'   That f s correct. whenever    assigned to a
                                                    'm
25             specific case, r'm usually sent the T-Mobile phone
      SANTAFEOFFICE
      I 19 East Marcy', Suite 110                                            MAIN OTTICE
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      r'.dx (50$ 820-6349                                                    (505) 84&9d94
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                                          aolTs$o:r^LcollRT                180M6$94I)2
                                           RIFORlll\OStRl'tCt:   e+uail info@litsuppoft .com
         Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 125 of 259



       number that was actually involved in the case '              And

       what I wiII do is, I will go int'o our system and I
       wit}pulltherecordstomakeSurethattherecords
       that I received. are the same records that we sent                '

             a.    These records I'm showing you   let's
       start r^rith talking about the columns and what they
       mean. There is obviously a dat'e and a time column '
       Can you describe those for us?
             A. Yesf the date is the date of a specific
10     phone call or text messdger in this instance' I
tt     believe on t.hese records it's phone ca1Is, eit'her
L2      incoming phone calls or out'going phone calls'
13           0.   ls that in Mountain Standard time?
t4           A. The time zone, iL depends on the actual
1-5     it's in Mountain. It, could be in Mountain Standard
16      or Mountain DaYlight. Saving time '
11            0.  rn your review of these specific records'
1B      they're in universal time; is that correcL?
19            A. Universal coordinated time' It's not a
20       t'imezone.Soyou'dhavet"odoaconversiontoget
 21      MountainStand.ardTimeorMountainDaylight'Time.
 22            0.  Is this standard in these types of records'
 23      to be in the UTC?
 24           A. Yes. AII of our records from the specific
 25      time zone. I know in 2018 , ZOL'I , and Parts of 20L6'
                                                                               MAIN OITICE
      SANTA FE OFFICE                                              201 ThiId N\Y, Suite 1630
      119 EastMarcy, Suite   ll0                                     Albttqrrerqrte, NM 87 102
      Santa Fe, NM 87501                                                          (505) 8-t3-9r9-1
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Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 126 of 259



            they're all in UTC. And everything going forward
            will be UTC.
                       0.          What is the diff,erence in time between               UTC

            and Mount.ain Standard?
                A. I have a sheet right here that I made up
            myself in MounLain Standard Time. you'd have t.o
            subtract seven hours from the time stamp on the
            records themsel_ves to gel New Mexico time.
                       O.          That's during standard
10                     A.          During Mountai_n Standard Time; that         's
1l-        correct.
L2              0. And is it different                        during Daylight
13         Slandard Time?
14                     A.          You have t.o subtract six hours.
15              0.    So then if you could do some quick math for
16         usr that first one there at t.he Lop, can you see it?
17         Can you read it okay?
1B                     A.
                    Yes, LL/3 of 20L8.
19              0. And the time listed is 00t627. Was that,
20        in fact. the    if you convert it to Mount.ain
21        Daylight Time, what wou1d" that. be?
22              A. We1l, lt/3 of 20L9. Daylight Saving Time
23        started on March t"L, 2ALB, dt 2:OA a.m. So that's
24        going to be, in Mountain Standard Time, l-L:30. So
25        you'd have to subtract seven hours f rom that                     ti-me

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          Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 127 of 259



         stamp on that record.
                    O.                 When    did the DaylighL Saving Time end,
         agaln?
                   Daylight Saving Time started at 2:00 a'm'
                    A.
         on March 11, 2018. I }ooked it uP, Y€sr sir'
              0. And when did it end?
              A. It end.ed on November 4 of 2018 ' Irm sorry,
         yesr it ended on November 4 of 2018. So il's still
         Daytight Saving Time on that particular date, Y€s'
10            0.   It's still Daylight Saving Time and you
11       subtract six?
L2            A. Six.    Yes, f'm sorry.
1-3           0. And aft.er the Ath of November, would it be
14       as you statedr YOU subtract seven?
15            A. Sevenr Yes.
16            0. Let's talk about t,he next column' It says
L1       "duration." What measure of time is that in?
1B            A. That's seconds. That's how long the call
l-9       lasted, whether it's an incoming or outgoing call.
20             0. CaIt tYPe? What is that?
21"            A. The call type, MOC st.ands for mobile
22        outgoing caIlr afl outgoing call from t.he T-Mobile
23        number to another Phone number.
24                   0.                    The direction?
25                   A.                    The direction ls outgoing.            It was an

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Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 128 of 259



                outgoing call.
                          0.             And then letfs
                                        skip over to    can we
               assume the dialed number, the called number,
               deslination number, are the number which we would
               collectively understand to be the one that. the phone
               was placing a call to?
                          A.
                         That's correct. The calling number would
               be the T-Mobile number that was requested to be
               searched. The dialed number would be the number that
 10            was dialed by the caller.                      The destination number
 l-1           would be the number that was reached by the caller.
 L2                 0. What is an IMSI and IMEI?
13                        A.             The IMSI is the International           Mobile
14             Subscriber Information. That's how we bitl                            the
15             customer for using our network.
1,6                      0,              And the rMEI?
L1                       A.              The IMEI is the serial number of the
1B             cellphone itself  that was used by the customer.
l-9                 0. And f want to direct your attention here to
20             the middle col-umn. ft's entitled "switch name." Do
2L             you see that there?
a   /.\
z- z,               A. Thatrs correct.
23                  0.  Is that the switches that you were
24            referrinE to earlier through which calls must                               be
25            routed and information is qathered?
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            Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 129 of 259



                      A.                That's where the
                                 That's correct.
           information is also stored, and when a legral demand
           comes into the company, itrs a computer; the
           inf ormation that's requested and the dat.e ranqe is
           act,ually pul-Ied from that and sent back to the
           requester.
                0.   These swit.ches here   or I should say
           singular switch, because they appear to be all the
           same; is that correct?
1_0             A. They're all the same on this document, Yesr
1_ 1-       sir.
L2               0.              And it.'s identified       as      TTTAS   005; is that
1-3         correct ?
L4               A.   That's correct.
t-5              0. Where is that switch?
16               A, That switch is in Plano, Texas.
L1               a. Moving down, there is a column entitled
IB          two columns entitled, first tower Iat, first tower
19          Iong. What do t,hose refer to?
20               A. That would be t,he exact location of the
2L          in this instance it's an LTE site, because it was a
22          Wi-fi cal} that was made. With Smartphones. it
23          automatically wilt either send you to a conventional
24          tower or an LTE site. LTE site stands for long*term
            evolution. You hear these things about 2G, 3G' 4G,
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Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 130 of 259



                     and now they're talking about 5G. with smartphones,
                     automaticalry    you don't have to do anything to
                     make a wi-ri            carr.   And a w1-Fi carl was handled by
                     an LTE site, Iong-term evolution site.
        q
                          0.    Then following that directly is a first
        6            tower address, first tower city, f irst t.ower state.
      "t             Do you see those?
      I                   A. Thatrs correct.
      9                    0.   Describe what those are.
 10                        A. aIf ;au,r,.individuak, an investigator, was
 11                  trying to map where the phone was in relation to the
 a-
 LZ                  tower that handred the caIr, they would actuarly use
 13                  that information. The first tower latitude, which is
 74                  a positive decimal number, and the first tower
 15                  longitude, which 1s a negative decimar number, you
 L6                  would put that into whatever software you're usinq,
t7                   GoogIeM&pS, to actually create a map onto where the
1B                   cell phone was in relation to the tower that handred
19                   the call-.
20                             0.         So this would be the tower to r^ihich the
.,
LL1                  call and the person placing the call connected first?
aa
z- z,                     A. That,s correct.
23                    0. And so this first call, thenr on line l,
24               dated lll3/LB, at AA1621, Would have first routed to
)\               a tower in Edgewood; is that correct?
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                                                           RgltnfiNo$f,Rvlc,i   e-mail: info@litsupport com
        Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 131 of 259



                                                  ,Edgewood, New Mexico '         And
1                A.         'phat r s correct.                                ,


      that's t,he cl0sest physical address. The latitude
      and longitude is the exacL location of where that
      particular LTB site is.
            0.Andthatsecondonerthen,wouldhavebeen
       routed to a tower ini?ijeras?
            A. Thatts correct.
            0. And the third one is Bernalillo east?
                  A.         That's correct.
                  0.         And the fourth and remaining in the city'of
      .Albuquerque, New Merdico.
                  A.         Thatts correct'.
            o.GotothefinalpageofExhibit5.Whatis
       on this page?
            A. This is subscriber information for the
       phone number that was requested to be searched. That
       phone number is (505) 819-1-806'
             0. And does it' indicate     so t'hat first'
       section under "subscriber details, " what type of
        information is contained there?
             A. You have the subscriber name, t'he name of
        the person, who was a Michael Nissen who opened the
        account. That was the name given by the cuslomer
        when they oPened the account.
              O. And then the device details section' the
                                                                                      MAIN OFFICE
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 Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 132 of 259



                 first line begins IMSf.              What type of information is
                 contained in here?
                     A. The IMSI is the fnternational Mobile
                 subscriber rnformati-on. That's also listed on the
                caller detail records. r'm sorry. r put my finger
                there. That is how T-Mobile bills the customer for
                using the service.
                      0.    Then down    there is a number, the IMEI
                number. Remind us what that is agrain.
 10                   A. That is the internationar mobire equipment
 1-1            identifier.    That is the unique number for that
 L2             specific telephone itself.    That is made at the
 1_3            factory. That is put on that phone at the fact,ory
 14            where the phone was actually made. It's usually
 15            underneath the battery in the back of the phone.
 16                  0. Now, here it rists the final number in the
L'?            IMEI as 2t and I believe 1f we go back to page L, the
18             final number is zexo. Do you know why that is?
19                       A.
                          The call detail records of that final
20             number will always be zero. The other numbers wirl
21             be the exact same numbers that are in the rMEr
22            number. on the records, the final number is zero.
1.   -1       But they'll match     the rest of the numbers will
24            match everything but. that l-ast digit.
)q                                    MR. UBALLEZ: If I may approach with the

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           Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 133 of 259




        exhibit which has been marked as unit.ed states
        Exhibit B?
                             THB COURT: You may'

         BY MR. UBALLBZ:
                   Irve handed the witness, Your Honor' what's
                   0.
         been marked and admitted as united states Exhibit 8 '
                   Can you telf us generally what this thing
         is?
                   A.         This is a Galaxy Note, samsung Galaxy Note
          tr
10

-LI               And you described the IMAI number being the
                    0.
L2       number which identifies a specific device?
13                  A.        Thatts correct.
1,4                 a.        And do you see an IMEI number on this
t5        devi     ce   ?

L6                  A.   usually 1n the back of the phone' You
                               It's
1"7       would have to take the phone apart' to do it'
IB        underneath the batterY.
 LY            0.   Could you take a quick look at the back and
20         see if we can see that number?
 21,             A. You'd have to open it uP'
 22              0.  Just the back of the case'
 23              A. There is no number on the back of the case '
 24              0.  The back of the case or the phone' mY
               apologies '
                                                                                   MAIN OFFIC}-
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       119 East Marcy, Suite 110                                       Albrrqrterque, NM 87 102
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       (505) 9894919
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Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 134 of 259



                       A.
                       If there is a number on here, it's very,
             very small and I can't see it.  There is a number on
             the bottom down here.
                  0. Okay. Can you       and that number on the
             bottom there, does it look the length of an IMEI
             number?
                       A.
                       It could be, yes, sir.
                  0. But it's too small for you to see?
                  A. Yes. I have a Samsung phone, myself, but I
l-0          never take it out of my case to look at the back of
11           it.  I usually have the box with my phone, and I have
L2           my fMEf number on my box.
13                0.   fs there an indication where an IMEI number
L4           might be on a physical device?
15                     A.
                       It would also be behind the bat,tery, if                              you
t6           take the battery out of a phone.
L7                                  MR. UBALLEZ: May I retrleve,            Exhibit     B,
1B           Your Honor?
LY                                  THE COURT: you may.
20                    A.            But to be honest with you, I can,t see it.
23.          BY MR. UBALLEZ:
22                 0.   So you're describi*g, then, the subscriber
23           j-nformation on page 3 of Exhibit 5?
24                 A. That's correct.
25                    O.            Under "billlng    details, " what type of
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          Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 135 of 259



        i-nformation is contained here?
              A. The bill name. The name is Michael
        N_T-S-S_E-N.
               0.Doesthatincludeanyidentifiersforthat
         individual ?
               A. The birth date, 3/ B of 1965.
                    0.        And also a social?
                    A.         Socia1 Security number' There is      an

         address, bill             address.
10             0.Whydoyoukeeptheseit'emsofinformation?
1-1            A. That information       this is a post date
L2       accounL. In other words, a credit check was done so
13       t.he information was veri-fied. This information is
14       actually entered in when the customer opens the
15       account,.
I6             0. And why is that type of information
L'7       important to keeP for T-Mobile?
1B             A. Because number one, itts a post paid
L9        account. A credit check was done so the information
2A        was put on there. we also have prepaid accounts,
2L        where a person's identity is not verified because
22        there is no credit check done. They pay as they go.
23        They pay monthly' You pay $40 for 30 days of
24        service, you've got to pay another $40 for the 30
25        days. If you don't PdY, you don't get your phone
                                                                                     MATN OFFICE
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Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 136 of 259



               anymore.
                    0.    So it would be important for this
               information to be current, then?
                    A. Yes. On this particular account, this is                        a
               post pay account. A credit check was done and that
               information was there and that person pays by the
               month.
                     O. So we're absolutely clear, without the
               switch that you identifled in plano, Texas, these
10             cal-1s made from this number with this subscriber
1l-            would not have gone to t.he people, whoever it wasr
L2             that he was call-ing?
13                     A. That,s right. On this particular instance,
L4             that switching station was the switching station that
15             facllitated the ca11s, and the calr detailed records
L6             that you have in front of you.
L1                                MR. UBALLEZ: ff I may have a moment, your
l-B            Honor   ?

L9                                THE COURT: you may.
20                                MR. UBALLEZ: pass the witness.
2t                                         your Mr. UbalJ.ez.
                                  THE COURT: Thank
22                      Mr. Mkhitarian, do you have
23             cross-examination for Mr. Lecesne?
24                      MR. MKHfTARIAN: yes, your Honor.
                                  THE COURT:   Mr. Mkhitarian.
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          Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 137 of 259



                              MR. MKHITARIAN: Thank You, Your Honor.
 2                                    CROSS-EXAMINAT ION

        BY MR. MKHITARIAN:
                   0,         Good afLernoon, sir.
                   A.         Good afternoon sir.
                   0.         Howdo you pronounce your last name, again?
                   A.         Lecesne. Itfs a New Orleans name'
               0.  Thank You, Mr. Lecesne, for being here
         today. I'm going to keep it really short' So you
10       had talked about earlier how you're noL an engineer,
1-1      and I'm going to hold You to that.
L2                 Right.
                    A.
t3            0.   So f nll just try t'o keep it within your
1,4      knowledge base. so you testified earlier that when
15       you make a phone ca}], it qroes to a switch' Do all
1_6      phone calls go to a switch?
L1                  A.            or receive a phone call on a
                               When you make
1_B       T-Mobile network, there is going t.o be a switch that
LY        handles t.he call. We have switches all over the
20        country. The switch has no bearing on where the
21,       phone is. The tower information will tell you where
22        the phone is, but the switching      the switching
23        station, which is a computer, facilitates that cal1.
24             O. So is it entirelY Possible to      for
25        instance, if you lived in P1ano, Texas, and you                  made

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Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 138 of 259



      1          a T-Mobile phone carr, will that phone carr go to
      2          that Plano, Texas, swi-tch because it's the nearest
                 one, or is it completely random on where these go?
      4               A. rt's computerized. rt courd be on a switch
      6          in New York City. It could be on a sr,,iitch in
                 Atranta. That's the GSM network. There used to be a
      7         CDMA nelwork and you had to be    when you used your
      I         phone, which the CDMA network is not working anymore;
      9         we discontinued that on T-Mobile in Metro psc. you
 10             would have to use the Dallas switch to make a phone
11              call in Dallas.
a^
LZ                   0.   Okay. So based on the current technology,
1?
rJ              even if there is a switch where you live and you use
14              the Dallas examprer so there is a switch i_n Dalras,
1tr
-LJ             you make a phone ca]1 from a Dallas number to a
L6              Dallas number, that phone carr courd stil1        go to     New
1'7
               York?
18                        A.
                         It could go to a different switch.          But
L9             that has no bearing on where the phone is.
20                  0.    r understand- so the phone calr could qo
2L             to a different switch regardless if there's a
a^
ZZ             switch     you're making a phone call next. door to the
23             switch, it could still qo to a different switch.
24                        A.
                       Thatfs correct. The record wourd only               show
25            what happened. It woul_d not show something that
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          Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 139 of 259




       didn't          haPPen.

            0.   Is it common knowledge that these phone
       calls could go to different switches?
                 MR. MYSLIWIEC: Objection, relevance'
                             THE COURT:   Overruled'
        BY MR. MKHTTARIAN:
                    0.       Is it   common knowledge         that your   phone

        call
                    r've seen it happen in many different
                    A.
10      sit.uations. I've seen phone calls in Dallas on a GSM
1_1     network that use a switch in Californla ' The
L2      switching station is a computer t.hat faciliLates the
1_3      completion of the call.
14            0.   So even if you caII a local number and
15       there's a local switch, the phone call can go to any
L6       switch?
L1                   A.Itgoestoanyswitchthat'savailab].eat
t-B      that time.
19             0.             Does your phone tell       you it's     going to        a

1A       different            switch when you're actually making the
2t       call. or            is it. something you find out later?
 22            A.             No, sir. You won'L find it out unless                   you

 23       getthecalldetailrecords.Yourphonedoesn'tteII
 24       you that.
 25            0. Oh. Does your phone bill tell you that'?
                                                                                           MAIN OFFICE
      SANTA FE OFFICE                                                         201 Thtu'd   Nl\I, Suite 1630
      119 East Marcy, Suite 110                                                   Albrtquerqrte, NM 87 102
      Santa Fe,   NM 8750I                                                                  (505) 843-9-[9J
      (505) 989-49{9
                                                                                      FAX (50$ 843-9{92
      FA*\ (505) 820-6349                    SSOCIATES,N.                                   la0M69-9492
                                               morr'sloxl&   CO{IRT
                                                                             e-rnaii: iufo@litsuPport.com
                                               RO{enNosf,&vtoi
Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 140 of 259



                       A.          No, sir, j_t doesntt.
                  0.               fs that something that you have to subpoena
            to find out?
                  A, An individual can ' t subpoena their own
            records because t.hey get billing records. They'd
            have to get an attorney.  But you could get it with a
           subpoena. The Government has to have certain types
           of calr detair records wit.h tower information. with
           the i-nformation that you saw on t.hisr on those call
10         detail records, they could onry get it with a search
1-1        warrant.
L2              0.   So f guess with that in rnind, Irll kind of
13         boil iL down. so a customer in the regular course of
1,4        making phone calls and getting bills might not ever
15         find out that his phone call went to a switch
L6         somewhere el_se?
L1                                 MR. MYSLIWIEC:    Ob    jectionr         re l_evance.
1B                                 THE COURT: Overruled.
LY              A. No. I have a T*Mobile phone and I never
20         requested my call detail records to find out which
21         switch handled my calls. r just make my calls. As
22         long as my phone is working right, I'm fine.
23        BY MR. MKHITARTAN:
24                  If f was a T-Mobile customer, could I call
                     0.
25        them and sdy, "Make sure none of my phone calls qo to

      SANTA FE OFTICE                                                                            MAIN OFFICE
      I 19 East Marcy, Suite 110
                                                                                      201  Thnd N\V, Suite 1630
      Santa Fe, NM 87501
      (505) 989J9d9                                                                     Albuquerque, NM 87102
                                                                                                (50.r) 84&949{
      FAX {505) 82G63d9                        SSOCIATESN.                                  FAX (50$ 8{3-9.192
                                                    ,fforTjstoxAL   (otaT                       1€006690492
                                                    RE}0RT$iOStRVlCti,                e-urail: info@litsupport.com
          Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 141 of 259



                   tt
        Texas           ?

                   A.       f don't believe that's possible,
                              No, sir,
        because the st,ore has nothing to do with the tower
        information and the call detail records.
                  MR. MKHITARfAN: May I have a rnoment, Your
         Honor      ?

                              THE COURT: You may.
                              MR. I4KHITARIAN: I'11 pass the witness '
                               THE COURT: Thank Your Mr. Mkhitarian'
10                            Mr. UbalLez, any redirect, of Mr' Lecesne?
a1
IL                            MR. UBALLEZ: Briefly, Your Honor'
L2                                       REDIRECT EXAMINATION

1-3      BY MR. UBALLEZ:
L4            O. *fCIufd lt be possible to use a T-Mobile
t_5      hqtwork without passing through the system of
16       fwitches whlch are national that you've described to
L1       U$ today?!
1B                  A.        F?lLut would not be Possib1e.
t9                             MR. UBALLEZ: No further questions'
20                             THE COURT: Thank  You, Mr. UbalLez'
21.                            AII right. Mr. Lecesne, you may step down'
22                             Is there any reason Mr. Lecesne cannot be
23        excused from the proceedings, Mr. UbalLez?
z4                  MR. UBALLEZ: No, Your Honor'
25                                 THE COURT:   Mr. Mkhitarian'
                                                                                        MAIN OFFICE
      SANTA FE OFFICE                                                                   NW, Suite 1630
                                                                           201 Thfu'd
      119 East Marcy, Suite I 10
                                                                             ,{lbuquerque, NM 87102
      Santa Fe, NM 87501                                                               (505) 84&9494
      (505) 989'19..19
      rAx   (505) 82G6349                        SSOCIATBS,,*                    FAX (50$ 843-9192
                                                                                        1400669-9492
                                                   rftolrsstol'l^L cqlRT
                                                    RrH!f,TrIsG$fftVlcli   e+nail: info@litsupport'com
Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 142 of 259



                                     MR. MKHITARIAN: No, your Honor.
                                 All right.  you are excused
                                     THE COURT:
            from the proceedings. Thank you for your t.estimony.
                      THE WITNESS: Thank you, sir.
                                     THE COURT: A11    right.             Does the Government
           have its next witness or evidence, Mr. UbalLez?
                     MR. UBALLEZ: yes, your Honor. The United
           states calls sergeant steven carroll                             with   New Mexico
           State Police.
10                               Mr. Carroll, if you']l come up
                                     THB COURT:
1-1        and stand next to the witness box on my right., your
L2         1eft, before yourre seated, my courtroom deputy
13         Ms. Wright, will swear you in.
L4                                            STBVEN CARROLL,
15                    after having been first duly sworn under oath,
L6                    was questioned, and t.estif ied as follows:
11
                                     THE CLBRK: You may be seat.ed.
1B                                   THE COURT: Mr. Carroll, Mr. Uballez.
19                                   MR. UBAILEZ: Thank you, your Honor.
20                                           DTRECT EXAMINATION
27        BY MR. UBALLEZ:
22                   0.              P1ease introduce yourself to the jury and
23        where you work and what your role is there.
24                   A.              My name is Steven Carroll.
                                                 Irm a sergeant
25        with the New Mexico State police, stationed out of
      SANTAFEOFFICE                                                                               MAIN OFFICE
      119 East Marcy, Suite I   l0                                                    201 Thn'd N\V, Suite 1630
      Santa Fe, NM 87501                                                                Albuquerque, NM 87102
      (505) 98949.19                                                                             (505) 84&9494
      F.d\ (50$   82&6349                         SSOCIATES,,*                              FAX (505) 8.{3-9{92
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            Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 143 of 259



           our District                   5 office here in Albuquerque,      New

           Mexico.
                       0.         Where is District       5?

                       A. our Albuquerque office.
                                   It's
                0. And what are your responsibilities as a
           sergeant with the State Police?
                A. So I'm a patrol serqeant, so I supervise
           five officers.  I also deal with our d.aily part of
           our role as a supervisor is also to deal with
10         cornplaints coming in from cit.izens, also dealing with
1- 1-      approving reports, responding to critical incidences'
L2         and anyt.hing else that. might happen during t.he day of
13          our shif t..
L4                0.  Do you do basic routing and calling of
15          officers when they call in traffic stops?
16                A. No. I don't do that.
L7                0.  How long have you been with the State
t-8         PoIice?
LY               A. Irve been employed with the New Mexico
20          State Police now a lit.tIe over lt years.
21               0. And any Prior law enforcement?
22                      A.         No, sir.
23                      0.         And. when    did you become a sergeant?
 Z4                     A.             I promoted to the rank of sergeant in
 25         August of 20L4.
        SANTA FE OFFICE                                                                      MAIN OFFICL
        I 19 East Marcy, Suite I I 0                                               201   Thi|d N\Y, Suite 1630
        Santa Fe, NM 87501
                                                                                     ,{lbttquerque, NM 87 102
                                                                                               (505) 8r&9.191
        (505) 98949{9
        FA-X (505) 820-6319                          SSOCIATES,'*                        FAX t50$ 8{3-9492
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                                                       Rxlt}nfii*osERvlct:         e-mail: info@litsupporlcom
 Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 144 of 259



        1                 I want to ask you, then, about a series of
                              O.
        2       events on November 2 of 2ar}. Do you recarr that
        3       date      ?

        4                     A.      yes, sir.
        q
                     0. And were you a New Mexico State police
        6       sergeant with District 5 on that date?
        7            A. yes, I was.
        I           O. What shift were you working?
        9           A. f was working the swing shift, which are
  10           the hours of 4:00 p.m. to 1:00 a.m.
  11                0. And were your duties then slmirar to the
  12           ones you just described to us today?
  13                A. yes, si_r.
  14              0.    Do you recall being brought into                    a
 1tr
 -LJ          conversation with an ind.ividual identified                   as
 t6           Mr. Nissen?
 L7                       A.         I wasr y€s.
 18                       0.         How were you
                                     brought into that?
 19                       A.
                        One of our dispat.chers, a dispatcher whose
2A           name is victori-a Gurule, informed me t.hat Mr.
                                                             Nissen
2L           wanted to complain on an Officer Burd.
aa
z- z-             o'   Did you speci-fically identify officer Burd
23           as that person that t.he complaint was about?
24                        A.         yes.
,)q
                          0.         fs it standard for you take calls from
        SANTA FE OFFICE
        119 East Mar.cy, Suit€ 110                                                         MAIN OT'FICE
        Santa Fe, NM 87501                                                       201 Thnd NlV, Suite t6B0
        (505) 989-49.{9                                                           Albuquerque, NM 87102
        FAX (505) 82&63d9                                                                    (505) 84&9,1e4
                                                    SSOCIATES,"..                      FAX   (50.5)   8{3-9J92
                                                     ttorl$lo:ril,'colJRT                    ls0M69-9492
                                                      R l0tlIrtA$ERVtCE         e-rnail: info@litsupport com
           Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 145 of 259




       c   ivi 1 ians ?
                 A. Yes, it is '
                 0. And so what did You do?
                 A. I contacted the complainant' Mr' Nissen'
        over the Phone.
             O. Did You sPeak wit'h him?
             A. Yes, I did'
                                                      to
             0. And describe the things that' he said
                                                                           you

        during that conversation '
1-0          A. So it was back in November' and again' I
t1-      don'trecallthespecificconversation,t'hespeCific
L2       wording. Mr. Nissen, however, was fairly upset over
1-3      the traffic stop that Officer Burd initiated on him
L4       and wished to complain on Officer Burd'
15             0.    How could you tell that he was upset?

L6             A. His voice was raised, his tone was
         aggressive. And again, I don!t recall specific
                                                           words
L7

 1-B       that were exchanged between myself and Mr ' Nissen'
 19        but it was apparent that Mr' Nissen was upset'
 20              0.  Did Mr. Nissen threaten you directty during
 21        that caII?
 22             A. Again, I don't recall specifically'
 23             0.    If You recall'
 24             A. r don'L recall specificatly Mr' Nissen
 1tr
 LJ        directlY threatening mYself' no '
                                                                                 MAIN OFFICL
       SANTA FE OFFICE                                               201 Thn'd   NW, Suite 1630
       119 EastMarcY, Suite 110                                        -{lbttotterque, NM 87 102
       Santa Fe, NM 87501
                                                                            '    isost 8{&9r9J
       (505) 989-.{9.19                                                    FAX 60$     843-9'192
       FA-\ (505) 820-63d9              SSOCIATES,*..                            180066$9'192
                                           morrJsloxil,cotJnr        e+uailr info@litsupport"corn
                                            ngit,s?tttlgsf,Rvlcc,
Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 146 of 259



                     0. And during that calt      approximatel-y how
     2          long would you say you were on the phone with him?
                     A. It had to be less than five minut.es.
                    0. And what is your standard procedure for
               receiving complaints in this manner as the serqeant
               who takes complaints?
                          A.
                          A typical complaint would be: The validity
               of the complaint would be taken into consideration.
               And again, if it turns out it's a legitimate
10             complaint, we do a formal complaint process. This
11             particular situation, r did not folrow up on that
L2            process.
1-3                 0. Why did you not follow up on that process?
1,4                 A. The complaint, Mr. Nissen's complaint,
15            again, was more toward issuing the citati-ons and how
L6            the traffic stop was done, and those complaints can
L7            be handled via the court process.
1B                 0. Have you issued traffic citations yourserf?
19                       A.
                         Yes, sir.
20                   0. And you supervise officers who issue
21            traffic citations?
22                   A. Yes, sir.
23                      0.              And been to court yourself?
24                      A.              Yes, sir.
25                      0.              Descrlbe that process.
         SANTA FE OFFICE
                                                                                         MAIN OFFICE
         119 East Marcy, Suite I   l0                                        201   Thid NW,  Suite 16B0
         Santa Fe, Nl,I 87501
      (505) 989-19J9                                                           Albuquerque, NM 87102
                                                                                        (505) 84&949,{
      rA-\ (505) 820-6349                            SSOCIATESN.                    FAX {505} 8J3-9492
                                                       ,ROIIAIIOrIAL COLNT              180066$9492
                                                        Ro.oeTtl\cstRuct     e-rnail: info@litrupport.com
          Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 147 of 259



 1           A. Going to court? By going to court, again'
 2      you're not guilty.   By going t.o court, You have the
 3      opportunit.y to present evidence in front of a iudge
 4      or jury. The officer has the opportunity to present
 5      evidence in front of a judge and jury, and the
 R      ind.ependent judiciary                system makes a determination
 1      whether the d.efendant is guilty or innocent'
 B           0.   So when you said you didn't initiate a
 9      formal complaint process wit.hin state Police, it                           was

l-0      because there was a court process to handle the
1_1      complaints
L2                  A.         Correct.
13                  0.            as You understand it'?
L4                  A.         Correct.
15                  0.         Did you advise Mr. Nissen of this fact?
1_6                 A.         I don't believe so. I don't recall'
L7                  O.         But did You take his complaints?
1_8                 A.         I did. I listened to hirn'
IY                  Did You threaten Mr. Nissen?
                       0.
20                  Not that I'm aware, oo, sir'
                       A.
27             0.   f'm going to play for you what's been
22        marked and admitted as United States' Exhibit Number
23        2, and I want you to tell me if you recognize this
 24       voice.
 1q                                (Audio played.   )


                                                                                          MAIN OFFICE,
      SANTA FE OFFICE                                                          201 Thn'd NW, Suite 1630
      I 19 East Marcy, Suite 110
                                                                                Albr.rquerque, NM 87 102
      Santa Fe, NM B7501                                                                   (505) 8,13-9494
      (505) 989-4949
      FAX (50$ 820-6319                             SSOCIATES,,*                     E{X (505} 8{3-9492
                                                                                           140056$9'192
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 Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 148 of 259



        1                         a-         start with that first                   one, whose voice is
        2           that      ?

        3                         A.         That's our dispatcher, Victoria GuruIe.
        A
        ?                                    (Audio played.   )

        5                         0.         Can you identify          that voice?
        6                         A.         Yeah, that voice sounds familiar                    to    t.he
        1          voice f talked to over the phone on November 2.
        I               O. Were those complaints relatinq to the
        9          constitution and the vioration of his right.s
     l_0           consi-stent with those that were being made to you?
 11                    A. Again, I don, t directly recalt                                    a
 1_2               conversation, but it sounds familiar.
 13                    0. After you took his compraints, did you have
 74               any further int.eractions? Wellr on that day, did you
 15               have any further interaction with Mr. Nissen?
 L6                    A. No.
 L7                                         MR, UBALLEZ: May f have a moment, your
18                Honor?
L9                                          THE COURT: you may.
20                BY MR. UBALLEZ:
21                     o. After receiving      in addition to speaking
aa
z- z-            with Mr. Nissen, did you speak with anyone el-se about
                 t.heir interactions with Mr. Ni-ssen?
24                           A.             So I did speak to Ms. Guru1e.
,q
                             0.             Did you speak with Officer Burdr ds well?
            SANTA FE OT"FICE
            I 19 I',ast Mar.cy, Suite 110                                                                     MAIN OFT'ICE
            Santa Fe, NM 87501                                                                    201    Third NlV, Suite 1680
            (505) 98949{9                                                                             Albuquelque, NM 87102
                                                                                                              (505) 84&949{
            FA-X (505) 820-6349
                                                          SSOCIATES,*                                     FAX (505) 8{3-9492
                                                              r80rT$s1(x^t. crolJRT                            180066$9492
                                                                  RExnlliso$DRVTCE                e-mail: ilrfo@litsupport.com
              Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 149 of 259



                     I did speak to Officer Burd' Afterwards
                       A


 2         they relayed threats t,hat were given' and I actually
           pushed out an email warning the whole district as a
           whole about the threats that were relayed over the
            phone.
                       0.         Describe that emaiI.
                       A.                  t a warning email to
                               I was basicallY
            atl the off icers stating, again,
                                           n   with the t.hreat of
            putting     shooting a piq with a guri' and just to be
10          on the lookout, be a warningi so I put Mr' Nissen's
1_   l-     information on the email so in case any other officer
L2           had contact with him, just to be aware'
1-3               0.,f$thatstandardprocedureeverytimeyou
14           geceive a comPlaint?
15                      A.         No.    /



16                         O.       Have you heard the term "pig" before?
11                         A.       Yes.
 1-B               0. And what's your understanding that it
              refers to?
                    A. So besides the obvious f,act of the Pig' of
              Ehe animal varietyr "pig" is also
                                                 very common slang
              to describe a law enforcement officer'
                         MR. UBALLEZ: Thank You' I Pass the
              witness, Your Honor.
                                        THE COURT: Thank   You, Mr' UbaILez'
                                                                                            MAIN OFFICI,
          SANTA FE OFFICE                                                      201 Thil'd   NW, Suite 1630
          I 19 East Marcy, Suite I 10                                            Albuquerque, l'lM 87102
          Santa Fe, NM 8750I                                                                 (505) 81&9-[9{
          (505) 98949.i9
          FA-\ (505) 820-63{9                       SSOCIATES,*.                     FAX {505} 843-9{92
                                                                                            140M69-9492
                                                                  LtOIIRT      e-rnail: info@litsupport.com
                                                        RErc*rLssf,Rvlct:
                                                      'fR*TSSIOX
 Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 150 of 259



                       Mr. Mkhitarian, do you have
              cross-examination of Mr. Carroll?
                                   MR. MKHfTARIAN: Thank you, your Honor.
                                   THE COURT:     Mr. Mkhitarian.
                                              CROSS _EXAMTNAT            ION
             BY MR. MKHITARTAN:

                          0.       Good afternoon.
                          A.       Hello, sir.
                  0. You testified earrier t.hat. you don't recarl
 10          being threatened by Mr. Nisseni is that correct?
 l_1              A. Correct -
 1_2                   That would be something you wourd remember,
                          o.
 13          if someone threatened your Iife; right?
 14               A. Yes, sir.
 15              O. So would it be fair to say that he did not
 16         Lhreaten you?
11
                         A.        Correct.
1B               0. You also ment.ioned that when he was carling
19          to complain, he was talking about the constitution
20          and things like that; is that correct?
2t               A. r don't think r said      specifically r said
22         Constitution, but f think f said his tone was
23         agitated. r don't specifically recarl the exacL
24         conversation f had with Mr. Nissen.
)tr,             0. Okay. So he was would you describe the
       SANTA FE OFFICE
       119 East Marcy, Suite 110                                                         MAINOFFICE
       Santa Fe,   NM
                                                                               201  Thnd NI/[, Suite 1680
                        B7501
       (505) 989-{9.19                                                           Albuquerque, NM 87102
                                                                                           (505) 84&9494
       FA-Y (505) 82G63{,9
                                                  SSOCIATBSN-                        FAX {50.t 8.13-9-t92
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            Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 151 of 259



        way he was talking you to as maybe ranting about the
        s   top?
                  rt's Possible.
                       A.
             0. And would you say that       when you said

        that you determined it wasnrt a real complaint but
        something suited for the courts, is that because he
        was arguing about. the law and things like that with
        you over t.he Phone?
             A. Again, thatrs Possible, Yes, sir'
1-0          0.Sobasedoffofhimcallingyouandarguing
11       about the law, you felt that it wasnrL a real
L2       complaint, and his complaints should be directed for
13       the court Process?
L4             A. Yes, sir.
15             0. But it is true that he was trying to
16       educate you on what he thought. the officer should
L"7      have done. Did I hear that correctly?
IB             A. PossiblYr Y€sr sir'
19             0. And after you concluded the phone call' how
20        long after you concluded t.he phone call did you talk
27          to Ms. Gurule and Officer Burd?
22                A. Probably within     it had t'o have been
23          within 10 to 15 minut.es. It wasn't a long period of
 24         t.   ime   .

 2q                        O.        Okay. And at that time did you       within
                                                                                     MAIN OT'FICE
      SANTAFEOFFICE                                                       201  Thnd NW, Suite 1630
      119 East Marry, Suite I   l0                                          Albuquerque, NM 87102
      Sauta Fe, NM 87501                                                              (505) 8,1&9{94
      (505) 98949'19
      FA-\ 1505) 820-63J9                        SSOCIATE$'*                    F,{X (50fl 8{3-9.{92
                                                                                      1400s69-9492
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       Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 152 of 259



                       10 t.o 15 minutes of that time, were you notified                             that
                       there was a threat or was it some ot.her call at                          a
                       later time?
                                  A.
                                 It was during t.hat t.ime, y€s, sir.
                           0. After your phone call to Mr. Nissen, did
                      you feel it necessary to, immediately after your
                      contact with him, notify everybody that there was a
            I         threatening individual?
                           A. .After my phone callr oor sir.
^tp:
(*,    11
                           0.   It was only after talking to dispatch that
                      you decided to make that communication; is that
                      correct?
\r"{    1'2

                                 A.             Yes, sir.

 $l:   L6
                                                MR. MKHITARIAN: f'11 pass the witness.
                                                THE COURT:  Mr. Mkhitarian.
                                                Mr. Uball-ez, any redirect of Mr. Carroll?
       L1                                       MR. UBALLEZ: No foltow_up.
       18                                       THE COURT: A11 right, Mr. Carroll, you may
       19            step       down.
       20                       Mr. UbalLez, is there any reason that
       21_           Mr. carroll- cannot be excused from the proceedings?
       22                       MR. UBALLEZ: No, your Honor.
       23                                       THE   couRT: Mr. Mkhitarian, can Mr. carrorr
       AA
       L+            be excused?
       25                                       MR. MKHITARfAN: yes, your Honor.

                SANTATEOFFICE
                                                                                                     MAIN OFFICE
                I 19 East Marcy, Suite I   l0                                            201  Thnd NW, Suite 1680
                Santa Fe, NM 87501
                (505) 98949.19                                                             Albuquerque, NM 87102
                                                                                                    (505) 84&949{
                FA-X (505) 820-63d9
                                                               SSOCIATESN.                      FAX (505) 843-9{92
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          Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 153 of 259



                              THECOURT:Atlright''You'reexcusedfrom
        theproceedings.Thankyouforyourtestimony.
                 THE WITNESS: Thank You, Your Honor'
                  THECoURT:Allright.DoestheGovernment
        have its next witness or evidence?
                  MR. MYSLIWfEC: Yes, Your Honor' The
        united states calls Barbara Beuzekom of the New
        Mexico State Police.
                  THE COURT: Ms. Beuzekom, if you'I1 come up

1_0     and sland next to the witness box on my right' your
1-1     1eft, before you're seated, my courtroom deputy'
L2       Ms. Bevel, will                swear You in.
13                                        BARBARA BEUZEKOM,

74                  after having been first duly sworn under oath,
IJ                  was questioned, and testified as follows:
16                       THB CLERK: Thank you' You may be seated'

L7       AIl right,                 Ms. Beuzekom, Mr. Mysliwiec'
1B                                         DIRECT EXAMINATION

19        BY MR. MYSLIWIEC:
20             0. Ma'am, have I been pronouncing your name
21        correctlY? Beuzekom?
22             A. Yeah.
 23            0. Okay. Now t'hat you've been sworn in' could
 24       you please introduce yourself to t'he jury by telling
          themyournameroccupationrandcurrentassignment?
                                                                                    MAIN OFFICE
      SANTA FE OTNCE                                                     201  ThiId N\V, Suite 1630
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Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 154 of 259



                        A.          My name is Barbara Beuzekom. r work at the
             New Mexico    State police office on carlisle, which is
             District 5, and ilm a dist.rict administrator.
                   0. And how lonq have you been a district
             admini s trator ?
                   A. Eive years.
                        O. that your job right out of schoolr or
                                    Was
            did you do something before that?
                 A. r worked for nine years for Aps police as                                         a
 10         campus security at one of the high schools.
If
                       0.           So you were essentially               a pblice officer
L2          for some time? Can you answer yes?
13                A. Not really.    f mean, f was campus securi-ty.
1,4         t{e did have arresting capabilities.  r mean, r don't
            know how to say it.                we patrorred the campuses.                       we
16          had search privireges.                V{e   had basicarly anything
           that went on for the school in security.
1B              0. were you trained on how to interact with
L9         people while respect.ing their rights?
20              A. yes.
)1              o- And what are your duties now that you're an
22         administraLor with the New Mexico state porice?
23              A. rrm first contact with the public over the
24         phone or that come into our office, and decide best
25         ways to help them and do what they need.

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          Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 155 of 259




                  0.IfIdial(505)S4L-g256,isthatdispatch?
                  A. That is the main number that' comes in'                      and

        itgivesyoualistofoptionstohit,l-through,I
        believe, 8, whether it's dispatch, investigations'
        administrators, or fingerprintlng, whatever you need'
                   0.           What do I select to get You?
                  I believe it saYS for uniform
                   A.
        administration you push whatever     I'm not sure what
        number. It's                   changed recentlY '
10            0.   So the auLomated voice is not lying when it
11       says. "Please listen because the numbers have
L2       recently changed" ?
13            A. Yes.
L4            0. Are all phone calls that go to you through
1-5      that selection Process recorded?
1_6                 A.           NO.

L7            0.   Did you ever have a phone conversation with
TV       a person named Michael Nissen?
1_9           A. Yes.
20            0. Can you identify whether you see Michael
21       Nissen in the courtroom today or not?
22                  A.           I can't see.
/\)
LJ                   0.          I'II st.eP out of Your way' IIm
24                   A.          He's wearinq a blue shirt, dt t'he end of
25        the table over there.
                                                                                         MAIN OFFICE
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Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 156 of 259



                                       MR. MYSLIWIEC: your Honorr mdy the record
            please reflect                 that the witness has identified      the
            de   fendant           ?

                                       THE COURT: The   record will so reflect.
            BY MR. MYSLIWIEC:
                 0. Can you tell us if you recall what day you
            had that phone call with him on?
                 A. Without looking at notes, no. f don't
            remember the exact date.
10               0.    If I showed you on this screen a call
11          record     werre going to plug this computer in. Do
L2          you see t.hese calls on November 26 of 2otg and then
13         November 27 of 2AlB?
14                     A.          Yes.
15              0.   Does that refresh your recollection as to
L6         when you actually talked to Mr. Nissen?
L7              A. I talked to him on      f would say there was
1B         one day that r tarked to him, and then he called the
19         next day. also, but I did not speak with him.
20                     0.          Do you think it was the Z6t-h of November?
21_                    A.
                      {robably. It was in the morning.
22               0. And at l-east reasonably near, in terms of
23         t,he jury instructi-on, reasonably around November 26,
24         20tB?
25                     A.          Definitely.
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                                                                                      MAIN OFFICE
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              Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 157 of 259




                 0.   Could you describe to the jury how that
            phone call went.?
                 A.Ianswerinmyusualwayandlaskifthere
            is anything I can do for whoever is calling.               And the
            gentlemen said that. he needed to speak to a
            supervisor. And when I started asking him what it
            was he needed to speak to, he became his voice got
            very anEry. He got very loud. He proceeded to tell
            me that if    ygu know, he would just come down t<>
             t'he 'of f ice and shoot me in my f ucking face '
                    O. When You told him You needed more
             information, were you being genuine with him?
                   A. Definitely.   Because we have a chain of
             command where it can be about. an officer.  Each

             officer has a sergeant, which follows up another
             chain of command. so it's just a procedure on who                    we

             put the phone call to.
                    0. What information would you need    if I
             called you and said, "I want to complain about a
t/           traffic stop that happened to me a little while &9o, "
     21      what would you need from me to know which supervisor
     22       to route me to?
                   A. The person's name that was st'opped, the
     24       area that they were stopped in, depending if it was
     2q       Albuquerque, Cuba, Los Lunas, East Mountains'
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Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 158 of 259



                       0.          And is that the type of information you
             attempted to get from this calIer on the 26th of
             November, 2AL8, who you now know to be Michael
             Nissen?
                       A.          Yes.
                 0.   Like I said, f ,11 just. ask agrai_n, were you
            being genuine in trying to get that info t.o attempt
            to help him?
                 A. Yes. because I was not. familiar who he was,
 10         so I just needed hls name.
 11                   Could you describe to me how long it took
                       0.
 1,2        hetween you asking that question trying to help him
 13         and this escalation of his voice that you described?
14                    A.
                      f would say I didn,t even get out of him
1tr
-LJ         where the l-ocation of the traffic st,op was, so it was
16          a very short period of time.
L7                    Would you describe the escalation of his
                      0.
1B          volume and his voice as gradual or sudden?
19                    A.
                     It escalated very quickly.
zl)             0. And I don't remember exactly the words that
21,        you used, but do you remember exactly the words that
22         Mr. Nissen used to say things that you considered a
23         threat ?
24              A. That he was going to come shoot me in                    my
,tr        fucking face.
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          Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 159 of 259




                   O.         And was there anything that he said that
        made you believe that he was joking?
                   A.         No.

              0, Was there anything that he said that made
         you believe that he was being figurative or not
         serious         ?

               A.Itookitcompletelyserious,andproceeded
         t.o go get someone else to talk to him'
               0.    Do you go get sorneone else to talk to every
1-0      cal1er who has a complaint about police action?
11                  A.        No.

t2             0. What's the difference between a complaint
13       you receive that you don't go get someone else to
\4       finish the phone call and a complaint you receive
15       where you would do that?
L6             A. Typically peopte      when you start talking
L'l      to t.hem and trying to   telling them that you're
1B       just t.rying to help them, that they'11 come through
19       with the information that you need to be able to find
20       their citation. to find what they're looking for.
21       There was absolutely no way that he would let me even
22       get to the point of saying, "f'm just. trying to help
.)?       you.     tt


24                      0.         You described to the jury just now that'
25        there was some profanity that Mr" Nissen used on the
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 Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 160 of 259



      1          phone call.                  Was   it the profanity that you made you
      2          feel threatened?
      3                    No, it was just the intensity of his voice.
                            A.
      aA         r mean, he was very angry. r just got the impression
      q.
                 that there was no way he was going to listen to
      6          anything that f had to say.
      7                    If he in a loud voice had not said the part
                            0.
      8          about shooting you in your face, but was just loud in
      9          his complaints about whatever it was, would you have
 10              considered that a t.hreat?
 11                        A.           No.
 t2                  0.    So just so the jury understands what you
 l-3            were thinking at the time and only what was inside
L4              your own mind, it was the threat to shoot you in the
1tr
-LJ             face that was the thing that was threatening?
1a
l_()                 A. Yes.
L1                  0. Now, do you remember who it was t.hat. you
10
a9             got to handle the rest of the call?
19                  A. I went to the squad room and Officer Juan
20             cordova was in the squad room, and r asked him to
)1             come handle the phone cal1.
aa                  0. And did you take any action after passing
               that call to Mr. cordova with respect to Nissen and
24             what he said to you?
atr
z-J                       A.            The     I took        since 1t was a threat     and

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         Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 161 of 259



        I felt. threatened, I took the number, the phone
        number, off of my cal-ler ID so that if t'he person
        called back in, I would know that that was Mr. Nissen
        immediately calling back in.
              O. And did you request authorization to put a
        poster up by administrative workers' work stations so
        that if he did hypothetically come by, the person
        working there would be warned?
              A. Yes.
t0            0. And did you receive the authority to put
1_1     Mr. Nissen's face on a poster that was posted in youl
L2      office to warn people in the case t.hat he might come
1-3      by in the future?
L4              A. Yes. That day I asked my captain' after
15       reading the traffic stop and finding that it was just
16       traffic citations that he was angry about, then I
L7       asked my captain if it was all right t.o get that
l-B      picturetoputupbythestationsthathavean
19        intercom Phone.
20              0. And you did receive the authority to put
21"       the warning uP?
22             A. Yes.
23             0. And do you do that with everybody                     who

24        curses on the                Phone?
                    A.           No.

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 Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 162 of 259



        1                 O. Do you do that with everyone who speaks in
        2            a loud voj-ce on the phone?
        3                       A.       No.
        Lt
                                0.       Was it   because of the threats or anything
        E.
                     else?
        6                       A.       The threats.
        7                               MR. MYSLIWIEC: No further questions.
        B                               fHE COURT: Thank you.
        9                       Mr. Mkhitarian, do you have
  10                 cross-exami_nati_on of Ms. Beuzekom?
 11                                     MR. MKHITARIAN: Thank you, your Honor.
 t2                                     THE COURT:        Mr. Mkhitarian.
 13                                                CROS   S_EXAMINAT ION
 14              BY MR. MKHTTARIAN:
                            0.          Now. is it Ms. Beuzekorn? Is that how you
 16              pronounce it?
11                    A. yes.
1B                    o. Ms- Beuzekom, did you ever have a chance to
19               meet Mr. Nissen prior to that phone cal1?
20                    A. No.
2L                          0.            about after that phone call?
                                        How
aa
                            A.       'Did I ever meet him? ,$ No.
              4
z- z-



                            0.          How    dld you come to recognize the way he
                 1   ooks   ?

                            A.          From the picture that was printed out that

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                      Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 163 of 259




                     Ihadaskedmycaptainforthatdayofthethreat,.
                          0. And was that printed from a driverrs
                     Iicense picture or something like that?
                               A.            Yes.

                         0. ?but you never actually saw Mr' Nissen in
                    person; is that correct?
                         A. No.
                         0. Now, you mentioned that the call tone
                    escalated quickly. Did I hear that correctly?
             1-0                A.           Yes.
             tl            0. Did Mr. Nissen complain about' his rights in
             LZ       any part of that Phone call?
             13            A. Not really to me' I don'L believe he did'
             14            0. Was he complaining about the stop?
             15            A. Yes, he iust said he needed to talk to a
             16       supervisor.
             L7                  0.           And when he was           and when you were asking
             1B       him why he needed to speak t"o somebody' is that                           when

             1-9      you got the resPonse?
       *^A   ,o                  A.           Yes.
                                 O.           $nd did You ever transfer him to           a

                      rsUp€EVisor?
ffi,,',,
 jr f.:,?                        A.           No.

                                  O.              Did he ever hash out his complaint with
                       you?

 0."                                                                                                     MAIN OItrICE
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 Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 164 of 259



                            A.          No.

                      0.   Do you have the means to record a                phone
                 call at your desk?
                           A.           No.
                           0.           Do you have the means to, f guess, notify
                someone to record a phone call or anything like that?
                     A. r berieve there is. They since then have
                requested a recorded line, but I don't know if it's
                in place yet.
     10                    0.          But you didn't have one at. the time?
     11                    A.          No,
     72              0. And when you mentioned that you had qone
 13             and got someone else to talk to him, who did you gro
 1,4            get to talk to him?
 15                  A. An officer.
 L6                 0. And was that officer assigned to, I guess,
 11            talk to escalated calls or was it just an officer
10
AU             that you found in the office?
LY                  A. He was in the office. in the squad room,
20             doing a report at the computer station. so that's
a1
LI             who f went and got.
22                   0. And that's not necessarily his job. ftfs
23             just that. you secured the nearest officer you could
24             find?
)q                       A.            Yes

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          Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 165 of 259




              0. Now, was Mr. Nissen complaining about
        police in general during this phone call?
              A. He never got around to really exactly what
        itwashewaswanting.Heacceptedtotalktoa
        supervisor. so he didn't act.ually articulate to me
        what his concerns were. what the problem was.
             O. How long would you say t'he phone call was
        inminutesrsecondsrtothebestofyourknowledge?
             A. I would say maybe 30 to 45 seconds'
10           0.   So basically he caIled, asked for a
11       SuperviSor,youaskedhimwhy,hethreatenedtoshoot
L2       vour and that was the end of the phone call?
13            A.onmypart.Iwentandgottheofficerand
L4       the of fj-cer f inished the phone calI'
15            O. Okay. Were you          was the phone on speaker
16       uihen t,he of ficer was talking to him?
11                 A.         When   Officer Cordova was speaking to       him?

1_B                 0.        Riqht.
1-9               { don't remember if he continued
                    A.                                                    if it
2A       *asonspeakerphoneorifhetalkeddirectly.
27            O. Did you hear the contents of that
22        conversation at all?
23            A.No,Ididn'tgobackintheoffice,because
1A        thephoneisrightupatthefrontwindowrsoitwas
ZJ        kind of crowded.
                                                                                    MATN OFFICE
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 Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 166 of 259



                          Just to the best of your knowledge, because
                         0.
               I know he wasnft speaking to you at that point, was
               the officer you got threatened in any way?
                         A.         I donrt   know.
                         0.         Now, once again, to the best of your
               knowledge was Mr. Nissen anywhere near you when he
               allegedly threat.ened you over the                             phone?
                    A. He was on the phone.
                         Okay. Could you see where he was? Did
                         a.                                                                       you
 10            know where he was?
 11                 A. No. It was just a phone catl.
 L2                       Did Mr. Nissen indicate that he was going
                         0.
 13            t.o come down and do it at a certain time?
 1.4                 A. No.
15                   0.  Did he    when you said that he threatened
76             to shoot you in the face, was that because you would
L1             not get a supervisor or did he condition it on you
1B             getting a supervisor?
19                    A. He just      I felt llke it was just. because
20             f questioned him. f was asking him questions.
2T             That I s why he got angrry.
22                  0. And so roughly      it was a very short phone
23             call after you received that communication from him;
24             your communication with him ended after you received
1q
LJ             the threat, and you got the other officer, you
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          Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 167 of 259



        essentially stopped talking to him?
            A. Correct.
            O. Did you talk to him at any time after that'?
                   A.        No.
                             MR. MKHITARfAN: If      f may have a moment,
         Your Honor?
                              THE COURT: You may.
         BY MR. MKHITARIAN:
                   Just. to be clear, whenever someone calls
                   0.
10       the New Mexico State Police phone number and I
11       believe the phone number that the United States said
L2       was the 84L-9256, is that the number that you know is
1-3      the State PoIice number?
1,4           A. It is.
15            0. And there is an option to directly                 go to
16       you; is that correct?
L7                  A.        Yes.
1-B            0. And there is also one option to go to
l-9       dispatch? Do I underst.and that correctly?
2A             A. Yes.
21             0.   So t.he phone calls to dispatch, to the best
22        of your knowledge, are recorded, but you don't know
23        if any of the other phone lines are recorded?
24             A. I don't believe they are, but I coul-dn't be
25        100 percent sure.

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       Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 168 of 259



                                             MR. MKHITARIAN: Okay. I'11 pass the
                   wit.ness.
         3                                   THE COURT: Thank      you, Mr. Mkhitarian.
         4                                  MR. MySLfMEC: May we approach, your
         q.
                   Honor?
         6                                  THE COURT: you may.
         7                                   (The forlowinq proceedings were herd at the
         I         bench.        )

         9                                  MR. MYSLIWIEC: So our i-nformati_on is
       10          that     r didn't ask about this because of your
       11          444 {b) ruling.  But our information is that
iJl^   L2         t4s. Beuzekom actualry did come face-to-face with
                  Mr' Nissen on Decem.ber Li" and what we have previousry
                  talked ln hearlngs abor:t being the bomb scare date..
                  Now, r didn't ask about that on direct because of how
                  you ruled on 404(b). But now that Mr. Mkhitarian
                  asked questions to the tune of, "Did you ever see him
                 after that, have you ever met him in persorr,, need
                                                                f
                 nto give her a chance to correct her testimony so
                 phn't*,,,n,9! in a perJury situation".
                                            MR. MKHfTARIAN: If she doesn,t remember,
                 she doesn't remember. .h don't think that's a per jury:
                ;gituation'- of utmost concern here, r asked her. ,,To
                 the best of your knowledge. "
                           THE COURT: Let me ask you this.                        Was there
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          Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 169 of 259




       anyt.hing you could ask to clean up this record that
       would be more satisfactory than letting Mr. Mysliwiec
       do it?
                            MR. MKHITARIAN: I could think about it'
                                   question would you ask?
                            THE COURT: What
                   MR. MKHITARIAN: I guess I could
        respectfully ask Paul if this is a question he wants
        me to ask that vrould clean it                 uP'
                            MR. GLERIA: Can I weigh in on thls?
10                           THE COURT: Sure'

1l                           MR. GLERIA: Mr' Myslir,riec asked the
t2      witnesstoident.ifyMr.Nissen,andld^idn'tobject
t-3     because it didn't rise to      I didn't wanL to
14      interrupt the proceedings ' But' I mean' that was a
IJ      reference to 404 (b) information, because the lady had
16      only seen    the witness had only seen the defendant
L7       onDecemberll.Heshouldhaveneveraskedherto
1-B      identify the wi-tness and then in the sarne examination
19       ask if she ever met him'
20                  THE COURT: WhY don't we do t"his' WhY

2L       don'L you     "You answered my question that you
 22      hadn,t seen Mr. Nissen, but you identified him, but
          you did see him at whaLever" you want to fill in
 Z4       the blank and let it go at that' ' That way it points
 25       out why you're asking this question' and if
                                                                                 MATN OFFICE
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    Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 170 of 259



                                          MR. MKHITARIAN: I just want to be careful,
                 Your Honor, if I ask her, "Did you id.entify him from
                 the picture. You had also seen him, r guess one time
                before.         tt


                          MR. MYSLIWIEC: I would sdy, "Did you also
                see him when he came to visit the office on December
                1l-?x we don't tark about the flowersr w€ don't tark
                about the bomb squad being calIed.
                                          MR. GLERIA: I think that's unnecessary
     10         because she testified                        that. she recognized him from
     11         the picture.

 ;d+*,                                    $'"}{S,,   CO.UBTI I dontt want to get a witness
                in trouble over this, and r think thatrs a perfectly
,rS, A          innocuous thing, and you get to ask the question to
                clear it up.r
                          MR. MKHITARIAN: your Honor, just in due
     L7        cauti-on, r don ' t know, because the wiLnes s hasn r L
    1B         been instructed" to not say anyt,hing about a bomb
    19         threat or anything Iike that.
    20                    THE COURT: you lead her. Just say. ,'This
    21         is a yes-or*no question."                           Just. lead. her.
    22                                    MR. MKHITARIAN: And t.he date is December
    23         LL?
    24                                    MR. MYSLIWIEC: Of the same year, ZOL}.
    25                                    MR. GLERIA: Can we take a break after

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          Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 171 of 259



        t.hat ?
                                                          take a break '
                                 THE COURT: Yeah, i're t 11
                                  (The following proceedings were held in
        open court.                   )


                                 THE COURT:     AII right,         Mr    ' Mkhit'arian,    do

         you have another question?
                                 MR. MKHITARIAN: Just to clear something
         up.
         BY MR. MKHITARIAN:
t-0           0. Now, going back to the way you identified
11       Mr.Nissen,YoUhadorigina}lyidentifiedhimby
L2       driver's license Photoi correct?
1-3           A. Be able to see who he was, Yes'
14             0. Now, a yes*or-no question' Is it also true
15       that you did see Mr. Nissen at the New Mexico Police
L6        station on December 11, Yes or no?
L7              A. Did I see him on December                              11?

IB             0.Correct.Didyouseehiminperson'either
19        through video or in person, to the best of your
20        knowledgre? Did You, yourself , witness Mr ' Nissen
21        there      ?

22                   A.               I believe it was        I'm not sure of the
23        date.
24             0. Okay. But yes or rlor did you also identify
 25       him by seeing him in Person?
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Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 172 of 259



                        A             Vac


                                      MR. MKHITARIAN: No further questions.
                                      THE COURT: Thank   you, Mr. Mkhitarian.
                                      Mr. Mysliwiec, any redirect of
                                      MR. MYSLIWIEC: No, sir.    Thank you.
                                      THE COURT: All_ right . Ms . Beuzekom, you
              may step down.
                         fs there any reason Ms. Beuzekom cannot                        be
              excused from the proceedings, Mr. Mysliwiec?
10                      MR. MYSLfWIEC: Nor $ir.    Thank you.
l-1                     THE COURT: Mr. Mkhitarian, can
L2            Ms. Beuzekom be excused from the proceedings?
13                      MR. GLERIA: yes, your Honor,
14                                   Al1 right" yourre excused from
                                      THE COURT:
15            the proceedingrs. Thank you for your testimony.
16                       AI1 right.  f need to give Ms. Bean a
L7            little bit of a break, so werre going to take a
1B            15-minute break and then werre going to gro about zs
L9            mi-nutes, and rr11 try to get you out of here around
20            5:30- But rrd like to keep us moving here so we do
21            what we committed to you and get this case to you in
22            two days.
23                                    So we're taklng actually our second break
24            during the Government's presentation of its case. but
25            I want to remind you of a few things that are
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          Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 173 of 259



        especially important. until the trial is completed,
        you're not to discuss this case wit.h anyone, whether
        it's members of your family, people involved in the
        trialr or anyone eIse. And that includes your fellow
        jurors. If anyone approaches you and tries to
        discuss the triat with You, please let rne know about
        it immedi-ately. Also, you must, not read or listen to
        any news reports of the trial.   Don't get on the
        internet and do any research for purposes of this
10      case. And finally, remember that you must not tal-k
1_1     about anything with any person who is involved in the
L2      trial, even if it doesn't have anything to do with
13       the trial.
L4                 If you need to speak with rl€r simply give a
15       note to one of the court security officers or
16       Ms. Bevel or Ms. Wright. I'1I probably repeat these
L7       before we go home tonight, but if I don't at any t.ime
18       in our breaks, do keep them in mind each t.ime we                do

t9       take a break.
20                 AIt right. We'II be in recess about 15
2L       minuLes, and then werll work about another 25 and
22        then call it a day.
23                   (The jurY left the courtroom' )
AA
LL*                 THECOURT:Allright'Anythingweneedto
 25       discuss before we take our break? Anything else I
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Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 174 of 259



             can do for you?
                                       MR. MYSLIWIEC: I just want to let you
             know, sir,                 we have Juan Cordova, who took the second
             half of that phone call. Then f plan to call Peter
             Ubbelohde from the F.BI. It's already in evidence,
             but to explain that Exhibit 8, which is the physical
             phone, is indeed Mr. Nj-ssen's phone and to read t.he
             fEMI number off the back so that folks can see that
             it matches the phone records. It will be very quick.
10                                     THE COURT: Anything else, Mr" Gleria?
1- 1-                                  MR. GLERIA: No, Your Honor.
L2                                     THE COURT:   All right..                We'Il be in recess
13          about 15 minutes.
1,4                                    (The Court stood in recess.                )

15                                     THE COURT: A11   right.                 Werll go back        on
16          the record. Anything we need to discuss before                                          we

L7          bring the jury in, Mr. Mysliwiec, Mr. UbaIlez?
1B                                     MR. MYSLIWfEC: No, sir.                  We    just   have
L9          those two witnesses left.   Mr. UbaIIez is groing to do
20          Officer Cordova. I don't know how many minutes, 10
2t          minutes. Peter Ubbelohde from the FBf is just to
22          match up t.he phone to !h" unique number we see on the
23          phone records; maybe five mi-nutes on direct,
24                                Anything we need to dI_scuss,
                                       THE COURT:
25          Mr. Gleria, Mr. Mkhitarian?
        SANTA IIE OFFICE                                                                                 MAIN OFT'ICL
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          Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 175 of 259



                               MR. GLBRIA: No, Your Honor.
                                   (The jury entered the courtroom.                   )


                               THE COURT: A11        right.                   Everyone be seated.
                               AI1 right.      Does the Government have i-ts
         next witness or evidence?
                   MR. UBAILEZ: Yes, Your Honor. The United
          States calls               New Mexico   State Police Officer Juan
          Cordova.
                                 Mr. Cordova, if you'11 come up
                               THE COURT:
10        and stand next to t.he wj-tness box on my right, your
11        1eft, before you're seaLed. my courtroom deputy,
L2        Ms. Wright, will swear you in.
13                                           JUAN CORDOVA,
1,4                  aft,er having been first duly sworn under oath,
15                   was questioned, and testified as follows:
16                         THE CLERK: You may be seated. Thank you'
17                         THE COURT: Mr. Cordova, Mr. Ubalj-ez.
1B                         MR. UBALLEZ: Thank VOU, Your Honor.
L9                                         DIRECT EXAMINATION
20        BY MR. UBALLEZ:
2L                   0.            Good afternoon.
22                   A.            Good afternoon.
               0.   If you could please int.roduce yourself to
24        the jury and let. them know where you work, in what
25        capacity.
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Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 176 of 259



                          A.
                        f'm Juan Cordova. I work for the                      New
              Mexico Stat.e police in Albuquerque.
                          0.
                         And what is your posit.ion with New Mexico
              State Police?
                         A.            I investigate cri_mes against children.
                     0.                And are you a sworn 1aw enforcement
              o fficer?

                         A.           yes, I am.
                        0.            How lonq have you been so?
 10                     A.            About five and a half years.
 11                     0.            Any prior law enforcement experience?
 \2                     A.            No.
 13               0. And so where                       what region are you
 14          assigned to?
 15              A. District 5, which encornpasses Albuquerque
 16         metro and the surrounding areas.
71               0. And what shift? werve been talking about
1B          an incident in November of 2or}. what shift were you
19          working back then?
20               A. Day shif t..
2L                    O.              What are the hours of day shift?
22                    A.T:00 to 4:00.
23               0.     So f 'm groing to direct your attention to a
24         specific day, the 26th of that month. Do you recall
)\         t.hat date ?
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          Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 177 of 259




                 A.          Yes, I do.
                  0.         And do you recall an incident that involved
       Mr. Nissen?
            A. Yes, I do.
                  0.         And where were you when that incident        came

        up?
             A.IwasinthesquadroominAlbuquerQleat
        the District 5 office '
             0. And" who came to you to bring you that
1_0      issue?
-LI                A.        Barbara Beuzekom'
L2                 0.        And who is she?
13                 She's an administraLive assistant'
                   A.
                                                         did
L4            0. And as a result of that interaction'
15       you sPeak with Mr. Nissen?
1_6           A. Yes, I did'
L7            0.   Did you caII him yourself' or did you
          receive the call?
               A. Qhen I walked into Ms' Beuzekom's office'
 20       Mr. Nissen was on sPeaker Phone                     "



         '      0.  Did you observe the number from which he
 22       was calling?
 aa
 LJ                'A.         Yes, I did'
                               on the phone' Do you recall that'         off the
 24             0.
  25       top of Your             head?
                                                                                    MAIN   OFFTCE
       SANTAFEOFFICE                                                     201  Thnd N\Y, Suite 1630
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Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 178 of 259



                       A.         I don't recall it off the top of my head.
                 O.               Did you produce a report. after your
           interaction with Mr. Nissen?
                       A.         Yes, I did.
               0. Was that closer in time to the actual
          events, November 26, 2A1B?
                       A.         Yes.
               0. And if you     and did you record on that
          report the specific number that he was calling from?
10                     A.
                     Yes, I did.
11             0. And would reviewing a copy of that report
L2        help refresh your recollection as to the specific
13        phone number?
14                     A.         Yes.
t-5                               MR. UBALLEZ: If I may approach, Your
16        Honor        ?

L7                                THB COURT: You may.
1_B       BY MR. UBALLEZ:
1-9            0.   f rm going to ask you to review this report
20        and let me know once you're done reviewing it for
2L        that phone number.
22                  Did that help refresh your recollection?
23             A. Yes, it did.
24                     0.         What is that?
25                     A.         (s0s) 819-1806.
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           Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 179 of 259



                                  MR. UBALLEZ: If I may approach the witness
          again      ?

                                  THE COURT: You may.
          BY MR. UBALLEZ:
               0. Was that the number that you observed on
          the screen on the phone saying what number the call
          was coming from?
                    A.            Yes.
                    0.            Was    there also caller            ID?
l-0                 A.            Yes.
11                  0.            What did that show?
L2                  Michael Nissen.
                    A.
               0.   I'm going to play for you what's been
14        marked as and admitted United States Exhibit 4.
15                  MR. UBALLEZ: And Your Honor, I'm going to
L6        put on the screen for the jury what we've marked as
L7        Unit.ed States Exhibit 4-A, a demonstrative exhibit,
1B              O. And f want you to tell- me who you hear in
L9        this audio.
20                                (Audio played.   )


2L             0.    There were two set.s of hellos there.                         Who

22        is the first?
23             A. The first was me. And t.he second was
24        Mr. Nissen.
25                   (Audio played.                )



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Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 180 of 259



                       0. was that the call that you took on November
                  26, 2018, following your conversation with Barbara?
                       A. yes.
                       0'   And those two individuals as you previously
                 identified were yourself and Mr. Nissen?
                             A.             yes.
                          During the course of that phone calJ_
                             0.
                well, how was that phone call recorded?
                     A. lrt's recorded on my digltar recorder that,s
  10            ts3ued to m6.
 11                          0.
                          Okay. So it wasn't through an automatic
 1a
 LL             system at the office?
 13                  A. No.
 14                  0. And had you pulled over Mr. Ni-ssen prj_or to
 1r
 -LJ           talking to hlm on November 26, 2O1B?
l_6                  A. No.
11
                     A. you,re" in fact, in a different type of
1B             investigation entirely; correct?
L9                   A. yes.
20                                         MR. UBALLEZ: If f may have a moment, your
2L             Honor     ?

22                                         THE COURT: you may.
23             BY MR. UBALLEZ:
24                   0. And would you characteri-ze anything that
25             Mr ' Nissen tord you during that recorded
                                                         phone carr
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             Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 181 of 259




       as a threat to              You?

            A. No.
                             MR. UBALLEZ: I'll Pass the witness'
                             THB COURT: All right'  Thank You'

       Mr. Ubal:.-ez.
                   Mr. Gleria, do You have
                   MR. GLERIA: Is it okaY' Judge?
                   THE COURT: Sure' Do You have

        cross-examination of Mr' Cordova?
10                                        CROSS _EXAMINAT ION

1l-     BY MR. GLERIA:
L2                 O.         Is it Sergeant Cordova?
13                 A.         No, sir, it's officer'
14                  Officer Cordova?
                   0.
I5                  Yes, sir'
                   A.
16            0.    Officer Cordova' how is it that you came to
L'7      speak with Mr. Nissen on the Phone?
 IB           A. I was j-n the squad room' and Barbara
                                                       me to
 19       Beuzekom came into the squad room' and asked
 20       take over this phone call that she was on '
               O' f'a the same phone call is unrecorded
                                                                            when
 2L
                                             you take the                    same
 22      ishe takes it; then suddenly' when
          qall on the same liner rlow it's recorded?
 24                  A.        Whenever I have a conversation wit'h
  25     !   somebody, r turn on my own personal digital
                                                                                      MAIN OFFICE
       SANTAFEOFFICE                                                       201 Thifd i\{\V, Suite 1630
       119 East MarcY, Suite 110
       Santa Fe, NM 87501
                                                                                  '
                                                                            -A.lbuorterrlue, NM 87I02
                                                                                      isost 8r&9{9-1
                                                                                 FAX t505) 8{3-9'{92
       (505) 989J9.19
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                                                 ffiOCIATES,,*                        1$0M69-9492
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Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 182 of 259



           recording.               So my recording begins when f start
           recording that piece of the conversation.
                     0.           What did Barbara Beuzekom tell          you? "Take
           this ca11"?
                A. She came into the squad room. She stated
           to me that there was somebody on the phone that was
          being    and f don't recall specifically exactly the
          wording that she said, but something to the effect
          that he was being combative or he was being hostile,
10        and she appeared to be upset over this phone call.
11             0. When you say "upsetr" why donft you
L2        describe that. Was she crying? Was she shaking?
13        How was          she upset?
14                   A.           So Barbara and         I talk to Barbara every
15        ciay.
L6               0.   I just asked you how she was upset. f
L7        didn I t ask you how
18               A. She's a very bubbly person. Shers always
19        smiling and laughing.                And when she came in, her
20        derneanor was different              on that day. She was not
2L        smiling, She had a very blank stare, a very serious
))        look to her, which was different than what she
23        normally is.
24              0.   I just find it j-ncredible that. a simple
)q,       phone call

      SANTAFEOFFICE                                                                        MAIN OFFICL
      119 East Malcy, Suite 110                                               201   'Ihird NW, Suite 1630
      Sauta Fe, NM 87501                                                        Albuquerque, NM 87102
      (505) 98949d9                                                                      (505) 84&949{
      rA-\ (505) 820-6349                      SSOCIATES,N.                          FAX (505) 843-9492
                                                   IftOTTS$OIAL COT.IRT
                                                                                         1s00669-9492
                                                     RS}|OnfiNGSERVICI:       e-nrail ilfo@litsupport.corn
          Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 183 of 259



                               MR. UBALLEZ: Objection.
                               THB COURT:      We1l, let's                see if he asks the
         question.
                               MR. GLBRIA: It is a question, tf you allow
         me to ask it.
                               THE COURT:      Hold on. .Tust ask                  t.he

         question.
         BY MR. GLERIA:
                    I find it incredible that a slngle phone
                      0.
         ctn}l can be to a police station or a police
        idispateher, or whatever it is, can be partially
         unrecorded, then recorded. fs that how it is at your
         'h,tationa
                    f don't know which phones are recorded in
                      A.
         the station. I know that dispatch phones are and so
         f orth.  But as f ar as what's recorded at t.he f ront
         desk, just citizens calling in to the main number. I
         don't know what the issue is wit.h the recording
         there. I just know that when I have conLact vrith
         citizens,                 f use my own digital         recorder and record
         that.
22                    0.           Yourre using a personal                Phone?
23                 It was a speaker phone in the office.
                      A.                                   Itrs
24       my own personal digital recorder that's issued to me.
25            0.   Is there a system in place now t.o record
     SANTA FE OFFICE                                                                                 MAIN OFFICE
     I 19 East Marcy', Suite 110                                                          201 Thn'd  N\\r, Suite 1630
     Santa Fe, NM 87501                                                                     ,{lbuquerque, NM 87I02
     (505) 989-d9d9                                                                                 (505) 84&9{94
     FAX (50$ 82G6349                            SSOCIATES,,*                                   FAX {50.5) 843-9,192
                                                                                                    1S0M69-9492
                                                   tR()rrs$orlt.C\olJRT
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Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 184 of 259



                cal1s        ?

                             A.
                          f don't know that, sir.
                    0. Now. when you spoke to Mr. Nissen       f
               mean, listening to the recording that we arl heard,
               he was complaining about his rights being violated;
               is that right?
                    A. yes, sir.
                            O.            He dj-dn ' t threat.en you r did      he   ?

                            A.
                         No, he didn't.
 10                O. Okay. And he didn't. use any                                       much
 l- l-        profanity; right?
 L2                A. He did.
 13                      O.               One time?
 14                      A.               Correct.
15                0.   Okay. And you didn't. take the call
L6           seriously because you hung up on him; isn, t that
L1           right.      ?

1B                      A.
                      I did hang up on him.
LY               o.   you hung up on him. you didn't
                                                      take it
20          seriously. you kept asking, ,,How can I help you?,,
21          Right       ?

22                     A.
                      Once. And what f sLated to him was, ,,f f
23         you continue to cuss at fi€z f rm qoing to hang
                                                           up the
24         phone." He starts calling us thugs, and so
                                                         forth.
25         Thatrs just    I hung up the phone on him.
      SANTA FS OFFICE
      I l9 East Mar-cy, Strite   1   l0                                                                MAIN OTFICE
      Santa Fe, NM 8750I                                                                   201  Third NW, Suite 16B0
      {505) 989-{949                                                                         Albuquerque, NM 82102
      FAX (50$ 820-634e                                                                                 (505) 84&9.19{
                                                        SSOCIATBSN.                               FAX {.r05) 8,{3-9192
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                                                           REltnnNosE&vlcti                e-nrail: info @litsupport.com
           Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 185 of 259




                  A.         think it was a serious call?
                              You didn't
                  I hung up on him when he st'arted cussing
                  A.
        and saying    calling me saying t'he police are
        thugs.
                                                                           I
               O. Okay. WetI, he cus$ed one time'
                                                                               mean'

         thisisoneoft,hemoretengthyrecordingsthatwe
         have.rt'slikefourpagesonthetranscript'Sohe
                                                         it.
         said the word',fuck,,one time; right? That's
                                                             He


         didn't repeat it over and' over; right?
10             A. Correct ' He said it one time '
1- 1-          0.    Okay. And you kept asking Loward the end'
                          why are you calling?"  Riqfht?
L2       ',What is it
13                   n
                    hr
                               YltrS.
                               !v!




               0.    "What can I do for you?" And
                                                   then you hung
L4

 I5       up; right?
 L6             A. Yes '
 1a
 LI             0.   Isn't it fair to say that you didn't take
 1-B      this caIl seriouslY; right'?
 1-9            A. No, that's not fair to say'
                         0.     That's not falt?
  2L                     A.     No.

  22                     0.     Did you contact some other higher-up at
  t5       your               in the police station to look into this?
   24                    A.         Yes, I did'
                         0.         You did? Who did You contact?
                                                                                           MAIN OFFICE
        SANTA FE OFFICE                                                         20i Thild N\tr/, Suite 1630
        119 East Marcy, Suite 110
        Santa Fe, NM 87501
                                                                                       '
                                                                                 Albttorterque, NM 87 102
                                                                                            isost 8t3-e494
        (505) 989-{9{9                                                                F.{X t505) 8'13-9{92
        FAX (505) 82G,6349                       SSOCIATES,,*                                140066$9492
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Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 186 of 259



                       A.
                      I researched if anybody else had contact
            with this person, and l-earned that another officer
            did have contact with this person, and f added a
            supplemental to their     to his report, and I learned
            that there was ongoing involvement with this person
            with regards to the other officer.
                 0.   Okay. And you don't know where Mr. Nissen
            was; isnrt that right?
                 A. During the phone call, sir?
10                    0.             Yes.
11                    A.
                     No, I did not.
L2             0.    He separated    it's a phone call; right?
1-3        I mean, he's in one place, yourre at your offlce?
14             A. Yes, sir.
15              0.   And the main message that he had was that
L6         he got stopped for no good reason; isn't that right,?
L7         I mean, isn't that what he said repeatedly?
1B              A. Yes.
t9                    O.             One page after another on this transcript?
20                    A.             Yes.
2t             0.   Didnlt he tell your quote, "What frm trying
22        to do 1s educate you guys because you canrt just pull
23        people over for no God good reason"?
24             A. Yes, that is what he said.
25                   0.              Okay. And he also referenced his          the
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      119 East Mar'ry, Suite   ll0                                          201 Thn'd   N\Y, Suite 1630
      Santa Fe, NM 87501                                                      Albuquerque, NM 87102
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      FAX (50.r) 82&6349                          SSOCIATESN.                     FAX (50$ 8d3-9492
                                                    !ffotTsstol|At cslJRT             1400669-9492
                                                     REFOtm$6SEnvlcf,,      e+nail info@litsupport"com
            Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 187 of 259



          violation of his constitut,ional rights. Isn't that
          also something he said more than once?
               A. I believe so.
               0.    frO then he complai-ned about having to go
          [o court to prove his innocence.. So you heard the
          call;          is that right?
                     A.         Yes.
                     O.         There  s nothing t.hreatening abouL it.
                                        I

                     A.         He d.idn ' t threaten rl€ r sir .
10                              MR. UBALLEZ: Okay. If I could just have                   a

l_ 1-      moment, Your Honor?
t2                              THE C0URT: You may.

13                              MR. GLERIA: No furt.her questions.
L4                              THE COURT: Thank  You, Mr. Gleria.
1-5                             Mr. UbaILez, do you have redirect of Mr'
16         Cordova        ?


L7                                          REDIRECT EXAMINATION

1-B        BY MR. UBALLEZ:
1-9               0. WhY did You t.ake this call?
20                A. f took this calt because I was on duty and
27          r was present, and r was the only officer, r believe,
22          t.hat was immediately available in the squad room.
 oa               0. When you asked Mr. Nissen what you could dc>
 24         to help him, did that come from a genuine interest in
 25         how you could helP him?

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                                                                                        MAIN OFFICE
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        FAX (505) 82&6349                         SSOCIATE$,*.                      FAX (505) 8{3-9492
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Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 188 of 259



      1                     A.         yes.
      2            0. When youtre describing Barbara, you were
      3       about to say something about interacting with her
      4       every day. I'd 1ike you to complete that?
      5           A. My interaction with Barbara     she,s a very
      6      bubbly person. She's always smilirg, and that, s
      1      generally    that's her character. She's always
      B     laughing and just smilirg, and she's generally happy.
      9     And my interaction that day was different, in that
 10         when she came in, r observed that she had" a very
 11         blank stare about her, she had a very serious
 1^
 LZ         demeanor about her, and she was coming in
IJ          speclficalry wanting he1p. she rooked to me that she
74          was in distress, that somethi-ng was going oor
 th
            different than my normal interaction with her.
16                      0.            What did she tetl      you?
11
LI                      A.
                      She stated to me that there was a person on
1B          the phone that was becoming combative with her. And
1-9        I don't want to use the word ,'combative,,' buL that,s
20         from     what r remember, that's what she was saying,
21"        that this person was upset, was becoming combative
22         with her, and he threatened to shoot her in the head.
23                                    MR. UBALLEZ: f f I may have a mornent, your
24         Honor        ?

25                                    THE COURT: you may.

      SANTA FE OFFICE
      I 19 East Marcy, Suite I   l0                                                      MAIN OFFICE
      Santa Fe, NM 87501                                                     201 Thtud N\4/, Suite 1680
      (50.5) 989*19d9                                                         Albuquerque, NM 87102
      FA-\ (50$ 820-63de                                                                (505) 84&9{9,{
                                                   SSOCIATE$,N.                   F,{X (505} 843-9.492
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          Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 189 of 259



                             MR. UBALLEZ: No further questions '
                             THE COURT: Thank You. Mr' UbalJ.ez'
                              AnYt.hing else, ' Gleria?
                                                Mr

                              MR' GLERIA: No, Your Honor'
                              THECOURT:AlIright'Mr'Cordova'you
       may steP down.
                  Is there any reason that Mr' Cordova cannot
        be excused from the proceedings, Mr' UbaILez?
                  MR. UBALLEZ: No, Your Honor'
10                THECOURT:Mr'Gleria'canhebeexcused?
11                MR. GLERIA: Yes, Your Honor'
L2                 THE COURT: A1I right'    You're excused from
13       the proceedings. Thank you for your test'imony'
L4                 WelI, what do You think?
t5                 MR. MYSLIWIEC: Very quick witness' Last
16       witness.
L7                              THE COURT: How quick?

l-B                             MR. MYSLIWIEC: I need him to read a number
t9       off the back of this Phone'
20                 THE COURT: Al1 right'

21                 MR. MYSLIWIEC: The United States calls
22        Peter Ubbelohde of the E'BI '
Z5                  THE COURT: Mr. Ubbelohde, Lf you'11 raise

 Zq       your right hand, before you're seated' Ms ' Wright
 25       will swear You in.
                                                                                          MAIN OFFICE
      SANTA FE OFFICE                                                         201 Thn'd   NW, Suite 1630
      I 19 East Marcy, Suite I 10                                               Albttqrterque, NM 87 102
      Santa Fe, NM 87501
                                                                                     -      (505)   8r&9r9-l
      (505) 989-49d9                                                                F.{.\   (505)   8$-9192
      FAX (505) 820-6349                        SSOCIATES,*.                                1400s69-9492
                                                     Pnolrsslox^r.   c{tar    e-urail info@litsuPPort com
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         Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 190 of 259



                                                   PETER UBBELOHDE,
                                after having been first duly sworn under oath,
                                was questioned, and testified as follows:
                                     THE CLERK: Thank you. please be seated.
                                        THE COURT:    Mr. Ubbelohde, Mr. Mysliwiec.
                                                  DIRECT BXAMINATION
                     BY MR. MYSLIWTEC:
                         O. Special Agent Ubbelohde, werre going to
                    it is after 5:00 p.m.r so we're going to narrow it
         10         down. can you confirm that you're an FBr special
         1_1        agent       ?

         12                     A.      f can.
         1-3             0. And are your in fact, Lhe case agent                     on
         \4         this investigation?
         15                     A.      f   am.

         16               0. '[nd "floes that mean that you managed the

+') .wtt
                   'iinvestigation and that you particlpate in other
         18         officers dolng their bits and pleces?
D,\{
         Le               A. Yes, it does.
,.Y*',                  0.   Through being a case agent, did you come to
rhL
  "
         20

f        21        obtain a phone from Mr. Nissen?
         22             A. Yes, I did.
         23             O. And did he agree with you that it is his
         24        phone that you obtained from him?
         25                     A.      f don't know that he direct          New Mexico

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               ll9EastMarry,Suite 110                                                        MAINOFNCE
               Santa Fe, NM 87501
                                                                                 201 Thn'd N\V, Suite 1630
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                                                                                           (505) 84&949{
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                                                         Rooftfi.scst&vKx,       e-urail: info@litsupporLcom
          Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 191 of 259




        State Police had his phone and some personal
        briefcase items when they detained him. They gave it
        to me. I believe he confirmed t.he bag was his, and I
        want to say the phone was inside the bag'
              0.   Okay. Without any further details on all
        that, it's your belief that frm holding in my hand
        Mr. Nissen's phone that I got. out of a bag Lhat's in
        evidence as Government's Exhibit B?
                   A.         Yes.
10                            MR. MYSLfWIEC: And may I approach, Your
1_1      Honor?
L2                            THE COURT: You may.

13       BY MR. MYSLIWIEC:
14           o.I'mgroingtohandyouGovernment'sExhibit
l-5      B. Do you see a number on there, even though it's
lb       veryfaintandsmallrcalledanlEMlnumber?
L7            A. IMEI?
                    n          Vac
                               rcD.
1B                  v.

t-9                 A.         Yes.
20             0.AndlknowthisisalsoVerysrnall,butcan
2L        youSeewhetherr'ltletA}exdothatpart.Can
22        you see whether the number on the back of the
          physical phone you're holding right now let's go
24        to the subscriber page matches the corresponding
 25       number on the subscriber page from T*Mobile, the one
                                                                                 MAIN OFFICL
      SANTA FE OFFICE                                                201 Thn'd   N\Y, Suite 1630
      I 19 East Malcy, Suite 110
                                                                       Albuquerque, NM 87102
      Santa Fe, I\tvI 87501                                                     (505) 84&9494
      (505) 98949.19
      FA-X (505) 820-6349                  SSOCIATESN.                     FAX (505) 843-9{92
                                                                                 1{00669-9492
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Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 192 of 259



           ending in L2?
                A. Yes, they match.
                O. And you were here when the T-Mobile
 4         representative said the number on the cal-1 record is
 5         the same except the l-ast dlgit is replaced with a
           zero?
                        A.        I was.
 I              0.   Oh, and then when we go to the cal] record.
 9         do you see in the top few phone calls some city
10         names, in the third column from the right?
1_1             A. Yes, f do.
L2              0. .f i.fSt' torrer city. Just because the jury is
13         from all overr cdrr you confirm that Edgewood is
14         further east than hijeras?
15               A. f can.
16            0. And that. Tijeras is further east                           tha,n
17        Eernalillo easdz
18                      A.        Yes.
19                      0.        And    that Bernalillo east is further east
20        than Albuquerque?'
2L                      A.
                    It is.
22                  So in this sequence of phone calls, does
                        O.
          this record represent a person who is traveling west
          lnaking these phone cal1s?
                        A.        That would be the assumption based on the
      SANTA T'E OFFICE                                                                       MAIN OFFICE
      119 East Marcy, Suite 110                                                 201 Thtu'dN\V, Suite 1630
      Santa Fe, NM 87501                                                          Albuquerque, NM 87102
      (505) 989-{9.{9                                                                        (505) 8.1&9494
      FA,\ (505) 820-6349                         SSOCIATES,n                         FAX (505) 8{3-9{92
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           Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 193 of 259



          different              towers.
                     Don't assume, but based on what you know
                       0.
          abouL t,he geography of New Mexico and based on what
          you know on the timing listed on these phone calls
          and the city, is each phone call successively west of
          the phone call before, unt.il we get to Albuquerque?
                       A.        Yes.
                                 MR. MYSLIWTEC:       I'11 pass the witness, Your
          Honor.
10                                   THB COURT:   AlI right.                   Thank your
11        Mr. Mysliwiec.
1.>                 Mr. Gleriar ony cross-examination of
13        Mr. Ubbelohde?
L4                               MR. GLERIA: No, Your Honor.
15                                   THE COURT:   All right,              Mr. Ubbelohde,         You

16        may step down.
L1                                   MR. MYSLIWIEC: And f'11 reLrieve Exhihit
1B        from him.
19                                    you for your testj-rnony.
                                     THE COURT: Thank
20                   MR. MYSLIWIEC: Your Honor, far evidence,
21        just wanL to make sure that Exhibit 6, a dict.ionary
22        definition, and Exhibit 7, some printed-out song
23        lyrics,           are in evidence, I think without objection.
24                            THE COURT: That's true.   Correct, Mr.
25        Gleria? Those are in.
      SANTA FE OFFICE                                                                                  MAIN OFFICE
      119 East Marcy, Suite I   l0                                                          201 Thn'd NW, Suite 1630
      Santa Fe, NM 87501                                                                     .4.lbuquerque, Nh{ 87 102
      (505) 989-{9d9                                                                                    (505) 84&9494
      FAX (505) 820-6349                           SSOCIATBS,'*                                   F,{X (505} 8{3-9{92
                                                                                                       1800669.9492
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Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 194 of 259



                                        MR. GLERIA: yes, your Honor.
                                        THB COURT: Those
                                           are in evidence.
                        MR. MySL,WIEC: That,s what we have, your
               Honor. The Government rests.
                                        fHE COURT: So the Government rests.
                                        Why don't we stop for the evening, and
               werll come back tomorrow.
                          Let me talk to the attorneys real quickly
               herer dfld then I'11 1et everybody go.
 10                     While they're coming up, I,m going to
 l-1          remind you of a few things that are especially
 L2           important, because we are taking our first break for
 -LJ          the evenlng here.
 74                    Until_ the trial is compleLed, you,re not to
15           discuss the case with anyone, whether itrs members of
L6           your family, people involved in the trialr or
                                                            anyone
1_7          else, and that includes your ferrow jurors. so if
1B           you qo home and yourve become good friends,
                                                             donrt get
l_9          on the internet and tark to each other about this
20           case. Just go home and relax tonigrht. If anyone
21          approaches you and tries t.o di-scuss t.he t.riar- with
22          You, please let me know about it immedlatery.
23                     Alsor 1zou must not read or listen to any
24          news records of the tria1.    Again, don,t. get on the
25          internet and do any research for purposes of this
       SANTA FE OFFICE
       I 19 East Mar.cy, Suire   l l0                                                      MAIN OFFICE
       Santa Fe, NM 87501                                                     201 Thil.dNW, Suite 1630
      (505) 989-4949                                                           Albuquelque, NM 87102
      FA*\ {505} 82&63de                                                                 (505) 84&9494
                                                   SSOCIATBS,-..                    FAX (50.t) 843-9_192
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            Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 195 of 259




         case. And finally, remember you must not talk
                                                         about
1

2        anything with any person who is involved in the
                                                        wit'h
 3       trial, even if it doesn't' have anything to do
 4       the trial.
 5                  If you need to speak with fiie r simpty give a
 6        note to one of the court security officers'
  7       Ms. Bevel, Ms. Wrighl'
  t,                I'II try not to repeat these every t'ime we
                                                          quickly
  9       take a break, but we are moving along pretty
1_0       so I probably will, ds we go to d'ifferent sLages'
                                                           case in
1_ 1_     keep reminding you of these' so we bring this
12         for a good landing'
13                   Let me speak to the attorneys just a                  moment

L4         heretotrytodecideonschedulinginthemorning.
15                    (The following proceedings were held at the
 16        bench.        )


 L7
                                       all need to do anYthing
                                 THE COURT: Do Y'
                                                           before
 1-B        before You Put on Your case , or will You rest
 19         the jurY?
 20                               MR. GLERIA:   NO.

  n1
  LL
                                       right'
                                  THE COURT: A11So are these iury

  22         instructions in good enough shape? ,I added an
                                                We didn't have one
  Z5         *ntErstete commerce instruction'
             in there. and the advisory notes to 875 suggested
                                                                 we
    24
                                                              is
    )q       use orl€r so I used the one there' Also' there
                                                                                      MAIN OFFICE
         SANTAFEOFFICE                                                     201 Thil'd NW, Suite 1630
         119 East MarcY, Suite I 10
         Santa Fe, NBI 87501
                                                                                  '
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         (505) 989-{9d9                                                          FAX (505)   843-9'192
         FA-X (50$ 820-6349                      SSOCTATES'*                            1S00s69-9492
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Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 196 of 259



            that. instruction about not. considering anybody else
            might be guitty of a crime. r just don't think those
            paragraphs are very appropriater so I pulled" them
            out. rf somebody thinks     rrm afraid if r give it,
            it might cause them to wonder.
                                   MR. GIBRIA: f agree.
                                   MR. MYSLIWfEC: That's usually         it,s      an
            unusual fact pattern to be clean of one defendant.
                       MR. MySLTWIEC: One thing I'd like to do,
 10        whenever the Court thinks is the best time, but
 11        outside the presence of the Jury, is if we could
L2         inquire of Mr. Gleria on the record in a way that. Mr.
13         Nissen can hear to confirm that Lhey've consulted and
14         it I s his choice not to testify, even though he has an
15         absorut.e right if he wants to. r don't want him to
L6         be unf airly saying that "lily lawyer wouldn r t 1et me. "
L'l        I want to protect the record.
1B                                 THE COURT: We'11     do that maybe first. thing
19         in the morning.
20                                 MR. GLBRIA: Thank you.
21                                      I just have them all
                                   THE COURT: Shoutd
22        back here at 8:30, and wetll try to get started at
23        B:30r or build in 15 minutes?
24                  MR. MYSLIWfEC: I have one thing to bring
)q        up, so maybe B:45 or 9:00. r will absolutery be here
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                                                                                      MAIN OFFICE
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      rAx (505) 820-6349                       SSOCIATESN.                     FAX (505) 843-9{92
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                                                  RE}tnflNtSC&?tCli,     e-mail: infio@litsupport"corn
          Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 197 of 259




 1      at B:30.
 2                                do You think? 8:45 or
                                  THE COURT: What

 3      g:00? I don'L mind bringing thern back at B:45. And
 A
        that        way

 5                                MR' MYSLIWIEC: Sure.
 6                              -- if they have to wait' Irll
                                  THB COURT:

 1       te}l t.hem theY have to wait.
 8                  MR. MYSLIWIEC: My thing is not long' I
 9       have one thing to bring uP.
10                                MR. GLERIA: ls there something else?
l_1                            I'1I give You a seL of jury
                                  THE COURT:

t2       instructions.  Take them home and if you see
13       anything, shoot me an email. Tel1 me if you have any
L4       objectionsorthoughtsorSuggestionsoranything.
t5       But if you'1I wait a minute here, we'11 try to give
16       you a set before You leave.
L'l                MR. MYSLIWIEC: Yes, sir'
1B                  THBCOURT:A}lright.Letmetalktothem
19        and get them out of here then'
20                   (The following proceedings were held in
2t        open court.                  )


22                              I'm going to let you go' And
                                   THE COURT:

23        normally I'd bring you back about B:30, but I think
 24        I,mgoingtohaveaboull-5minut.esofwork.Soif
 25        youwillbeinthejuryroomatB:45,thatwillgive
                                                                                       MAIN OFFICE
      SANTA FE OFFICE                                                      201 Thn'd $\\r, $uite 1630
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Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 198 of 259



     1        me about 15 minutes to work with t.he lawyers and the
     2        parties.               And t.hat wdy, you won't just be waiting.
               There is a possibility             you may have to r,*ait a little
              bit, but f'm estimating that f need about 15 minutes
  5           with them in the morningi. So if you'd be in the jury
  6           room about B:45. ready to go. Ms. Wright and
  7           Ms. Bevel will have some goodies in there for your so
  I           it won't be wasted tlme if you come a little early.
  9           But try to be there about. S:45, and I'11 try to have
l_0           my work done and ready for you at that time.
11                                   Thank you for your hard work. Be safe            on
L2            your t.ravels. It's been cloudy back over there.
13            It's windy. But f guess wetve got our afternoon
1,4           monsoons.
15                      All right.   y,all have a good afternoon.
L6            Thank you for your hard work.
L7                      (The jury left the courtroom. )
1B                                   THB COURT: A11    right.
                                              Anything we need to
LY           discuss before we take our break? Anything else I
20           can do for you?
21                     MR. GLERfA: yes, your Honor.
22                                   THE COURT: yeah.
23                                   MR. GLERIA; I would like to leave most of
24           my stuff.
25                                   THE COURT: You    can leave it, here.
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         119 East Marcy, Suite 110                                            201 Thnd NW, Srrite 1630
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          Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 199 of 259



 1                            MR. GLERIA: IrlI      wait for the jury
 2       instructions.
 3                            THE COURT: EverYbodY             is gone. Court
 4       security is ready to go home. Weire done.
 tr                MR. MYSLIWIEC: One thing I'11 ask, Your
 6       Honor, is if the defense wants to do their Rule 29
 1       motion tomorrow morning. It's pretty late today'
 B                 THE COURT: Yes, we'11 do it tomorrow, if
 9       you want to. If you don't have a motion, we'll take
10       up whatever else.             Anything else, Mr. Mysliwiec?
11-                            MR. MYSLIWIEC: No, sir.  Thank You'
12                             THE COURT: AnYthing else, Mr'. GIeria?

13                             MR. GLERIA: No, Your Honor.
14                             Al1 right. Y'alI have a good
                               THE COURT:
15       evening. f appreciate your hard work. Would yrall
16       just wait to pick up these copies? we'11 hand them
L7       to your so you can take them home with you'
18                 Mr. Gleria, would you waitr so we can give
19        you a copy of the jury instructions?
20                  MR. GLERIA: I'm waiting.
21,                 (The Court stood in recess')
22

23

24

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 Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 200 of 259


  1         UNTTED STATES OE AMERICA
  2         STATE OF NEW MEXICO
  3

  4                                  C.E-R-T- I - T_ I-C.A-T*E
  5              I, Jennifer Bean, FAPR, RDR, CRR, RMR, CCR,
  6        Official Court Reporter for the State of New Mexico,
  1        do hereby certify  that the foregoing pages constitute
  I        a true transcript, of proceedings had before the said
  9        Court, held in the Dist,rict of New Mexico, in the
1,0        mat.ter therein stated.
L1              In testimony whereof, I have hereunto set              my

1"2        hand on this 19th day of November, 2019.
13

L4

15                                  Jennifer Beil:, FAPR, RMR-RDR-CCR,      CRR
                                    Cert.ified Realtime Report,er
L6                                  United States Court Reporter
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18                                  Phone: (505) 348-2283
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19                                  License expires: 72/3L/L9
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Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 201 of 259
Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 202 of 259



          1                            THE UNITED STATES DISTRICT COURT
          2                            FOR THE DISTR]CT OF NEW MEXTCO
                  UNITED STATES OF AMERICA,
                                          Pl-aintiff,
                            vs.                 NO:       1:19_CR_0007"t_JB
                 MICHAEL NISSEN,

                                          Defendant.
       I
       9                                                DAY      2

     10               Transcript of Triar- proceedings before The
     11         Honorable James o. Browning, united states District
     1n
     LL         Judge, Albuquerque, Bernalillo County, New Mexico,
 13             commencinq on August 'l , ZOLT.
 14             For the plaintiff:  Mr. paul Mysliwiec
 1tr
                                    Mr. Alexander Uballez
 -LJ

                For the Defendant: Mr. Kenneth Gleria
 16                                 Mr. Jake Mkhitarian
 17

 1B

1-9

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a1
                                Jennifer Bean, FAPR, RDR, CRR, RMR, CCR
LL                                    Certified Realtime Reporter
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          Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 203 of 259



                             THE COURT:   A1I right '          Good rnorning'

       everyone. I appreciate everybody making themselves
       available to me this morning' Does Mr' Nissen have
                                                      jury
       anything he needs to raise before we bring the
       in?
                             MR. MKHITARIAN: No, Your Honor' His
       familybroughthimadifferentshirttoday,didn't
       wanL him sitting in btack today. I would
                                                   just ask

       that he be allowed to change into that shirt '
L0                THECOURT:AlIright'sowhenthe;ury
11      comes in, Mr. Nissen r^li1l rest?
L2                MR. GLERIA: Yes, Your Honor'
1-3                          MR. MKHITARIAN: Yes' Your Honor'
L4                              All right'
                             THB COURT:    Well' Iet's talk
1q      about jury instruct'ions ' What does anybody have
1-6     any? The ones that were passed out to you should
tl      have had a different cover sheet' It should have
1-B     said "CourL's second proposed jury instructions'"
1-9      Are there any changes to them?
20                 MR. GLERIA: We have the Court's first'
2L                 THE COURT: It saYS first' but it's
 22      actuatlythesecond.Itjustdidn'thavetheright
 23      cover sheet on it,. So the ones that you got last
 24      night, t.hey say first, but' it should say second'
 25      because, remember, you got one in the morning'
                                                                                            MAIN OFFICE
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Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 204 of 259



                                     MR. GLERIA: On the internet?
                                  Well, we handed it to you when
                                     THE COURT:
            you came in in the morning yesterday, so that was the
            first set. And then we revised it. Remember, we
            talked about taking out the expert,?
                      MR. GLERIA: yes, your Honor.
                                     THE COURT: So we made changes throughout
            the day. So at the end of the day, this is what I
            handed out. So it says Court's first, but it
10          actually reflects that we took out some paragraphs
l-1         of, donrt consider the guilt of other people, things
L2          like that.- pe changed "polj-ceirr !{e made changes
13         throughout the day, so this was t,he one that was
L4         resolved. rt wilt be clear on the cM/ECr. But the
15         one you got    do you have any changes,
L6         Mr. Mysliwiec?
L1                                   MR. MYSLIWIEC: No, everything we had has
IB         already been incorporated.                      Thank you.
19                                   about you, Mr. Glerla? Do
                                     THE COURT: How
20         you have any changes? Mr. Mkhitarian, do you have
27         any changes to the set that was handed out last
22         night ?
23                                   MR. MKHITARIAN: No, your Honor.
24                              A1l right.
                                     THE COURT:
                                            So other than the
25        cover sheet, that wilt be the jury instructions r
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                                                                                      MAIN OFFICE
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      FA*X (505) 820-6349                         SSOCIATBS,,*                   FAX {505} 843-9492
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          Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 205 of 259



        give.          Does anybody need to make any                      besides
        sugqestions, commenLs. criticism, anybody                           need to
        make any objections for the record?
                  MR. MYSLMIEC: f don't know if                             f    have

        objections, but the two things r wanted                                 three
        things I wanted to talk about. One was if                               the
        defense wanted t.o make a Rule 29 motion, I f igure
        before the jury get.s lined uP, t.his may be the best
         time to do thatr so t.he jury doesn't have to wait on
10       us doing that at. the bench in some less ideal way.
1_1                 The next thing is, I would like for the
1"2      court to inquire on the record of counsel about
t3       fff. Nissenrs knowing and voluntary decision not tA
74
1q                             THE COURT:       AlI right'
L6                             MR. MYSLIWIEC: Then the third thing is'
L7       whenever the Court wants to hear about it, I'd like
1B       to preview some concerns that I have based on lines
L9        of questioning that the defense has pursued during
20        the presentation of evidence yest.erday that I hope
2L        won't mature into illegat argurnents contrary to the
22        judge's instruction to be made during closing
1a        argument.
24                              A1I right'  We}l, anything
                                   THE COURT:                                                you

 ,q       want to do on a RuIe 29, or do you want to go
                                                                                                 MAIN OTFICE
      SANTA FE OFT'ICE                                                                201   Thid NlV,   Suite 1630
      119 East Marry, Suite I l0
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      (505)   98949{9
      FAX (505) 820-6349                          SSOCIATE$N.                               FAX (50$ 843-9492
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Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 206 of 259



              straight to the colloquy with Mr. Nissen?
                                         MR. MKHITARIAN: f agree wlth the United
              States.                f think since we haven't officially
              resLed                  wellr w€ haven't rested yet.
                                         MR. GLERIA: They havenrt rested.
                                         THE COURT: They   did rest yesterday.
                                         MR. GLERIA: Okay.
                                         MR. MKHITARIAN: So I agree with pau1. I
             do believe that hashing out Mr. Nissen's right to
10           testify would probably be appropriate first. and then
1- 1-        the defense would rest and then
L2                     MR. GLERIA: Nor we need to do the Rule 29.
13                                       MR. MKHITARIAN: Then the Rule 29.       Or the
L4           Rule 29 first, then Mr. Nissen's colloquy r*ith regard
15           to his right to testify, and then we would rest.
1,6                    THE COURT: ff yourre going to make a Rule
L'7          29, why don't you proceed to do it?
l_B                    MR. MKHITARIAN: Thank you, your Honor.
19           With regard to the previous motions that were filed,
20           specifically the Eirst Amendment motion, your Honor,
2L           I do believe there has been testimony by the officers
22           that they were trained on this type of political
23           speech, that they knew about it, t,hat they agreed
24           that Mr. Nissen was making pol-itical argiuments with
25           regard to their jurisdiction over him. And with
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          Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 207 of 259



 1       respect to that. Your Honor, with t.hem recognizing
 2       that it is an actual, legitimate political stance
 3       t.hat they commonly deal with. and Mr. Nissen calling
 L+
         to complai-n, citing various laws, his First
 5       Amendment, Second AmendmenL, Fourth Amendment rights
 6       that were violated, him exaggerating and ranting
 7       about the consequences regarding future violations'
 B       you know, Lhreats made in regard to future
 9       violations, Your Honor, not unlike threats that are
1_0      made every day: If you trespass on my propertY'
1l        you'll be shot. If you break into my house, You
t2        know, I will kill you. Things like these, threat.s
13        like these, Your Honor, are made every day and are
14        protected by free speech.
15                   The fact that he didn't call with regard to
16        make a threat only, the fact that he was making
L7        political- statements, was trying t,o educate them and
1B        exercising his right to educate them with regard to
1-9       what. he believes their duties werer Yclur Honor, I.
20        'thlnk at a bare minimum would a1low for an acquittal
2L         Of Count 1 r^rith regard to the conditional threat to
22        :pigs, Your Hono:r. No specific person wa$ mentioned.
         , It was conditioned on future right,s being
                                                       violated'
24         and I would argue that my previous motion entered in
2q        the courL's records that we have referred to decide
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         Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 208 of 259



                           today should at reast dismiss count l, that being for

<f l.                      the reason of being a political argument, not
   0_-




,M
?"W^
                           serious, conditioned on future actions, and clearly
                           exaggerated. So I would renew that motion for at
Dlr              ;         least Count L, Your Honor.
                                                  THE COURT:   All right.               Thank your
                           Mr, Mkhitarian.
                                      Mr. l'4ysliwiec, do you have a response to
JY\9                       t.he Rule 29 motion?
 lYP"     10                          MR. MYSLIWIEC: We do, your Honor. And
          11               r'11 try to make it brief, because r know the court
          L2               has been paying crose attention to the evidence and
          13               knows the law very wel-l.
          14                                      The first
                                               element, knowingly transmitted a
          L5              communi-cation containing a threat to injure the
          L6              person of another. Mr. Nissen dialed the phone.
         L7               That's an intentional act. I,{e have the phone records
         1U               in that show all the calls to New Mexlco stat.e police
         LY               were outgoing calls from Mr. Nissenrs phone. we have
         20               t.he evidence that that was indeed Mr. Nissenrs phone,
         2T               that it was his phone number, that the unique factory
         a.)
         z- z-            identifier for t.he phone showed that it was his. so
         23               knowingly transmitted communi-catlon. The jury can
         24               reasonably find t.hat and indeed shoul_d.
         25                          Containing a threat to injure the person of
                     SANTAT'EOF'FICE
                     I 19 East Marcy, Suite 110
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          Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 209 of 259



        another. "I'm going to put a bu1let in that fucking
        pig's head. I'm going to pu}l out my revolver and
        put that motherfucker drop dead, and f'm going to
        shoot you in the fucking facer" are alt true threats.
        we know they're t.rue threat,s because we look at the
        court's instruction for what a true threat is. It's
         a serious statement expressing intent to instill   fear
         which, under the circumsLances, would cause
         apprehension in a reasonable person as dist.inguished
10       from mere political argiument, idle taIk,
11       exagigerat.ionr or something said in a joking manner.
L2       There is nothing joking or idle about the threats by
l-3      an armed man to shoot people in the face or put
L4       bullets in their head. He may or may noL
15       subjectively have intended to do those things, but                     on

L6       their face. they're a true threat that goes to the
L1       j ury.
1B                 second el-ement. Mr. Nissen transmitted the
1-9       communication with t.he intent to make a threat or
20        with kh6wledge that the communication will be vj-ewed
2L        as a threat,. In reverse order, knowledge means
          x



22        something done voluntarily and int.entionally, not by
23        accident or mistake, This is not a miscommunication
z4        case. This is not a case like El0nis where             someone

25        posted song lyrics that, a recipient took in           a

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Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 210 of 259



            threatening manner but rrtay or may not have been
            intended that way. These statements were conveyed
            directly, and Mr. Nissen conveyed thern knowing that
            any reasonabl-e person who heard them would take them
           as a threat.
                                  Additionally.
                                      he subjectively intended them
           as a threat. when you look at the evidence in this
           case, Mr. Nissen was upset that he had been
           traffic-stopped.     He was upset that he had been
L0         uiritten a citation.    He was upset that he had a court
11         date as a resurt of having been written a citation.
L2         And so the only motive that makes sense for him to
t3         have made these threats is in response t.o that porice
L4         action, and in an attempt to avoid the legal
-LJ        conseguences that he thought he shouldnrt be subject
16         Lo, because he believes State police don't have any
L7        right to write him tickets or haul- him into court.
18        He was very upset, yotr heard, on the recorded call
LY        with Juan Cordova, Exhibit 4, that he had a court.
20        date, and he was very upset that he felt that he
21        would have to qo to court and prove his i-nnocence,
22        when he dldn't think the guy had the right to draft
23        him a ticket in the first place. so that qoes to the
24        juryr ds we11.
25                                Third, that a pommunication was transmitted
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          Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 211 of 259




        *n interstate commerce. we have the testimony of
        Kenneth Lecesne from T-Mobile matching up the phone
        to the phone numbers, to t.he phone call 1og, to show
        that each of the calls j-n question     the second call
         to victoria Gurule on November 24 and t.he call to
         Barbara Beuzekom that later got transferred to Juan
         Cordova on November 26 of 20tB    both went through
         switch Tango Tango Tango Alpha Sierra 005, which is
         in P1ano, Texas. You have Kenneth LeCesne I s
L0       testimony that the calls could not have been
l-1      completed or transrnitted rarithout the switch, and
L2       therefore, that each of those ca1ls went from New
1-3      Mexico to the switch in Plano, Texas, back to New
14       Mexico to be received by victoria on November 2 and
15       Barbara on November 26. And that's enough to go to
L6       the jury on t,he third element for each of the two
11       counts.
1-B                          So I don't want to take up the Court's
L9       time. The court is going to hear a                                longer version of
20       all t.his in closing arguments, too.                               But subiect to
a1       the Court's questions, that's why I                               think the
22       defendanL,s RuIe 29 motion must fail                               as to each of
23        the two counts.
24                               THE COURT:   All right.                 Thank Your
25        Mr      Mysliwiec.
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Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 212 of 259



                        Mr. Mkhit.arian, do you have anything
      2       further on the RuIe 29?
                        MR. MKHf TARIAN: No, your Honor, nothi-ng
             outside of the motion that's arready been filed.
                        fHE COURT: Well_, I wil1 try to give you
             orders, opinions on those t.wo motions. we left them
             for this moment in this trial.   r don,t know this
             area of the law extremely well, but I think the
             pattern instructions reflect what. the Tenth clrcuit
 10          has done in this area, that the jury gets to decide
 1l-         whether the talk. the speechr wds political argument
 L2          or it was something else. And that's the way we have
 13          the jury instructions writ.ten, and I think they
 14          reflect the Tenth Circuit ]aw on this.
 15                    I think if the evidence were al1 one way in
 16          this case, that it was alr political arqument, that r
 L7          courd grant a directed verdict. But r think the
1B          evidence taken in the liqht most favorabre to the
19          united states, which is what r have to do at the Rule
20          29 staqe, there is evidence that some of it was not
21          politicar speech and that it was more than political
22          speech, but it was    there is evidence that it was a
23          threat, and that he berieved it to be a t.hreat, and
24          that the officers                  took it as a threat.
,q.
                                      So I think there is evidence that the jury
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          Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 213 of 259



        could conclude beyond a reasonable doubt that
        Mr. Nissen is guilty of the crimes charged. so Irm
        not going to take it away from the jury' f'm going
        to submit it to the jury. I'm goingr to Lake' in a
        calmer moment, when we're not in the middle of a
        trial and look a little bit at the law so I
        understand t.his area a little better. But I think
        Lhe Tenth circuit pattern inst.ructions that" we're
        submitting do reflect accurat'ely the law as I
10      understand it, and t.hat I Bh-o,uld not take this away
t1       from the jurY.
L2                  Sor'llnotgranttheRule29motionsand
13       at a tittle bit calmer time, I'11 try to issue
L4       opinions and orders that reflect more fully what I
15       think the law is on this issue '
16                 Allright.Mr.Nissen,Ithinkthisisthe
11       col}oquythatallthe}awyersneedmetohavewith
l-B      you. You understand that in the united states.                     YOU


19        havearighttotakethest,andandtestifyinyour
2A        own defense. You understand that?
2L                              THE DEFENDANT: YCS.
22                                  right'  And Lhat's a
                                THE COURT: A11

23        decision you make. It's not a decision Mr. Gleria
24        makes. It.s not, a decision Mr. Mkhitarian makes.
2\        Itrs cerLainly not a decision the Government makes,
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Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 214 of 259



     1         and ltrs not a decisj-on I make. It's a very personal
     2         decision that you make, and you have. And do you
     3         understand that you and you alone are the one?
     4         Everybody can advise you. There is not.hing wrong
     5         with advice from counsel. But you understand this is
     6         a decision you make, and it's one that you make
     7         alone.
     B                                   f do understand,
                                      THE DEFENDANT:
     9                   THE COURT: And have you had a chance to
10             discuss with Mr. Mkhitarian, Mr. Gleria
1_   l-                  THE DEFENDANT: No, I haven,t.
L2                       THE COURT: 0kay. Do you want. to take a
13             moment to talk to them?
14                                    fHE DEFENDANT: yes.
1_5                                   THE COURT: A11    right..                And if   you decide
16             to take the stand, then I think everybody is in
L7             agreement you have the right to do it.  And if you
1B             decide that you don't want to take the stand, you're
19             the only one that can make that decision, too.
20                                    So why don't y'all
                                              take a moment and maybe
21,           we can deal wit.h this shirt issue, too, and then
22            we | 11 hear from Mr. Mysliwiec about it.

23                        (The Court stood i_n recess. )
24                                    THB COURT: A11 right. We'll gro back on
)q            the record.               Mr. Nlssen, have you had an opportunity
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          Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 215 of 259



         t.o talk to Mr. Mkhitarian and Mr. Gleria about
         testifying                today?
                               THE DEEENDANT:Yes, I have.
                               THE COURT: What's Your decision,
         Mr. Nissen?
                               THE DEFENDANT:       I don't think f want to
         testi fy.
                                Atl right. OkaY. And
                               THE COURT:
         Mr. Mysliwiec, is t.here any further colloquy that you
1-0      want me to have from the Govqrnment's standpoint with
1-1      Mr. Nissen?
L2                             MR. MYSLI|fIEC: No, sir.                       If the Court is
13        satisfied, I think that's all we need.
L4                  THE COURT: How about Vour Mr. Gleria,
15        Mr. Mkhitarian? rs there anything further you'd like
L6        for me to ask Mr. Nissen?
L7                  MR. GLERIA: No, Your Honor.
IB                                 THE COURT:   AlI right.                  Thank You,
19        Mr. G1eria.
20                  Mr. l4ysliwiec, You had some issues you
2t        wanted to raise about Lhe closing arguments?
22                  MR. MYSLIWIEC: Yes. There are two lines
23        of questioning that the defense pursued yesterday,
24        one of which I definitely timely objected to, but the
25        witness was abl-e to answer t.he question upon the
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Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 216 of 259



            overrulj-ng' of my object.ion. And the other one I
            think I objected to, but I'm not sure.
                        The first is: We know that. the law does
            not require that anybody know or expect that their
            pommunication crossed state lines.                 That is simply
            not the law in this circuit.                 we have to prove that
            the pommunlcat,ion did croq.$ state lines, and we did.
            And if the Court looks at instruction g, the
            knowingly mens rea is not applied to the interstate
            commerce el-ement. And so r don't want to hear during
            glosing argument any i11ega1 statement that defendant
           should be found not gullty because he didn't knovl
           that the communication crossed state lines or that                        he
           didn I t intend for the communlcat,ion to cross state
           li.nes or that he didnrt expect the communicat,i-on to
16         cross state lines.
L7                   The defense has a lot of leeway in arguing
1B         what elements were proven by the facts that were
l-9        presented and the evidence that was adduced at the
20         case. But what the l-aw requires is not a
21"        he-said-she-said element subject to arqumenL, and the
22         courtrs instructions on what the constitution demands
23         and what the law prohibits and what. the law allows is
24         not subject to argument of the parties. rt is the
25         truth.           rt is the excrusi-ve province of the judlciary
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               Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 217 of 259



             to determine what the law is.
                       So that's one illegal form of argument I
             would prefer not to hear, and I'd like the courL to
             ask that it not             haPPen.
                                   THE COURT:   Welt, Iet's hear anybody              are
              you doing closirg, Mr. Mkhit.arian?
                        MR. MKHITARIAN: Yes, Your Honor'
                        THE COURT: Do You intend to make any
              argument along the }ines Mr. Mysliwiec is concerned
1_0           about      ?


1-   l-                             MR. MKHITARIAN: I was going to mention it
L2            briefly.  It wasn't going to be the focus of my
13            closirg, and r guess my response to t.hat would be
L4            that, Your Honor, I think that. the instructions are
15            clear. I agree with the United States that it
L6            doesn't require an intent element. I don't think it
LI            prohibits me from arguing that Mr. Nissen had no idea
1B            t.hat. it was going to cross interstat.e lines. If they
LY            follow the instruction and they convict him based off
20            of the inst.ruct,ions, and I'm sure Mr. Mysliwiec will
21             tell       them Mr. Nissen doesn't have to know it goes
 22            across state lines, but I don't necessarily think it
 ./.   3       prohibits me from arguing that there is no way he
 24            could have known that it was going to do that '
 25                      The T*Mobile expert stated t'hat the only
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Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 218 of 259



            way you could find out that it even does is when a
            subpoena is filed                        and you get the actual switch
           information back. So I think it's clear that      I
           mean, T, for one, didn't know that it does that, and.
           it's probably safe to say that Mr. Nissen didnrt know
           that. ftrs a statement of fact. So whether or not
           that's an element in t.he case    I mean, there's tons
           of things that are not elements in the case that
           we're going to argue: Whether it's political speech,
10         whether                    political          speech is not defined.         you
1l         know, rants. exaggerations are not defined. But I
t2         don't think it prohibits Mr. Nissen from touching on
13         them and moving on.                          f would keep it as a factual
14         assertion that                            based on what the T-Mobite person
15         already testified                         to, and then I'm going to move on.
16         I'm not going to make it the focus of my closing
L1         argument, Your Honor.
IB                                       you agree t,hat you shoul,d
                                     THE COURT: Would
L9        not say that the jury should not find him        shoul-d
20        find him not guilty because he did not know that it
21-       would 'bross interstate linesf
22                                   MR   .
                                     I. wi ]- 1 not make thAt
                                              MKH   I TARTAN   :
23        statement. I will say that Mr. Nissen did not even
24        know it was going across state lj_nes,.
25                                   THE COURT:          I think that's where Ild draw
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              Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 219 of 259



     1       the line.
     2                            MR. MKHITARIAN: Yes, Your Honor.
     3                              Don't put me in a situation'
                                  THE COURT:
     4       Just be caref uI about r$e . Don't put me in a
     5       situalion where I have t.o correct what you argue ' I
     6      ,don't want to do that. You don't want me to do that.
     7                            MR. MKHITARIAN: Yes, Your Honor.
     I                              $o if you cross
                                   THE COURT:                                         the line     and

     9       $ayr "Find him not guiltyr" oxr "He's                                    not Euilty of
10           the crime because he didn't know that                                    elementr" then
t-   1-      tr night have to correct the record.
L2                      MR. MKHITARfAN: I will not                                    instruct     them

l-3          to find him not guiltY.
14                                      you live with that line,
                                   THE COURT: Can
l_5         ,Mr. Mysliwiec? And then that gives you full rein to
16          ?show them the jury j-nstructj-ons and emphasize that he
11
LI
              *.gesn't have to know that.
1B                         $n. MYSLTWIEC: So it's the position of the
1-9           united states that there is no proper purpose for
20            W,hich the defense would mention at all that the
2L            defendant didn't know that the phone call crossed
22            dtate 1ines, leaving only improper purposes for him
23            to.,tttention it.  But if the Courtrs question is, can f
 24           live with it,               Y€sr sir,     f can.
 1q                                    THE COURT:     Alt right.                   LeL's draw the line

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Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 220 of 259



           there'. Just be careful. Don't get me in a situation
  2        where f have to correct something you say.
                                   MR. MKHITARIAN: yes, your Honor.
                                   THE COURT: Keep    it factua]..      What,s the
            next, Mr. Mysliwiec?
                                   MR. MYSLIWfEC: The second thing is, mostly
           Mr. Gleria pursued lines of questioning related to
           whether acts were taken to carry out the threat. He
           asked a lot of witnesses yest.erday, "He wasn't even
1_0        there in t.he room with your it was a phone call. "
11                    As the Court can see in the Court t s
L2         instruction 9, the threat is the crime. There is a
13         speclfic line at the end of the true threat
L4         definition that, informs us correctly that it is not
15         requi-red that he intend t.o carry out the threat or
16         act to carry out the threat. And so it.'s the
L7         positi-on of the united states that there is no proper
t8         purpose for mentioning the arguably true fact that
L9         t.he defendant did not commj-t attempted murder by
20         acting t.o carry out these murder threats. ft is
21"        not   there is no proper purpose in t.his threat
22        trial for which the jury is instructed only to
23        consider the charges before them to point out that
24        the defendant did not, in fact, murder anyone,
25        because it was t.he threat to murder that is the crime

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          Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 221 of 259



         in and of itself.
                   And so despite the questions being allowed
         yesterday about all the different ways and at all the
         different times the defendant did not murder anyone
         or did not. take actions that we can prove towards
         murdering anyone, I don't think it would be proper to
         argiue on defendantrs behalf that. he should be found
         not guilty because he did not actually murder or
         attempt to murder anyoner or even really to talk
10       about the lack of acts that the jury instruction
11       makes clear is legally irrelevant"
L2                   THE COURT: Your thoughts, Mr. Mkhitarian?
1-3                  MR. MKHITARIAN: Jour Honor, once again,
                                                            'the
74       It{r. Nissen's acts or lack of acts go directly to
15       :sericlusness of L-
t6                             THB COURT:    Hold on just a second.
L1                             ,1$A discussion was held off the record')

l-8                                       Mr. Mkhitarian'
                               THE COURT: Go ahead,
IY                  MR. MKHITARIAN: Your Honor, Mr. Nissen has
20        a right to present a case to show what the evidence
21        does not show; and what goes directly to the
22        seriousness of a threatr ds we talked about in voir
23        dire or anything else, is what act,s someone might
24        take, and jurors agreed that, You know, a water
25        balloon versus a gun in someone'S hand when a t,hreat
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Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 222 of 259



            was made is a very loose example, but the act. of
            having the water balloon versus a gun changes the
            serious nature of the threat.
                                      So what Mr. Nissen did or did not do goes
            dlrectly to the seriousness of or, you know, what the
            threat actuarly is, His acts of not being aggressive
            during a traffic stop, his acts of not pulling out a
            gun, his acts of being compliant,, things of those
            nature, go directly to how seriously the threat
10          should be taken.  so r don't agree that his abilities
1-1         to carry out the threat    while in the jury
L2          instructions, f agree, it is the jury instruction,
l3          and the United States is right that to find him
L4          guilty, his ability to carry it out is not relevant,
15          but it 1s relevant to the seriousness of the threat.
1_6         and we should be allowed to argiue that where
L1          Mr. Nissen was, what he did or did not do, is
1B          rerevant to whether or not the threat should have
1-9         been taken seriously at all.
20                                    THE COURT: A11   right.                Anything further        on
2L          that, Mr. Mysliwiec?
22                                    MR. MYSLIWIEC: To say that the threat is
23          not serious because it was not accompanied by acts is
24          direct.ly contrary to the court's instruction, and
25          counsel i-s not at liberty                 to quibble at this st.age
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          Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 223 of 259



        about what the law is. That is the exclusive
        province of the judiciary.  The Court's instructions
        are clear. The defendant has not lodged objections
        to instruct.ion 9. And to argue contrary t'o it, to
         say that one of the elements is not met because acts
         t.hat are explicitly not required are not present.
         would be an improper argiument meanL to confuse the
         jury and to request that they make a determination in
         the defendant's favor that is contrary to the clear
10       1aw.

11                             WeIl, I think I have given bot^h
                               THE COURT:
L2       sides a fair amount of leeway in this case to try to
1-3      put in context the sLatement.s so that the jury can
14       have a good sense of the context in which Mr. Nissen
15       made his statements. wetve had a robusL discussion
1"6      of the trafflc stop. Nothing really was kept out
11        about t.he traffic stop. so I think we've set the
1B        context.
l9                   I'm not inclined to cliP Your wings,
2A        Mr. Mkhitarian, about what didn't occur, because I
21        think some things that didn't occur can go to
22        cont.ext. But again. iust be careful in your argument
          not to make a statement qbout t.he law that I would
24       {,have
         +F
                to correct. The f act you're pointing out thinEs
)\        ,Shat didn't occur I think might go to his    you

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              Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 224 of 259




                        |<nowo the intent element in the second element, So I

,*t'           3
                        do think that some leeway these are closing
                        arguments, after all, and I think to give you an
"A# 4-
                        opportunity to telI the jury, in that second element,
                        tdr. Nissen transmi-tted the communication with the

fil
J"*'
                        intent to make a threatr.I think I need to give you
                        some leeway, but just. don't get me in a position
                        where I have to correct any legaI statement. you make.

f\"                     So don't tell the jury that because he didn't commit
                        any violent acts or something like that, you've got
     fr ad'o
1*        . -11
+\ //".,,^,&\
                        to find him not guilty, that that's not a threat.
              L2        Okay?
              13                                  MR. MKHITARIAN: To be clear, Your Honor,
              14        what f would be arguing would be that he intended to
              15        state a political position; that he intended to
              16        notify them of the consequences of violating his
              L1        rights. But f would never teIl them that because he
              1B        didn't have a guh, they should find him not guilty.
              19                              Okay. Just help me out; I
                                                  THE COURT:
              20       dontt want to correct your closing. I never like to
              2L       do that.. And you don't want me to do itt, either.,
              22       ,ftrs just not a qood moment. So I'11 give you a lot
              23       of leeway to make your closing argument., because I do
              24       think it's a contextual j-ssue. But, just be careful_
              25       with the law so that f don't have to be in                      a

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          Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 225 of 259




         At[Sq!i.;.L.,.       of giving    some supplemental                 instruction or
         somethi-ng like that.
                             lMr. GIeria?
                              MR. GLERIA: Judge, can I just, run out and
         use the resLroom before the jury comes in?
                              THE COURT: Sure.
                                   do have all the jurors here.
                              THE CLERK: We
                    THE COURT: Let me just ask, before we take
         a break, is there anyt.hing else we need to discuss on
1-0      jury instructions, closings, anything else? Because
1-1      what I intend to do is bring them in, t.he Government
t2       has already rested. f '11 ask Mr. Gler j-a,
13       Mr. Mkhitarian, does Mr. Nissen have any witnesses or
L4       evidence he wishes to present? You can rest. And
15       then f int.end to go right into the reading of the
16       instructions.   I t.hink if we go now, probably the
L'l      Government ought to be prepared, as soon as I
IB        conclude, to qo into its closing.
LY                  MR. MYSLIWIBC: Yes, sir.
20                  THB COURT: Does that work for everybody?
21                                MR. GLERIA: Yes, sir.
22                                          It seemed like
                                  THB COURT: A11   right.
23        there was one other thing I was going to mention, but
zt+       I can't think of what it is. So why don't we take a
25        break and we'll come back in. We do have all the
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Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 226 of 259



            jurorsr so they're ready to go. Letrs be in recess
            for a few minutes.
                                     (The Court stood in recess.)
                                    THE COURT: A11    right.  We'll go back on
            the record.                 Is the podium set. up the way you want
            it, Mr. Mysliwiec?
                                    MR. MYSLIWIEC: Yes, thank you, your Honor.
                                    THB COURT: Anyt.hing we need
                                                   to discuss?
           Anything f can do for you before we bring in the
10          j ury?
11                                  MR. MYSLIWIEC: No, sir.    We're all sitting
L2         down behind the table.                  I think we're ready.
13                                  THE COURT: How    about you, Mr. Gleria,
14         Mr. Mkhitarian?
15                                  MR. MKHfTARIAN: yes, your Honor. Werre
16         ready.
11
LI                               f can see the top of their
                                    THE COURT:
1-B        heads. But rarely can they see in the courtroom.
1-9        But that juror    we've got to make sure we have
20         Mr. Nissen in this room before we even get the jury
21         lined upr because that man is 6,6". Tall_ man. He
22         can see me and see in here. That other fe1low                          was
23         tall, too. We've got two taII jurors.
24                                  A11 ri_se.
25                                  (The jury ent.ered the courtroom.      )


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                        THE COURT: A11        right.              Everyone be seated.
              Wel}, I brought you back a little later
   than I usually do, and I still made you wait. I hope
   Ms . Bevel and Ms . Wright had sorne goodies f or you.

   It's been a good morning. It wasn't too much longer
   of a wait, but we went ahead and took our break
   before we brought you in. so maybe we can go a while
   withouL us having to take a break, even though we've
   been working this morning since B:30 ourselves.
             Thank you for being backr oo time, and
   ready to go. r appreciate the way y'a1I have
   approached your task. You've been a great bunch to
   work with.   Ms. Bevel and Ms. Wright have told me
    youtre a good bunch, and I appreciate it very much'
    f look forward to working with you today.
              All right. Mr. Gleria, Mr. Mkhitarian,
    does Mr. Nissen have any witnesses or evidence he
    wishes to present? Mr. Glerj-a?
              MR. GLERIA: No, Your Honor. The defense
    rests.
                         THE COURT: A11       right.
                             (The jury was instructed.                )


                                     Mr. Mysliwiec.
                             THE COURT: A11   right,                                 Do

    you have a closing argument on behalf of the
    Government               ?


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Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 228 of 259



                                     MR. MYSLIWfEC: I do, Your Honor.
                                     THE COURT:   Mr. Mysliwiec.
                                     MR. MYSLIWIEC: Thank you.
                     Ladies and qentlemen, t.hank you very much
           for paying close attention during voir dire, fox
           expounding honestly and openly, for paying attention
           during the presentation of evidence yesterday, and
           hopefully for paying attention.    I'11 try not to take
           up too much of your time now in my closing argument.
10                     This is my opportunity t.o go over the
11         evidence we heard and saw yesterday, compare it to
L2         the Court I s instruction that your oath requires you
1-3        to follow on what the law is, so that you can be
14         prepared to go back there and discuss for as long as
15         you need whether Michael Nissen is guilty or not
16         guilty as to each of Count l- and Count 2.
77                   Alex and I have tried to be precise in
18         presenting the evidence to you. We got it done in
LY         one day. And now I think you,re going t.o have
20         everything you need to det.ermine that on November                        Z

27        Michael Nissen threatened to j-njure Jordan Burd in
22        interstate commerce. and then on November 26, atso of
23        20L8, that he threatened to injure Barbara Beuzekom
24        in inLerstate commerce.
25                                   The defense has done a good job of trying

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             Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 229 of 259




           to f ocus you on things that I don't need t.o prove to
           you. Mr. Gleria and Mr. Mkhitar j-an have worked very
           ditigently to make sure that you know that the
           defendant didn't actually murder officer Burd or
           Barbara Beuzekom, They have pointed out several
           phone calts in which he didn't threaten to kill
           anyone. They have pointed out parts of phone calls
           in which he threatened to kitl people that, in those
           parts, he wasn't threat.ening anyone. They have done
10         their job well.
1_ 1-                But what I want to take just a few moments
L2         for is to go over what the united states does have to
1-3        prove for you. The defendant is charged with two
L4         counts of the Same offense, and the elements are the
L5         same for each. On your screen you should see
16          instruction 9, There are three elements, and then
11          there is an explanatory paragraph about what a threat
1-B         means in the law as instructed by Judge Browning. I
19          hope it doesn't bother anyone, but f want to go
20          through these elements in reverse order.
2L                    Elemen\ 3 is that the communication was
22          transmitted in interstate commerce. fnterstate
23          commerce is defined in the context of the law in
24          i-nstruction 11-. Instructi-on 11 tells us that
25          interstate commerce includes communication or travel
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      Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 230 of 259



            1         between one state iind another.             There can be   n@

        2             reasonable doubt that that happened in each of the
                      two counts herp. Exhibit 5, which you ' 11 have to
                      revj-ew, is the phone records that show that the three
                     calls to Victoria Gurule on November 2t 20L8, and the
        6            phone call to Barbara Beuzekom on November 26, 20LA,
        "t
                     all went through the T*Mobile system through swi-tch
        I            TTTAS 005. And those recordsr ES well as the
        9            testimony of Kenneth Lecesne yest.erday, told you that
      10             switch TTTAS 005 is in Plano, Texas. Kenneth
      1-1            Lecesne, you recall, testified that the phone caIl
LTE   L2            could not happf,n wflthout the switch, and that the
      1-3           phone calls that he was asked about that match up the
      14            three ca1ls to Victoria Gurule and that match up to
      15            the phone carl to Barbara Beuzekom on November 26 all
      L6            went through that switch in plano, Texas.
      11                       You have Michael Nissen's phone, which is
      18            Exhibit B. And on that phone, it's faint, and so you
      19            may want to rely on the jurors among you who have the
      ZV            sharper eyesight, like peter Ubbelohde. But they
      21            will be able to point. out to anyone who, like fil€r is
      22            not great at reading small numbers, that on the
      23            bottom right of the back of the case you have the
      24            factory stamped number that matches the billing
      1q.           record that you see in Bxhibit 5 and that matches the
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           Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 231 of 259




         call log that you see in Bxhibit 5, except that as
         Kenneth Lecesne explained yesterday, the last digit
         in the call log is always zero. so the last diqit in
         the subscriber record and on the physical phone is
         going to end in LL2, and on the call tog it's going
         to end in 1_1-0. Thatts just how T-Mobile prints their
         call logs. Please don't be confused by that.
                               So we know that these phone calls could not
         have happened but for the switch.                            We know   the switch
10       is in Plano, Texas. We know these phone calls went
1_1      to Plano, Texas. And that's true even though the
L2       defendant was in New Mexico and even t.hough the
13       person receiving his calls was in Neini Mexico. That
14       sat.isf ies the 1aw. count 3 is doner oI element 3 is
15        done.
16                             Element two is that the defendant
L1       transmitted the communi-cation with the intent to make
1B       a threat or with knowledge that the communlcation
19       hA.&*,},S,,ibS v,i.erted a$ a threat. The judge has defined
20       knowledge for you. rt's instruct.ion 10. Instruction
27       10 tells us that knowledge within the context of the
22        law in this case is something done voluntarily and
23        int,entionally, not by mistake or accident. The
24        defendant telling Victoria Gurule that he urould put a
25        bullet in Jordan Burd's head was not accident. That
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Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 232 of 259



           was not mistake.        he said he would pult out his
                                           When
           revolver and drop Jordan Burd dead, that was not a
           mistake. He said that on purpose. The defendant
           t.el1ing Barbara Beuzekom that he would shoot her in
           her face was not a mistake. It was not an accident.
           This is not a case about misunderstood communications
           or communications that could be reasonably t.aken
           multiple ways. The defendant knew that those words
           would be taken as threat.
10                                And additionally,         even though element.   2

11         requires that you only find one or the other, you
L2         also have aII the information you need to know that
13         the defendant personally intended those words tcl be
74         taken as a threat. How do we know that? We know
15         that because Michael Nissen is a man who is desperate
1,6        to be taken seriously. He calls people up to lecture
L7         them about his fantasy of what the Constitution
1B        means. He instructs people that they need to gro to
19        someone's Twitter account or to Gooqle some topic to
20        realize that he is secretly a legal genius and their
27        entire profession is a lie and actually the New
22        Mex j-co Stat.e Police doesn't have the authorlty to

23        pull anyone over.
Z4                       he makes these threats, it is not
                                  When
1q.
LJ        because he wants to be perceived as a joke. It is

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         because he wants to be taken seriously.                He doesnrt
         want his car towed. He doesn't want to walk home,
         and so he will sign Jordan Burdrs citation, but then
         he calls to complain about it. three times within
         about an hour to Victoria Gurule and then again on
         November 26 to Barbara Beuzekom. And in those calls
         there is no humor, there is no fun. There is only
         blood lust. A joke is not going t.o get the police to
         back off.   A joke is not going to get him out of his
10        court date. He needs t.hem to belleve that if they
11        continue to interact with him, if they make him go to
L2        court and prove his innocence, Iike he complained tc>
13        Juan Cordova, he may put a bu11et in ,Jordan Burd or
L4        another friend of thelrs' head.
15                   First things lastr we get to element 1.
16        The defendant knowingly transmitted a communication
L"7       containing a threat to injure the person of anothef,.
18        The defendant knew he dialed the New Mexico State
19        Police those multiple times that are shown in the
20        call log in Exhibit 3. There is no reason in the
2L        evidence to believe that those were a misdial or that'
22        it was in his pocket when he sat. down and he called
23        dispatch by mistake. Those calls were made
Z4        intentionally.  So the knowingly making the
25        communication is satisfied.

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Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 234 of 259



                                   So the last remaining thing we have t.o talk
           about is the second part of the first element.
           containing a threat to injure the person of another.
           A threat is defined within this instruction itself
           wit.hin the meaning of the 1aw and it says right there
           in instructi-on 9, if you scrol-1 down a bit., Alex, ."A
           threat is a serious statement expressing int.ent to
           instill  fear which, under the circumstances, would
           cause apprehension in a reasonable person as
10         distinguished from mere political argiument, idle
11         talk, exaqgeration, or something said in a joking
12         manner. "
1_3                  It is not necessary that Mr. Nissen
1,4        intended to carry out the threat or had the ability
15         to carry out the threat, even though we knoi^r that he
L6         was armed and he does possess that shotgun that, s on
L7         the table now.
1B                   If we bring up the transcript, Lhat's 2*A,
19         this is not a case about profanity.   This is not a
20        case about disliking police even to the point of
21,       calling them pigs. This is not a case about
22        complaining about a false arrest on some pet.ty proof
23        of insurance viol-ation. This 1s a case about a man
24        who told a dispatcher that if any cop pulled him over
25        while driving, he would put a bullet. in that cop's
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           Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 235 of 259




         head, that he would pull out. a revolver and drop that
         cop dead; who told a civilian administ.rative employee
         who didn't do r^rhat he wanted f ast enough that he
         would therefore shoot her in her face.
                   There was some figurat.ive language in the
         phone call.       met Officer Burd. He's a human.
                                  We

         He t s not a swine. So calling him a pig is not

         literal-.   And I don't think anyone believes that
         Officer Burd ever had sex with his own mother. Those
10       statements are not why we t re here. This is not a
II       profanity case. This is not a case of disrespect of
L2       cop. Nor is exaggerated language a proper way to
1-3      describe these threats.
L4                 One of the words we have to describe a very
15       exaggerated st.atement in the English language is
t6       hyperbole. And hyperbole, like many words in the
L7       Bnglish langiuage, has def inition. I took the liherty
1_B       of putting into evidence several different.
19        definitions of hyperbole. That's Exhibit 6. A
20        figure of speech in which exaggeration is used for
2t        emphasis or effectr ds in, "I could sleep for a
22        yearr'r orr "This book weighs a ton. r'
23                   Another example of hyperbole comes from
24        I don't know if any of you are familiar with weird A1
25        Yankovic. Hers a comedian. This is a song about how
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Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 236 of 259



  1        he's not upset that he has broken up with his
  2        ex*girlfriend, and in this song Weird Al yankovic
  3        says, "I would rather jump naked on a huge pile of
  4        thumb tacks or stick my nostrils together with crazy
  5        g1ue." He said, "I would rat.her dive into a swimming
  6        pool filled  with double*edged xazor blades" than
  7        spend one more minut.e with his ex-qirlfriend.
  B        Statements not intended to be taken seriously.
  9        Statement.s intended as a joke. you can think Weird
10         A1 's funny or not. but hets clearly t.rying to be
1I         funny. "I'm going to put a bul_lel in that fucking
L2         pig's head. I'm qloing to pull_ out. my revolver and
t_3        put that motherfucker drop dead. f'm going to shoot
74         you j-n your fucking facer', are not statements t.hat
1q         are intended be funny. They are intended to be taken
L6         seriously. They are intended as threats.
L7                   Threats, true threats, are not protected by
1B        the First. Amendment. We all work hard here t.o guard
19        our const.itutionar rightsz rro one harder than .Tudge
20        Browning. And he has given you the instruction you
2L        see in instruction 9 defining a true threat.. The
22        things that are protected by the First Amendment are
23        therefore not a crime. Mere political talk, idle
24        talk, joking talk, talk not intended to be taken
25        seriously. Those things are protected even if
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           Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 237 of 259




         they're offensive, even if I like police officers but
         you call them names, or vice versa. That is not what
         this case is about. This case is about true threats
         intended to be taken as threats.
                   Even if Mr. Nissen were correct that'
         Officer Burd violated his rights, even if Officer
         Burd had arrested Mr. Nissen for failure to show
         paper proof of insurance and only having proof of
         updated insurance on his phone when the car was
10       insured, the answer still is not to threaten t.o put                             a

1t-      bullet in his head.
12                 But Burd didn't violate his rights. You
13       heard from Officer Burd. He was questioned about
1.4      this. He testified he didn't t.ow the cart even
15       though his department said he had the authority to                             do

16       it because it. wasn't registered, updated, and it
17        didn't have insurancei that he didn't arrest Nissen
18        even when the defendant refused originally to sign a
l-9       citation, and that he gave the shotgun back even
20        thougrh he didn't f eef saf e to do so because he
21"       thought he didn't. have the right to take a man's
22        property if he wasn't going to arrest him, which he
23        explained he had already decided he wasn't going t'o
24        do even though he could have.
25                  Officer Burd figuratively                    bent over

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Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 238 of 259



            backwards to respect Mr. Nissen's rights and in
            return, Mr. Nissen threatens to shoot him in the
            head.
                                   The State Pol1ce were reasonable to take
           these threats seriously. They were reasonable to
           email out bulletins warning patrol officers that. this
           armed man was on the road who had threatened Officer
           Burd. They were reasonable to put up posters warning
           anyone at the offj-ce about this fell_ow and his
10         threats and t,he fact that he was armed, and
11         Mr. Nissen wanted them to take him seriously. Their
1,2        reaction was not a mistake or accident. He knew that
13         they would take it seriously when he said the things
14         he said the way he said t.hem.
15                   And don't take my word for it.  you are
L6         going to be able to listen to these phone calls to
1"1        Victoria Gurule as many times as you need t.o to be
1B        firmly convinced that the defendant, beyond any
19        reasonable doubt, made these threats i_n interstate
20        commerce, knowing they would be taken as threats
21        intending that they would be taken as threats. And
22        that's why you have all the evidence you need to find
23        beyond any reasonable doubt that on November Z, 2OtBl
z.r       Mr. Nissen, while he was in the district. of New
25        Mexico, t.hreatened to injure Jordan Burd in a                  way

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           Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 239 of 259




         that affected interstate commerce by going through
         P}ano, Texas; and that. on November 26, he threatened
         to kill Barbara Beuzekom while he was in New Mexico
         in a way that. af fect.ed interstate commerce by that
         call- being routed through Plano, Texas. That's all
         you need t.o write guilty as to Count l- and guilty as
         to Count 2, and that's what I ask you Lo do. Thank
         you.
                              THE C0URT: Thank  You, Mr. MYsliwiec-
10                            Mr, Mkhitarian, do you have a closing
11       arqument on behalf of Mr. Nissen?
L2                            MR. MKHITARIAN: I do, Your Honor.
13                               Mr. Mkhitarian.
                              THE COURT:
1.4                 MR. MKHfTARIAN: Thank you. Ladies                    and

15        gentlemen of t.he jurY, Your Honor
L6                            THE COURT:   Mr. Mkhitarian.
L7                            MR. MKHITARIAN: Counsel. Thank you very
1B        much for being here today.  I'm sure when all of you
19        woke up and drove here for jury duty, none of you
20        thought that werd be talking about First Amendment,
21        free speech, what we can and cannot talk about. And
22        it's probably a surprise to you that' we're going to
a)
LJ        be talking about that todaY.
24                  So the essential thrust of what's going on
)\        is, we're going to be deciding today what speech is
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Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 240 of 259



           limited;            when someone crosses a line;               when someone's
           speech is not protected by the First Amendment.
           There is a reason why it's                 the First          Amendment..
           There is a reason why it was the first    thing our
           Founders thought they should write down and protect.
           It.'s the right t.o speak, to speak freely. The right
           to have opinions, to be angry; the right. to talk
           about whatever it is that, you want and not be
           punished by it.  That's why they wrote it down first.
10                                  Our freedom of speech shall not be abridged
11         in any way. So we're here to decide whether or not
1_2        Mr. Nissen's political rant should be criminalized.
13         And make no mistake, it is political rant. The
L4         of f icer recognized it's             polit.ical
                                              rant. You do not
15         have to agree with Mr. Nissenrs political beliefs.
16         You don't have to agree with how he expresses them,
11         but you do have t.o agree that he has a right to
1B         express his political beliefs.
19                   Now, Mr. Nissen      he was upset. He was
20        upset about being pulled over. He grets pulled over,
21        and through the officer's own testimony, not for any
22        moving violat.ions, not for speeding, not for failing
23        to maintain his lane, not for driving t.oo slow or
24         failing           to use his Lurn signals.
                                            Mr. Nissen was
25        driving completely normal, and he gets pulled over
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           Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 241 of 259




          because the officer is fishing for violations on the
          road, looking for no insurance, looking for no
          registration.  So Mr. Nissen, being a law-abiding
          citizen that he is, pulls over in a safe manner,
          pults over when the of fi-cer asks him Lo, complies
          with the officer, does as the officer says, makes no
          aggressive movements, expresses to him his belief
          that the officer has no authority over him, telts the
          officer that he had no reason for pulling him over,
10        because he was following all the laws; and the
11        officer himself states there was not.hlng threatening
L2        made during the stop; that. Mr. Nissen was completely
1-3       compliant with all of his demandsr so much so that he
L4        returns his gun to him and lets him drive off.
15                  Now, Mr. Nissen, upset about this, upset
16        about being pulted over for not making any moving
L7        violations, calls dispatch. He calls dispatch to
1B        basically rant about his belief that his rights were
19        violated. He says     he uses figurative language
ZV        basically conditioned on fut.ure conduct. "rf the
2t        police do this, I'm going to do this. If my rights
22        are violated, I'm going to do that."
23                   The stat.ement doesn't name a specific
24        person. It doesn't sdy, rrI'm going to kill Officer
25        Burd."           It doesntt sdy, "Irm going to hurt. this
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Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 242 of 259



           person specifically." There was no imminent danqer
           from the statements. They were separated by space
           and t.ime. Moreover, it was political. He talks
           about his Flrst Amendment, his Second Amendment, his
           Fourth Amendment. Not random amendments. Hers
           saying, "My right to free speech was violated. My
           right to carry a firearm, which was taken away from
           me durlng the stop, was violated.  My right. to be
           free from illegal searches and seizures, the Fourth
10         Amendment, was violated. "
11                         not spouting out random amendments
                                   He I s

12         here. They're all relevant to what he believed was
13         violated when he was pulled over that day. And he
L4         states it j-n an anqry mannerr ds is his right.
15                                 Now, the jury instructions
                                                define what a
L6        serious threat is, and they specifically exclude
L1        political talk and exaggeration. Political talk and
1B        exaggeratlon. We heard from the officer that what
l-9       Mr. Ni-ssen was saying could be construed as political
20         argiument, him trying to show him videos about his
21        politics            and his bel-iefs.       There is no question and
22        there's plenty of evj-dence to show that Mr. Nissen
23        was trying to educate everybody on what he thought
24        the pollcy and politics of his belief should be. So
)c,        I donrt think there is a question that Mr. Nissen                            was

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        making a political arqument. Whether or not you
        agree with it is another question, but that's not
        what we're here to decide.
                  Now, we move to whether or not. Mr. Nissen's
        political             speech is even something that no one
        believes in.              And the offlcer       says that they received
         special training on these types of peopler so rnuch so
         that they actually have to have a training to sit
         down and talk to them about how to deal wit'h
10      'sovereign citizens, how to deal with people who don't
11       look up to their authority; how people like
L2       Mr. Nissen only respect the authority of counLy
13       elected officials.
14                   This is not some sort of fringe political
15       argument that Mr. Nissen made up in his head. This
L6       is people that they get training on. They're seeingr
LI       it more and more. It's prevalent throughout the
1B       countryr so much so that they have to have a sit-down
19       with of ficers and tell- them, "This is how you're
20       supposed to deal with it.   This is what you might
2L       see. This is what's going to happen. There are
22       people like this people who believe this. This is
23       how you should deal with this. "
24                  So it's not like Mr. Nissen made this up
)q       after he drove away. It was talked about during the
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Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 244 of 259



          traffic             stop, it was talked about in the call
          afterwards, and it was talked about. on later
          occasions when officers called to follow up with what
          Mr. Nissen was trying to say.
                                 Now, the United States is trying to      make

          some sort of connection that Mr. Nissen didn't                    have
          the right to make a statement like that; that it was
          so outlandish that it should be taken seriously; that
          this is somethi-ng that nobody says. But Mr. Nissenf s
10        statement is not unlike statements that some of you
11       mlght have even made, statements that some of you
L2       might have even heard said to you. Take this, for
13       example. Has anyone ever heard the statement, "If
14       you trespass onto my property, you will be shot. If
15       you try to break into my houser you will be shot. I
L6       tiill- shoot anybody who tries to break into my house
L7       at night. "
1B                               Now, through the same logic that the United
19       States tries to use, this is a true threat. We
20       should be arrested for this. People who have signs
21       posted saying, "You will be shot upon trespassing, "
22       those people are making serious threats to everybody
23       in the community. Breaking into somebody's house
24       doesn't allow for someone being shot.. Maybe you
25       should ask t.hem to leave.                 Shooting somebody f or
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           Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 245 of 259




          coming into your house, that's                     not appropriate under
          the United States' analysis of t.he way threats are
          made.

                                 So Mr. Nissen is making a statement:           "f      do

          not betieve that my rights should be violated, " and
          if they do, he makes the exaggerated statement that
          he rnight shoot pigs. And once again, this is in the
          context of an angry rant. about a traffic stop that
          should not be taken seriously.
10                   Now, make no mistake. You will not receive
11        an instruction from the Court saying that New Mexico
t2        State Police get,s special treatment wlth regard to
l3        the First. Amendment. There is no jury instruction
1,4       that says state police have the right to take certain
15        statements more seriously than the average citizen.
16        There is no instruction that says that you cannot
77        make political talk, political exaggerati-on,
1B        political rants at police. They get treated the same
19        just as t.he rest of us. If these statements are made
20        to usr the statements are made to police, they should
2L        be looked at the same, through the eyes of a
22        reasonable citizen.   There is no elevated seriousness
23        for who you make the threat to, and there is no
24        instruction like that. So Irm asking you to look at
          the statements Lhat Mr. Nissen made in the context of
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Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 246 of 259



        1         just a regular person, because that's what werre here
        2         to talk about.
        3                   There are n.o recorded statements with
        4         regard to Officer Bredbach (phonetic) . I,m going to
      5           ask you to disregard that. It,s interest.ing that
      6           when officer          cordova was initially             examined, he said
      7           the only thing he could remember was that officer
      B           Bredbach told him that Mr. Nissen was being combative
      9           initially.   Then after some cross-examination by the
 10              United States and some jogging of his memory, he
 1_1             qoes. "Oh. by the wdy, oh, yeah, and he told me that
 1^
 LZ              she (sic) was going to shoot him in the face.',
 13                        That would be something that he would
 T4              remember immediately. If he was pulled over by
 1tr
-IJ              officer Bredbach by saying, "Thi-s person is groing to
L6               shoot me in the face, " he wouldn't remember that he
L1               was being combative; he wourd remember a threat to
1B               kill an administrator was made. He remembered there
19               at the end checking off the threat-tg-a-person box.
)i                        All of Mr. Nissen's recorded statements are
a1
z-r             consi-stent with him making politicar rants. He's
.)a
z- z-           always tarking about his rights.     He's always talking
23              about the constitut.ion. He's always tarking about.
24              his right to be free from searches and seizures.
,tr             He I s     always talkingr about the consequences from
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          Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 247 of 259




        violating citizens' rights in an exaqgerated way and
        in no wEy, shape r ot form did he ever act on or put
        any officers in the posltion to believe that those
        threats were going to be carried out. Every time
        officers talk to him in the recorded statements that
        we have, every time the officers met with him to see
        what was going on as an instance of the traffic stop'
         he was completely normal and made no overt or direct
         threats.
l_0                 We'reallprot'ectedbytheFirstAmendment.
11
II       vde're all protecled, and we all have t.he right to
t2       make angry, dumb political   rants from time to time.
13       And we should not be convicted of a crime for trying
L4       to express those beliefs, even though we might not
15       agree with the beliefs that are trying to be
16       expressed. And when a government seeks to crack down
L7       on our right to speak, dll of our rights to speakr w€
 lq      have to treat these cases with respect.                Despite what
19        you might think of what Mr. Nissen's beliefs are or
20        whether they should be respected or whether they're
2L        true, you have to look at them in the context of what
22        the Eirst Amendment seeks to protect, and that's our
23        right to express those beliefs.
24                  f'maskingyoutoSeethisCaSeforwhatit
 )q       is. Itrs a nonserious/ angiry political argument, one
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Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 248 of 259



             that we are att arrowed to make. And because of
             that, r want you to go back and look at the evidence.
             Look at what we actualry have. Look at the actual
             recorded statements. Look at the fact that
            Mr. Nissen was making political arguments. And after
            going through alr the evidence and listening to all
            the things that Mr. Nissen had to say, then and onry
            then shourd you guys come to a vote. And when you
            come to a vote, r ask you to respecL Mr. Nissenrs
10          right to speakr respect his politicar beriefs, as in
1l-         all- of our political beliefs and our rlghts to
L2          express t.hem, and r ask you to find him not guilt,y of
13          both charges. Thank you.
74                                      your Mr. Mkhitarian.
                                      THE COURT: Thank
15                   Mr. Mysliwi-ec, do you have rebuttal on
16         behalf of the Government?
L1                   MR. MYSLIWIEC: Some, your Honor. Thank
1B         you.
IY                                    THE COURT:   Mr. Mysliwiec.
20                                    MR. MYSLIWfEC: Ladies and gentlemen, this
27         is called the rebuttal closing. Because the united
22         states has the burden, it is my honor and privilege
23         to talk to you last. And the first thing r want to
24         tell you is that there is no attorney r know who
25         could do a better job for his client than
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              Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 249 of 259




            Mr. Mkhitarian just did in that argument. so t.hese
            criticisms I have are not of him or his lawyering;
            they're of the position the defendant is in, because
            the facts are the facts and the law is the law.
                      I want to talk about Counts l- and 2
            separately here, because the defense talked about
            t.hem separately. The defense said a true thing about
            this case. The defense said this case is about when
             someone  crosses a line. That's accurate ' The
10           defense said this case is about whether Mr. Nissen's
l_   l-      political rant should be crirninatized. That's not
t2           true,
1-3                     Alexr cdo we bring uP 2*A?
L4                      Thank you for your pat'ience, ladies and
15           gent.Iemen. There are part.s of this speech that are
16           arguably political.   Those are not why we I re here '
L7           If it's true that the defend.ant is a member of a
1-B          group that believes only county sheriffs have legal
l_9          authorit.y, he could have said that in any number of
20           ways that didn't        threaten to kilI              anyone, and   we

 2L           would not be here.
 22                      When he said, "He violated my Fourth

 23           Amendment constitution, he violated my second and my
 24           Fi-rst, " which Mr. Mkhitarian expertly explained'
 25           that t s not why we're here.         "The next time he does
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Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 250 of 259



             it,  I'm going to plead the FifLh. " which is to say,
             "I contemplate doing something illega1, but I
             woul-dnf t talk about it, " which, when he says it in
             this phone call, you can consider. you can't
            considerr ds the judge i_nstructed, whether he
            test.ifies or not here. He has an absolute right not
            to. You're not alrowed to hord that against him.
            But in this phone calr, youfre alrowed to consider
            what he means.
 10                                   The part where he says, "I'm going to do
11          whatever rtm going to do because he broke the 1aw,
12          he's a derelict of his dut,ies, " that's not the part
1-3         of the phone call that brings us here. His opini_on
74          that Offlcer Burd is derelict in his duties, that,s
15          his right as an American t.o have that opi_ni_on, to
16          call and express that opinion, to call and shout that
L7         opinion. He can shout that opinion into my face all
1B         he wants. That's not a crime. rtrs the "make him
l-9        drop dead" part that's the crime. This is a case
20         about whether a line has been crossed.
21                    Mr. Mkhitarian describes Mr. Nissen as a
22         law*abiding citizen.    f think that's    most
23         importantly. that's irrelevant.   The judge has
24         instructed you t.hat Mr. Nissen 1s only on trial for
25         count l- and count 2. He's not on trial for the proof
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          Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 251 of 259




        of insurance. He's not, on trial                    for the expired
        registration.  He's not on trial                  to carrying    a

        nondriver rD when really he had                  a driver ID.        Nobody

        cares. That's just context for                   how officer    Burd

        t.reated him fairly and how officer Burd was treated
        in return, He's not on trial for whether he's a
        law*abiding citizen or not.
                    Mr. Mkhitarian said t'hat Off icer Burd
        testified that Nissen was completely compliant.
l-0     That r s not true. He's allowed to argue what the
                                                            He I s
1-1     f acts are and to argue f act.s that are not true.

L2       allowed to do that. That's not wronqi lawyering, but
13       thaL's not what officer Burd testified to. officer
14       Burd testified that when he first demanded proof of
1tr
t_J      insurance and registration, he got sorne speech aboul
1_6      how Mr. Nissen didn't have to give it.   officer Burd
         didn't escalate. officer Burd de-escalated. officer
l-B      Burd had been trained to deal with these folks, not
IY       because they're so numerous, but because without
2A       training, an unt'rained officer might go a roule that
2L       of f icer Burd didn't, might escalate the sit.uation,
22       might think he was in danger and cause violence that
 23       didn't need to happen. officer                   Burd was more
 24       circumspect than that. officer                   Burd was more pat.ient
 )q       than that.
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Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 252 of 259



          1                    Mr. Mkhitarian argued that we are not aware
          2          of anybody belng in imminent danger from Michael
          3          Nissen. and that as far as we know, everybody who
          4          received a threat was protected by time and space
          q,
                     from Mr. Nissen. That. is irrelevant.    rnstruction g
          6          says it doesn't even matter if Mr. Nissen intended to
          7          carry out the threat.. A1r that matters is whether he
          6          meant it as a threat and whether he knew it wourd be
          9          taken seriously as a threat, which it was.
 10                            Mr. Mkhitar j_an argues that Mr. Nissen ' s
 11                  beliefs are not fringe politicat beliefs.    That's
 L2                 untrue, but it doesn't matter. If he said, "f
 13                 support candidate x for p"resident and that's why ilm
 1,4                going to shoot you in the head, " it would not be the
 15                 candidate support that brings us here. It's the
 1"6                threat to shoot people in the head. And I don,t
 11
 LI                 treat officer Burd differently than r treat anybody,
1B                  and the law doesn't treat officer Burd differently.
19                  And in America, we are all equal under the law. r'm
20                  a lit.t1e of fended, but it's within proper argument to
2L                  complain that we're asking the threat laws to be
22                  enforced differently as agalnst polj-ce, but Irm
23                  telling you we're not, and you can see the evidence
24                  that we're not.   rf that threat was given about
')   c,
                    anybody, Victoria Gurule would have taken it

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          Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 253 of 259




        seriously, Barbara Beuzekom would have taken it
        seriously, any reasonable person would take these
        threats and the way they're delivered seriously.
                    And. that's what the law requires you to
        f ind. in this case. This is not about t,he political
        parLs of the phone caI}. It's not about whet'her the
        beliefs are fringe or mainstream. we are not here to
        punish someoners political ideas being weird. That
        doesn't matter. AIt that matt.ers is t.he threats.
l_0               So we get to Count 2, the t'hreats to
l_r      Barbara Beuzekom. You are allowed t.o consider not.
L2       only Barbara Beuzekomfs testimony, but. youtre allowed
1-3      to consider officer cordova's testimony that when
14       Barbara Beuzekom came into his office with Michael
l-5      Nissen waiting on hold, she looked different than she
L6       usually did. It was his view that she was upset;
L7       t,hat she was usually bubbly; that she looked very
1-B       serious, and she relayed to him that the caller had
LY        threatened to shoot her in the head, which is not
20        exact.ly the same words as rrlrm going to shoot you in
2L        your fucking face, " but as the judge has instructed
22        your some differences in recollection is normal.
23        There is nothing sinisLer in thatr oo matter what the
24        defense wants You to believe.
 25                 In order for you to acquit the defendant on
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Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 254 of 259



           Count 2, in order to fo1low the defendant's theory
           that the call didn't happen, you would have to
           assess    and it's within your power to assess     you
           would have to assess that Barbara Beuzekom lied to
           your face. that the cal1s that are clearly shown on
           the log on November 26,201-8, didn't happen,. f giuess
           that the log is fake; that officer Cordova ried about
           it and that his hatf of the conversation, which is
          recorded, is actually the whole conversation.
10                  Now, we know there is no mechanism for a
11        person calling to complain about the police to be
t2        connected with a crimes*agai-nst-children detective.
13        You heard from victoria    and you heard from Barbara
14        how the calr qets connected to her.                 someone calls
15        the             State police line, the automated voice
                  New Mexico
16        says, "Please Iisten. Our options have recently
L7        changed." Gives the options. one of the options is
1B        administration.   rf you serect adminlstration, it
19        goes to Barbara, That line is not recorded. Barbara
20       said t.hat since then they have been working on
21       upgrading their system so that maybe that line coutd.
22       be recorded. whet,her that's as a result of this case
23       or not, it doesn,t matter. Who cares?
24                 You would have to believe that Barbara lied
z3       to your face and you didn't notice; that Officer
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          Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 255 of 259




        cordova lied to your face and you didn't notice; that
        he, a sworn officer, sworn here to te1l the truth,
        which is the i-mportant oath, made up her reaction and
         what. she said to him about the phone call that she
         had just received.
                    Now, I would l-ove to have a recording of
         that first half of t.hat phone call on November 26.
         But you don't need it to lack a reasonable doubt as
         to what happened. You have Michael Nissen's phone
10       calls.  rn some of them he didn't threaten to kitl
t1       anyone, true. But you hear what it sounds like when
L2       he did threaten to kiIl someone, and you heard
t3       Barbara Beuzekom's testimony, and it's your power as
14       the judges of the facts to determine credibility,
15       just like the judge instructed. IL's your power to
16       believe Barbara Beuzekom. And that's what you should
L7       do.
1B                             And she's corroborated not only by Officer
1-9       cordova, by his phone call that was recorded, by him
20        saying what it was like to interact with her at that
21        time; but also corroborated by the way that. you hear
22        Michael Nj-ssen with your own ears make these threats
23        in Exhibit 2 and make t.he nonthreatening speech that
24        he makes in Bxhibits L, 3, and 4. That's all you
25        need.

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Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 256 of 259



                                          You should have no reasonable doubts       when
                you're done reviewing all this evidence. And even
                though you have listened respectfully to all of the
                defensers arqument.s, they should not convince you.
                And instead, what you should do is find Michael
                Nissen guilty as to Count 1 and guilty as to Count 2.
                Thank you.
                                          THE COURT: Thank   you, Mr. Mysliwiec.
                                          (The jury was instructed. )
10                                        (The jury left the courtroom. )
1-   l-                                   (Verdict was returned. )
L2

13

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L6

L7

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 1        UNITED STATES OT AMERICA
 2        STATE OT NEW MEXICO
 3

 4                                  C-E-R-T- I. F*I -C-A-T-E
 5              I, Jennifer Bean, FAPR, RDR, CRR, RMR, CCR,
 6        Official- Court Reporter for the State of New Mexico,
 7        do hqreby certlfy that the foregoing pages constltute
 8        a true transcript of proceedings had before the said
 9        Court, held in the District of New Mexico, in the
10       matter therein stated.
11            fn testimony whereof, I have hereunto set               my

t2       hand on this 20th day of November, 20L9.
13

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1_5                                                                  R,    CRR
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Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 258 of 259
Case 1:19-cr-00077-JB Document 113 Filed 02/19/20 Page 259 of 259
